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                     EXHIBIT A
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                                                                       Page 1
         IN THE UNITED STATES DISTRICT COURT
        FOR THE SOUTHERN DISTRICT OF NEW YORK

                CASE NO. 15-CV-07433-RWS

VIRGINIA L. GIUFFRE,
                Plaintiff,
    -against-
GHISLAINE MAXWELL,
              Defendant.
___________________________/

                           250 N. Australian Avenue,
                           Suite 1400
                           West Palm Beach, Florida 33401
                           Friday, September 9, 2016
                           8:35 a.m. - 2:08 p.m.

                C O N F I D E N T I A L

    VIDEOTAPED DEPOSITION OF JEFFREY EPSTEIN


         Taken before Darline M. West,
Registered Professional Reporter, Notary Public
in and for the State of Florida At Large,
pursuant to Notice of Taking Deposition filed
by the Plaintiff in the above cause.

                 MAGNA LEGAL SERVICES
              1200 Avenue of the Americas
               New York, New York 10026

                      (866) 624-6221




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                                                   Page 2                                                                   Page 4
 1   APPEARANCES:                                            1             INDEX
 2   On behalf of the Plaintiff:                             2   WITNESS:              PAGE:
 3     THE UNIVERSITY OF UTAH,                               3   JEFFREY EDWARD EPSTEIN
       S.J. QUINNEY COLLEGE OF LAW                           4   DIRECT EXAMINATION                                   8
 4     383 South University Street                               BY MR. CASSELL:
       Salt Lake City, Utah 84112                            5
 5     Phone: 801.585.5202                                       CROSS-EXAMINATION                               275
                                                             6   BY MR. PAGLIUCA:
       E-mail: Cassellp@law.utah.edu
                                                             7   REDIRECT EXAMINATION                                 324
 6     By: PAUL G. CASSELL, ESQ.
                                                                 BY MR. CASSELL:
 7        -and-                                              8
 8     BOIES SCHILLER & FLEXNER, LLP                             CERTIFICATE OF OATH                             375
       401 East Las Olas Boulevard                           9
 9     Fort Lauderdale, Florida 33301                            REPORTER'S CERTIFICATE                               376
       Phone: 954.356.0011                                  10
10     E-mail: Smccawley@bsfllp.com                         11
       By: SIGRID S. MCCAWLEY, ESQ.                                             - - -
11                                                          12
12                                                                           EXHIBITS
13   On behalf of the Defendant:                            13
14     HADDON MORGAN FOREMAN                                                    - - -
       150 East 10th Avenue                                 14
15     Denver, Colorado 80203                               15                 Description           Page
       Phone: 303.831.7364                                  16   Plaintiff's Exhibit JE1 Transcript of the       54
16     E-mail: Jpagliuca@hmflaw.com                                               deposition of
       By: JEFFREY PAGLIUCA, ESQ.                           17                    Ms. Maxwell taken on
17                                                                                April 22nd, 2016
18                                                          18
     On behalf of the Witness, Jeffrey Epstein:
19                                                               Plaintiff's Exhibit JE2 Document with titles 90
       ATTERBURY GOLDBERGER & WEISS, P.A.                   19                    of books
       One Clearlake Centre, Suite 1400                     20   Plaintiff's Exhibit JE3 Photograph depicting 101
20     250 Australian Avenue South                                                Prince Andrew,
       West Palm Beach, Florida 33401                       21                    Maxwell, and Virginia
21     Phone: 561.659.8300                                  22   Plaintiff's Exhibit JE4 E-mail that Jeffrey 173
       E-mail: Jgoldberger@agwpa.com                                              Epstein sent to
22     By: JACK A. GOLDBERGER, ESQ.                         23                    Maxwell on
23              -and-                                                             January 12th, 2015
24                                                          24
25   (Appearances continued on the next page)               25

                                                   Page 3                                                                   Page 5
 1   APPEARANCES:                                            1   Plaintiff's Composite E-mail Jeffrey      180
                                                                 Exhibit JE5         Epstein received from
 2     MARTIN G. WEINBERG, P.C.                              2                  Ms. Maxwell on about
       20 Park Plaza, No. 1000                                                  July 18th, 2009
                                                             3
 3     Boston, Massachusetts 02116                               Plaintiff's Exhibit JE6 E-mail string between 185
       Phone: 617.227.3700                                   4                    Jeffrey Epstein and
                                                                                  Ms. Maxwell on about
 4     E-mail: Marty@martinweinberglaw.com                   5                    March 25th, 2011
       By: MARTIN G. WEINBERG, P.C.                          6   Plaintiff's Exhibit JE7 Transcription of a 189
                                                                                  string of e-mails
 5     (Appearing telephonically)                            7                    between Jeffrey
 6                                                                                Epstein and Ms.
 7                                                           8                    Maxwell in about May
     ALSO PRESENT:                                                                of 2011
 8     RYAN KICK - Video Technician                          9
 9     DARLINE MARIE WEST - Court Stenographer                   Plaintiff's Exhibit JE8 E-mail that Jeffrey 191
                                                            10                    Epstein sent to
10                                                                                Maxwell on
                      - - -                                 11                    January 15th, 2015
                                                            12   Plaintiff's Exhibit JE9 Document 361-46 on 210
11                                                                                the public record in
12                                                          13                    the case Jane Doe
                                                                                  versus United States
13                                                          14                    908CD80736 in the
14                                                                                Southern District of
                                                            15                    Florida, a document
15                                                                                signed by Gerald
16                                                          16                    Lefcourt and
17                                                          17
                                                                                  Alan Dershowitz

18                                                               Plaintiff's Exhibit Subpoena in this case 225
19                                                          18   JE10                for Jeffrey Epstein
                                                                                  to appear at
20                                                          19                    deposition
21                                                          20   Plaintiff's Exhibit Transcript of Ms.    347
                                                                 JE11                Maxwell, taken on
22                                                          21                    July 22, 2016
23                                                          22
                                                            23
24                                                          24
25                                                          25




                                                                                                             2 (Pages 2 to 5)
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                                              Page 6                                                      Page 8
 1      QUESTIONS MARKED BY THE REQUEST OF COUNSEL: 1                  J. Epstein - Confidential
 2                                                       2           MR. GOLDBERGER: And Jack Goldberger on
     PAGE/LINES
 3
                                                         3       behalf of the witness, Jeffrey Epstein.
     Page 69, lines 24 through 25                        4           And on the phone is?
 4   Page 70, lines 2 thorugh 16                         5           MR. WEINBERG: Martin Weinberg by
     (At the request of Mr. Pagliuca)                    6       telephone on behalf of the witness,
 5                                                       7       Jeffrey Epstein.
 6   Page 280, lines 4 through 6                         8           VIDEO TECHNICIAN: Will the court
     (At the request of Mr. Cassell)
 7
                                                         9       reporter please swear the witness.
 8                 - - -
                                                        10           THE COURT REPORTER: Okay. Sir, could
 9                                                      11       you raise your right hand.
10                                                      12           Do you swear to tell the truth, the
11                                                      13       whole truth, and nothing but the truth?
12                                                      14           THE WITNESS: Yes, ma'am.
13
                                                        15   THEREUPON,
14
15                                                      16              JEFFREY EDWARD EPSTEIN,
16                                                      17   called as a witness on behalf of the Plaintiff
17                                                      18   herein, having been first duly sworn, was examined
18                                                      19   and testified as follows:
19                                                      20               DIRECT EXAMINATION
20                                                      21   BY MR. CASSELL:
21
22
                                                        22       Q. All right. Sir, you understand that my
23                                                      23   client is Ms. Virginia Roberts Giuffre?
24                                                      24           MR. GOLDBERGER: I'm sorry,
25                                                      25       Mr. Cassell. Before we start, let -- let me
                                              Page 7                                                      Page 9
 1              J. Epstein - Confidential                1             J. Epstein - Confidential
 2               PROCEEDINGS                             2       just discuss something on the record.
 3                    - - -                              3          I understand there's a protective order
 4           VIDEO TECHNICIAN: We are now on the         4       in place on this case concerning
 5       record. This begins videotape No. 1 in the      5       confidentiality in this depositions. And as
 6       deposition of Jeffrey Epstein in the matter     6       I understand the protective order, either
 7       of Giuffre versus Maxwell.                      7       party can designate the -- the proceeding as
 8           Today is September 9th, 2016. The time      8       confidential, and I understand counsel for
 9       is 8:35 a.m. This deposition is being taken     9       Miss Maxwell is going to do that in this
10       at 250 North Australian Avenue, West Palm      10       case.
11       Beach, Florida. The videographer is            11          MR. PAGLIUCA: That's correct. I'm
12       Ryan Kick. The court reporter is               12       designating this deposition as confidential.
13       Darline West. We both represent Magna Legal    13          Any other stips?
14       Services.                                      14          MR. GOLDBERGER: Huh?
15           Will counsel and all parties present       15          MR. PAGLIUCA: Any other stips?
16       state their appearance and whom they           16          MR. GOLDBERGER: No. We're good for
17       represent.                                     17       now.
18           MR. CASSELL: I can begin. My name's        18          MR. PAGLIUCA: Okay.
19       Paul Cassell, and I represent Miss Virginia    19   BY MR. CASSELL:
20       Giuffre.                                       20       Q. All right. Sir, you understand I'm an
21           MS. MCCAWLEY: Sigrid McCawley with         21   attorney representing Miss Roberts -- Virginia
22       Boies, Schiller & Flexner on behalf of         22   Roberts Giuffre?
23       Virginia Giuffre.                              23       A. I've been advised by my counsel to assert
24           MR. PAGLIUCA: Jeff Pagliuca appearing      24   my rights under the Fifth Amendment of the United
25       on behalf Gwen Maxwell.                        25   States Constitution as to any and all questions that




                                                                                      3 (Pages 6 to 9)
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                                                 Page 10                                                   Page 12
 1             J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   could result in a waiver of my Constitutional             2     answer would be edited and -- and would be
 3   privileges. I understand that one of the basic            3     the full answer that Mr. Epstein gave to the
 4   functions of the Fifth Amendment, according to the        4     first question. Really, your choice on that
 5   United States Supreme Court, is to protect all            5     as to how you would like to proceed.
 6   citizens, including even innocent persons who             6         MR. CASSELL: Yeah. Whatever you think
 7   otherwise might be insnared by ambiguous                  7     would be the fastest. I want to get through
 8   circumstances. On the advice of counsel, I assert my      8     this.
 9   rights under the Fifth Amendment and respectfully         9         MR. GOLDBERGER: Okay.
10   decline to answer your question.                         10         MR. CASSELL: And so, obviously, we'll
11           MR. CASSELL: Mr. Goldberger, it's your           11     be objecting to many of these invocations
12       position that having him acknowledge who my          12     already.
13       client is creates a realistic risk of                13         MR. GOLDBERGER: Sure.
14       incrimination?                                       14         MR. CASSELL: I think that these are
15           MR. GOLDBERGER: We're not going to               15     improper invocations, but if we're going to
16       debate at this deposition whether the                16     litigate that elsewhere, that certainly is
17       implication of the Fifth Amendment privilege         17     one way to proceed.
18       is proper or not proper. We are simply               18         MR. GOLDBERGER: Okay. So is it fair
19       asserting the privilege. And if that needs           19     to say we've reached an agreement that if
20       to be discussed or litigated somewhere else,         20     Mr. Epstein simply says, the Fifth, the
21       we'll be happy to do so, so...                       21     answer that would be part of the record for
22   BY MR. CASSELL:                                          22     any time these proceedings are used anywhere
23       Q. If I refer to Virginia today, I want you to       23     would be the full invocation Mr. Epstein
24   understand that I'll be referring to my client,          24     used in answer to the first question?
25   Miss Virginia Roberts Giuffre.                           25         MR. CASSELL: Yes. And I would at the
                                                 Page 11                                                   Page 13
 1            J. Epstein - Confidential                        1           J. Epstein - Confidential
 2         Is that an acceptable way to proceed today,         2     -- I would then raise an objection to the
 3   sir?                                                      3     nonresponsive portion of the invocation,
 4       A. As I stated before in response to my -- to         4     such as, for example, a reference to
 5   your earlier question, I am asserting my                  5     "innocent persons." It seems to me that's
 6   constitutional right not to respond to that question.     6     not necessary for him to take the Fifth.
 7          MR. GOLDBERGER: This would be a good               7           MR. GOLDBERGER: Okay.
 8       opportunity, I think, to kind of discuss              8         MR. CASSELL: As long as we have your
 9       ground rules for the implication of the               9     position and our position both stated all
10       Fifth Amendment --                                   10     the time, that -- that seems like the most
11          MR. CASSELL: All right.                           11     expeditious way to proceed.
12          MR. GOLDBERGER: -- as we proceed in               12         MR. WEINBERG: One other matter, a
13       this deposition. We've advised you off the           13     preliminary matter, which is that we would
14       record and it's not any surprise to anyone           14     reserve our right to particularize a full
15       that Mr. Epstein fully intends to invoke             15     basis based on the record of this case, the
16       Fifth Amendment privileges to all of your            16     record of the CVARC -- CVRA case,
17       questions.                                           17     representations that have been made by you
18          We can -- as we answer your questions,            18     and Mr. Edwards regarding Mr. Epstein and
19       and we'll be happy to answer all your                19     his potential criminal liability and your
20       questions, we can use the full invocation            20     intention to seek to rescind his
21       that we did in response to your first                21     non-prosecution agreement, the admissions
22       question, we can use the invocation that we          22     taken on the absence of the meaningful
23       just did in response to your second                  23     Statute of Limitations, in terms of our
24       question, or we simply can say, Fifth                24     spelling out, if the Fifth Amendment is
25       Amendment, with the understanding that the           25     challenged in regards to any response by




                                                                                       4 (Pages 10 to 13)
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                                                Page 14                                                   Page 16
 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2      Mr. Epstein, for instance, a response to             2   to be a citizen of?
 3      whether he even recognizes the name of your          3      A. Fifth.
 4      client, in the event you choose to challenge         4      Q. You understand that the case caption on the
 5      the essential applicability of the                   5   subpoena you received is Virginia Giuffre versus
 6      long-standing Fifth Amendment privilege.             6   Ghislaine Maxwell?
 7          MR. CASSELL: I'm going to object to              7      A. Fifth.
 8      Mr. Weinberg defending the deposition in             8      Q. You know the Defendant in this case,
 9      addition to Mr. Goldberg. My                         9   Ghislaine Maxwell, true?
10      understanding of the rules --                       10      A. Fifth.
11          MR. GOLDBERGER: Goldberger. It's                11      Q. You first met Maxwell in the early 1990s;
12      Goldberger.                                         12   isn't that true?
13          MR. CASSELL: I'm sorry. I apologize.            13           MR. PAGLIUCA: Object to form and
14      Mr. Goldberger.                                     14      foundation.
15          It seems to me, the standard is one             15           THE WITNESS: Fifth.
16      lawyer for one witness. And Mr. Goldberger          16           MR. CASSELL: Let me make sure I
17      is a very capable lawyer, so it seems to me         17      understand.
18      Mr. Weinberg should not be allowed to               18           What's the objection to form?
19      participate by making objections.                   19           MR. PAGLIUCA: The question is vague.
20          MR. PAGLIUCA: And for the record, I             20   BY MR. CASSELL:
21      have no objection to Mr. Epstein simply             21      Q. When did you first meet Ms. Maxwell?
22      saying, Fifth Amendment in response to any          22      A. Fifth.
23      questions and understand that that answer           23      Q. Where did you first meet Ms. Maxwell?
24      would incorporate all of the first answer           24      A. Fifth.
25      that Mr. Epstein gave in this deposition.           25      Q. What were the circumstances surrounding
                                                Page 15                                                   Page 17
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2          MR. GOLDBERGER: Thank you.                       2   your first meeting of Maxwell?
 3   BY MR. CASSELL:                                         3         MR. PAGLIUCA: Object to form and
 4       Q. Sir, you've been deposed many times before,      4     foundation.
 5   true?                                                   5         THE WITNESS: Could you repeat the
 6       A. Fifth.                                           6     question?
 7       Q. You understand the rules regarding the           7   BY MR. CASSELL:
 8   deposition today, true?                                 8     Q. What were the circumstances surrounding
 9       A. Fifth.                                           9   your first meeting of Maxwell?
10       Q. You have legal counsel here today to            10         MR. PAGLIUCA: Same objection.
11   provide advice to you, should it be necessary at any   11         THE WITNESS: Fifth.
12   point, true?                                           12         MR. CASSELL: And when you say "form," you
13       A. True.                                           13     believe that the question that I just asked is
14       Q. Is there anything, including any physical       14     vague?
15   conditions or ailments, that would prevent you from    15         MR. PAGLIUCA: It is vague. I don't
16   giving truthful testimony today?                       16     understand what "circumstances" means. It
17       A. Fifth.                                          17     lacks foundation, in that there hasn't been
18       Q. Please state your full name.                    18     an establishment of any time or place of
19       A. Jeffrey Edward Epstein.                         19     meeting of Ms. Maxwell or even that he knows
20       Q. Without disclosing where you may have lived     20     Ms. Maxwell under the circumstances of this
21   in the past, where do you currently reside?            21     deposition.
22       A. Fifth.                                          22         MR. CASSELL: Right. But you
23       Q. What state are you a citizen of?                23     understand there is evidence in the record
24       A. Can you clarify the question?                   24     from which I would have a good faith basis
25       Q. Yeah. What state do you consider yourself       25     for believing that he has, in fact, met




                                                                                      5 (Pages 14 to 17)
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                                                  Page 18                                                  Page 20
 1              J. Epstein - Confidential                     1           J. Epstein - Confidential
 2       Ms. Maxwell?                                         2         THE WITNESS: Fifth.
 3          MR. PAGLIUCA: I'm not going to debate             3   BY MR. CASSELL:
 4       what you have a good faith for believing or          4      Q. How long did your long-term relationship
 5       not. My -- my objection stands.                      5   with Maxwell continue?
 6          MR. CASSELL: I'm just confused about              6         MR. PAGLIUCA: Object to form and
 7       how there could be a lack of foundation for          7      foundation.
 8       whether they have met, when your client              8         THE WITNESS: Fifth.
 9       testified under oath that she had interacted         9   BY MR. CASSELL:
10       with Epstein repeatedly.                            10      Q. You are currently in a relationship with
11          MR. PAGLIUCA: That's my objection.               11   Maxwell, true?
12          MR. CASSELL: All right.                          12         MR. PAGLIUCA: Object to form and
13   BY MR. CASSELL:                                         13      foundation.
14       Q. Just so we're clear, the -- the question --      14         THE WITNESS: Fifth.
15   let me just -- I may have asked this before, but I      15   BY MR. CASSELL:
16   want to make sure we haven't messed -- messed --        16      Q. You currently have a joint defense
17   missed anything.                                        17   agreement with Maxwell, true?
18          What were the circumstances surrounding          18         MR. PAGLIUCA: Object to form and
19   your first meeting with Maxwell?                        19      foundation.
20          MR. PAGLIUCA: Same objection. Form               20         THE WITNESS: Fifth.
21       and foundation.                                     21   BY MR. CASSELL:
22          THE WITNESS: Fifth.                              22      Q. You currently have a common interest
23   BY MR. CASSELL:                                         23   agreement with Maxwell, true?
24       Q. And whenever I use the term "Maxwell"            24         MR. PAGLIUCA: Object to form and
25   today, I wanted it to be clear that I'm referring to    25      foundation.
                                                  Page 19                                                  Page 21
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   the Defendant in this action, Ghislaine Maxwell.         2          THE WITNESS: Fifth.
 3          Would you consider yourself currently to be       3   BY MR. CASSELL:
 4   the boyfriend of Ms. Maxwell?                            4       Q. You understand that your interests and
 5          MR. PAGLIUCA: Object to form and                  5   Maxwell's interests are aligned in this case?
 6       foundation.                                          6          MR. PAGLIUCA: Object to form and
 7          THE WITNESS: Fifth.                               7       foundation.
 8   BY MR. CASSELL:                                          8          THE WITNESS: Fifth.
 9       Q. Have you ever been a boyfriend of                 9   BY MR. CASSELL:
10   Ms. Maxwell?                                            10       Q. What is your understanding of Maxwell's
11          MR. PAGLIUCA: Object to form and                 11   interest in this case?
12       foundation.                                         12          MR. PAGLIUCA: Object to form and
13          THE WITNESS: Fifth.                              13       foundation.
14   BY MR. CASSELL:                                         14          THE WITNESS: Fifth.
15       Q. It's true that at some point you had an          15   BY MR. CASSELL:
16   intimate relationship with Miss Maxwell?                16       Q. What is your understanding of your interest
17          MR. PAGLIUCA: Object to form and                 17   in this case?
18       foundation.                                         18          MR. PAGLIUCA: Object to form and
19          THE WITNESS: Fifth.                              19       foundation.
20   BY MR. CASSELL:                                         20          THE WITNESS: Fifth.
21       Q. You were in a long-term relationship with        21   BY MR. CASSELL:
22   Maxwell from the early '90s through -- through at       22       Q. Since the start of 2015, you have
23   least 2005, true?                                       23   communicated with Maxwell about how she can best
24          MR. PAGLIUCA: Object to form and                 24   respond to allegations made by Virginia?
25       foundation.                                         25          MR. PAGLIUCA: Object to form and




                                                                                       6 (Pages 18 to 21)
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                                                Page 22                                              Page 24
 1           J. Epstein - Confidential                     1          J. Epstein - Confidential
 2     foundation.                                         2       What was the nature of your objection
 3        THE WITNESS: Fifth.                              3   regarding common interest and joint defense
 4   BY MR. CASSELL:                                       4   agreement, Mr. Weinberg?
 5     Q. Without going into the substance of any          5       MR. WEINBERG: It was direct status
 6   communications you have had, you've communicated with 6   asserting the attorney-client privilege as
 7   Maxwell since December 30th, 2014, true?              7   well as the Fifth Amendment. I'm making no
 8        MR. PAGLIUCA: Object to form and                 8   representations regarding the existence of
 9     foundation.                                         9   any agreement.
10        THE WITNESS: Fifth.                             10       MR. CASSELL: All right. You also
11        MR. CASSELL: Can I understand what the          11   objected to my last question based on
12     objection is to form on that particular            12   foundation. What was the foundation
13     question?                                          13   objection?
14        MR. PAGLIUCA: Do you want to have the           14       MR. PAGLIUCA: There's multiple
15     reporter read it back?                             15   foundational issues. We don't know the
16        MR. CASSELL: I can just give it to              16   source of any information that would be
17     you.                                               17   responsive to the question. It could
18        MR. PAGLIUCA: Sure.                             18   contain hearsay and speculation. You know,
19        MR. CASSELL: "Without going into any            19   all of these questions, frankly, lack
20     substance of any communications that you           20   foundation under the circumstances here.
21     have had, you have communicated with Maxwell       21   Frankly, I don't believe that there -- it
22     since December 30th, 2014, true?"                  22   will be a good faith basis for most of the
23        MR. PAGLIUCA: It's a leading question.          23   questions. I don't believe that most of
24     That's a form objection.                           24   these questions will be supported by any
25        MR. CASSELL: All right. So can we               25   independent evidence.
                                                Page 23                                              Page 25
 1             J. Epstein - Confidential                   1         J. Epstein - Confidential
 2      just --                                            2      This is simply an exercise for you,
 3          MR. WEINBERG: And I would add a                3   Mr. Cassell, to use leading questions to try
 4      further objection, which is to the extent          4   to obtain some adverse inference and
 5      that any conversations which were pursuant         5   advantage in this litigation, when you know
 6      to a common interest agreement, you would          6   that this witness is going to blanketly
 7      assert the attorney-client privilege as well       7   assert a Fifth Amendment privilege.
 8      as the Fifth Amendment.                            8      Frankly, I see no point in actually
 9          MR. GOLDBERGER: Right. So that                 9   having this deposition since all of these
10      objection we're making as to attorney-client      10   issues are going to need to be litigated
11      privilege in no way waives the Fifth              11   before the court before we can actually have
12      Amendment privilege that has been raised to       12   a determination of what Mr. Epstein may or
13      the question.                                     13   may not testify about, so...
14          MR. CASSELL: Mr. Weinberg, since              14      MR. CASSELL: My specific question,
15      you're participating over my objection, can       15   though, is -- the question I asked Epstein
16      you confirm that there is a joint defense         16   was, "Without going into the substance of
17      agreement between your client and                 17   any communications that you have had, you
18      Ms. Maxwell?                                      18   have communicated with Maxwell since
19          MR. PAGLIUCA: I'm going to object to          19   December 30th, 2014?"
20      any interrogation of Mr. Weinberg. He's not       20      Since your client has testified under
21      been noticed for a deposition, he's not           21   oath that she did indeed have communications
22      under oath, and he's not present here.            22   with Epstein since December 30th, 2014, I
23          MR. CASSELL: I'm just trying to               23   can't understand why that question would
24      understand the objection so that I can avoid      24   lack a foundation.
25      it in any future questions.                       25      MR. PAGLIUCA: Well, I -- I've made my




                                                                                 7 (Pages 22 to 25)
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 1           J. Epstein - Confidential                     1                J. Epstein - Confidential
 2      record. It -- it is lacking in foundation.         2             MR. PAGLIUCA: Object to form and
 3         MR. CASSELL: All right.                         3          foundation.
 4   BY MR. CASSELL:                                       4             THE WITNESS: Fifth.
 5      Q. Without going into the substance of any         5      BY MR. CASSELL:
 6   communications that you have had, you have            6          Q. You are a registered sex offender, correct?
 7   communicated with Maxwell since September 21st, 2015, 7          A. Fifth.
 8   true?                                                 8          Q. In previous depositions, you have stated
 9         MR. PAGLIUCA: Object to form and                9      that you are a registered sex offender, true?
10      foundation.                                       10             MR. PAGLIUCA: Object to form and
11         THE WITNESS: Fifth.                            11          foundation.
12   BY MR. CASSELL:                                      12             THE WITNESS: Fifth.
13      Q. How many communications have you had with      13      BY MR. CASSELL:
14   Ms. Maxwell since December 30th, 2014?               14          Q. In June 2008, in open court, you pled
15      A. Fifth.                                         15      guilty to two Florida State felonies, correct?
16      Q. What methods of communications have you        16          A. Fifth.
17   used when talking to Maxwell in the last two years?  17          Q. You were sworn to tell the truth in those
18         MR. PAGLIUCA: Object to form and               18      public proceedings, true?
19      foundation.                                       19          A. Fifth.
20         THE WITNESS: Fifth.                            20          Q. In open court, what did you testify that
21   BY MR. CASSELL:                                      21      you had done?
22      Q. What e-mail accounts have you used in your     22          A. Fifth.
23   communications with Maxwell?                         23          Q. And in my previous question, I'm referring
24         MR. PAGLIUCA: Object to form and               24      to the plea proceeding that was in about June
25      foundation.                                       25      of 2008. Did you understand my question?
                                                 Page 27                                                     Page 29
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2      A. Yes.
 3   BY MR. CASSELL:                                          3      Q. In open court, what things did you say in
 4      Q. What e-mail accounts has Maxwell used in           4   that hearing?
 5   her communications with you?                             5      A. Fifth.
 6          MR. PAGLIUCA: Object to form and                  6      Q. Did you tell the truth in that hearing?
 7      foundation.                                           7      A. Fifth.
 8          THE WITNESS: Fifth.                               8      Q. Did you tell the court that you accepted
 9   BY MR. CASSELL:                                          9   responsibility for those crimes?
10      Q. What is your cell phone number, sir?              10      A. Fifth.
11      A. Fifth.                                            11      Q. Were you accepting responsibility for those
12      Q. How many cell phones do you have?                 12   crimes?
13      A. Fifth.                                            13      A. Fifth.
14      Q. Please provide all of the cell phone              14      Q. Why were you accepting responsibility for
15   numbers that you currently have access to?              15   those crimes?
16      A. Fifth.                                            16          MR. PAGLIUCA: Object to form and
17      Q. Please provide all the cell phone numbers         17      foundation.
18   that you had access to in 2000 and 2001?                18          THE WITNESS: Fifth.
19      A. Fifth.                                            19   BY MR. CASSELL:
20      Q. Please provide all of the e-mail accounts         20      Q. Did you apologize to the victim of your
21   that you had access to in 2000 and 2001.                21   crimes?
22      A. Fifth.                                            22      A. Fifth.
23      Q. Please provide all of the e-mail accounts         23      Q. One of the crimes to which you pled guilty
24   that, to your knowledge, Ms. Maxwell had access to in   24   in open court was soliciting a minor for
25   2000 and 2001.                                          25   prostitution, true?




                                                                                        8 (Pages 26 to 29)
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                                             Page 30                                                    Page 32
 1           J. Epstein - Confidential                   1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and              2   BY MR. CASSELL:
 3     foundation.                                       3      Q. What did you do that led you to plead
 4         THE WITNESS: Fifth.                           4   guilty?
 5   BY MR. CASSELL:                                     5         MR. PAGLIUCA: Object to form and
 6     Q. Please describe how the solicitation to        6      foundation.
 7   which you pled guilty was accomplished.             7         THE WITNESS: Fifth.
 8         MR. PAGLIUCA: Object to form and              8   BY MR. CASSELL:
 9     foundation.                                       9      Q. What was your understanding of the legal
10         THE WITNESS: Fifth.                          10   crime to which you were pleading guilty?
11         MR. CASSELL: Can you tell me what the form   11         MR. PAGLIUCA: Object to form and
12     objection was to that?                           12      foundation.
13         MR. PAGLIUCA: Please tell me how the         13         THE WITNESS: Fifth.
14     solicitation was accomplished?                   14   BY MR. CASSELL:
15         MR. CASSELL: Yes.                            15      Q. What was your understanding of what you
16         MR. PAGLIUCA: Okay. Well, you're             16   were admitting in open court that day?
17     asking for a legal definition from this lay      17         MR. PAGLIUCA: Object to form and
18     witness as to solicitation, how it was           18      foundation.
19     accomplished. I don't know what that means.      19         THE WITNESS: Fifth.
20     Your question is vague, it's ambiguous, it       20   BY MR. CASSELL:
21     calls for a legal conclusion. It's also          21      Q. Now, with regard to the two crimes that you
22     lacking in foundation.                           22   pled guilty, where did those two crimes take place?
23         MR. CASSELL: Because?                        23      A. Fifth.
24         MR. PAGLIUCA: Well, as I understand          24      Q. And I suppose there could be a form
25     it, your position is that he pled guilty to      25   objection to that question being compound. So to
                                             Page 31                                                    Page 33
 1            J. Epstein - Confidential                  1             J. Epstein - Confidential
 2      made-up crimes that didn't have a factual        2   obviate any issue, I'm going to ask you, was one of
 3      basis and this was a conspiracy between          3   the victims in that case a girl who was 14 years old
 4      Mr. Epstein and the U.S. Attorney's Office       4   who we could identify by initials S.G.?
 5      to avoid prosecution for federal criminal        5          MR. PAGLIUCA: Object to form and
 6      charges, which is the basis for your             6      foundation.
 7      challenge to -- in the CVRA litigation, as I     7          THE WITNESS: Fifth.
 8      understand your pleadings. So I'm not            8          MR. CASSELL: And Mr. Goldberger, is -- if
 9      exactly sure how you can actually have a         9      we refer to the victim in -- I believe it was
10      good faith basis for asking that question,      10      Count 1 or at least one of the accounts by S.G.
11      given your position in writing.                 11         Is that an acceptable way to proceed rather
12         MR. CASSELL: All right. You've               12      than putting her name into the record, or could
13      mischaracterized our position. And I            13      I write her name out and provide that to you and
14      imagine we'll have to discuss that later.       14      your client? What would you -- I want to avoid
15         MR. PAGLIUCA: Sure.                          15      putting the names of 14-year-old sex victims
16         MR. CASSELL: Since there were                16      into the transcript here.
17      objections to form, let me just try to ask a    17          MR. GOLDBERGER: It's your deposition.
18      series of questions, then, to avoid the form    18          MR. CASSELL: All right. So what I'm
19      objection.                                      19      going --
20   BY MR. CASSELL:                                    20   BY MR. CASSELL:
21      Q. How did you accomplish the crime that you    21      Q. Sir, you understand when I use the term
22   pled guilty to?                                    22   "S.G." who I'm referring to, true?
23         MR. PAGLIUCA: Object to form and             23          MR. PAGLIUCA: Object to form and
24      foundation.                                     24      foundation.
25         THE WITNESS: Fifth.                          25          THE WITNESS: Fifth.




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                                               Page 34                                                      Page 36
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2          MR. CASSELL: And what I'm going to do is        2   BY MR. CASSELL:
 3      write the name of the victim and provide that to    3      Q. Isn't it true, sir, that the solicitation
 4      Mr. Goldberger and to Mr. Pagliuca now, so that     4   of S.G. occurred in your Florida -- or I should say,
 5      when I use the term "S.G.," both Mr. Goldberger     5   Palm Beach mansion?
 6      and Mr. Pagliuca will have that.                    6          MR. PAGLIUCA: Object to form and
 7          MR. GOLDBERGER: Thank you.                      7      foundation.
 8          MR. CASSELL: And if you -- and then we          8          THE WITNESS: Fifth.
 9      should also provide that, of course, now to         9   BY MR. CASSELL:
10         Mr. Epstein, so that he'll --                   10      Q. Who was regularly in your Palm Beach
11          MR. GOLDBERGER: He's -- he's seen it.          11   mansion at the time of the solicitation of 1111?
12          MR. CASSELL: Okay.                             12          MR. PAGLIUCA: Object to form and
13         And then I'm going to do the same thing with    13      foundation.
14
15
16
                     -
        the second witness. I'm going to refer to her
        by the initials
           And I'm providing -- Let the record will
                                                           14
                                                           15
                                                           16
                                                                       THE WITNESS: Fifth.
                                                                       MR. CASSELL: Could I understand the
                                                                   form objection to that question?
17
18
19
20
21
22
        of
          -
        reflect I'm providing the -- the full name
                  to Mr. Goldberger, Mr. Pagliuca, and
        Mr. Epstein has seen it as well.
     BY MR. CASSELL:
        Q. Please describe how you accomplished the
     solicitation of S.G.
                                                           17
                                                           18
                                                           19
                                                           20
                                                           21
                                                           22
                                                                       MR. PAGLIUCA: "Who was regularly
                                                                   in..."
                                                                       Again, these are vague questions with
                                                                   no time frame, which is the form problem of
                                                                   your questions.
                                                                BY MR. CASSELL:
23          MR. PAGLIUCA: Object to form and               23      Q. Sir, with regard to my questions, I want
24      foundation.                                        24   you to understand that the time frame is the same
25          THE WITNESS: Fifth.                            25   time frame for the crime to which you pled guilty.
                                               Page 35                                                      Page 37
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2          With regard to that time frame, who was
 3      Q. Please describe how you accomplished the         3   regularly in your house?
 4   solicitation of 1111                                   4          MR. PAGLIUCA: Form and foundation
 5          MR. PAGLIUCA: Object to form and                5      objection.
 6      foundation.                                         6          THE WITNESS: Fifth.
 7          THE WITNESS: Fifth.                             7   BY MR. CASSELL:
 8   BY MR. CASSELL:                                        8      Q. Sir, isn't it true that when you solicited
 9      Q. Where was the solicitation of S.G.               9
                                                                1111  for sex, Maxwell was regularly in your Palm
10   accomplished?                                         10   Beach mansion?
11          MR. PAGLIUCA: Object to form and               11          MR. PAGLIUCA: Object to form and
12      foundation.                                        12      foundation.
13          THE WITNESS: Fifth.                            13          THE WITNESS: Fifth.
14
15
16
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19
     BY MR. CASSELL:
        Q. Where was the solicitation of
     accomplished?
                                        -
            MR. PAGLIUCA: Object to form and
        foundation.
            THE WITNESS: Fifth.
                                                           14
                                                           15
                                                           16
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                                                           18
                                                           19
                                                                BY MR. CASSELL:
                                                                   Q. Sir, isn't it true that when you solicited
                                                                S.G. for sex, Maxwell was regularly in your Palm
                                                                Beach mansion?
                                                                       MR. PAGLIUCA: Object to form and
                                                                   foundation.
20   BY MR. CASSELL:                                       20          And here, Mr. Cassell, there is no
21
22
23
24
25
     of
       -Q. Isn't it true, sir, that the solicitation
              occurred in your Palm Beach mansion?
            MR. PAGLIUCA: Object to form and
        foundation.
            THE WITNESS: Fifth.
                                                           21
                                                           22
                                                           23
                                                           24
                                                           25
                                                                   evidence that Ms. Maxwell was quote,
                                                                   unquote, regularly in the Palm Beach mansion
                                                                   during the time frame that you're talking
                                                                   about. And so there is no good faith basis
                                                                   to ask that question.




                                                                                     10 (Pages 34 to 37)
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                                                   Page 38                                                       Page 40
 1            J. Epstein - Confidential                          1            J. Epstein - Confidential
 2         MR. CASSELL: I disagree with your                     2   purposes?
 3      understanding of the record, but we'll take              3         MR. PAGLIUCA: Object to form and
 4      that up at a later time.                                 4      foundation.
 5   BY MR. CASSELL:                                             5         THE WITNESS: Fifth.
 6      Q. How old was S.G. when you solicited her for           6   BY MR. CASSELL:
 7   sex?                                                        7      Q. Sir, isn't it true that you had sex with
 8         MR. PAGLIUCA: Object to form and                      8   S.G. at your Palm Beach mansion?
 9      foundation.                                              9         MR. PAGLIUCA: Object to form and
10         THE WITNESS: Fifth.                                  10      foundation.
11
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16
     BY MR. CASSELL:
        Q. How old was
     sex?
                           -       when you solicited her for

           MR. PAGLIUCA: Object to form and
        foundation.
           THE WITNESS: Fifth.
                                                                11
                                                                12
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                                                                15
                                                                16
                                                                           THE WITNESS: Fifth.
                                                                     BY MR. CASSELL:



                                                                     -  Q. Sir, isn't it true that you had sex with
                                                                          at your Palm Beach mansion?
                                                                           MR. PAGLIUCA: Object to form and
                                                                        foundation.
17   BY MR. CASSELL:                                            17         THE WITNESS: Fifth.
18      Q. Isn't it true, sir, that S.G. was under the          18   BY MR. CASSELL:
19   age of 18 when you solicited her for sex?                  19      Q. Sir, it required logistical arrangements
20         MR. PAGLIUCA: Object to form and                     20   for A.H. to come to your Palm Beach mansion, true?
21      foundation.                                             21         MR. PAGLIUCA: Object to the form and
22         THE WITNESS: Fifth.                                  22      foundation.
23   BY MR. CASSELL:                                            23         THE WITNESS: Fifth.
24      Q. Indeed, sir, isn't it true that S.G. was             24   BY MR. CASSELL:
25   under the age of 16 when you solicited her for sex?        25      Q. Sir, it required logistical arrangements
                                                   Page 39                                                       Page 41
 1            J. Epstein - Confidential                          1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and                      2   for S.G. to come to your Palm Beach mansion, true?
 3      foundation.                                              3          MR. PAGLIUCA: Object to form and
 4         THE WITNESS: Fifth.                                   4      foundation.
 5   BY MR. CASSELL:                                             5          THE WITNESS: Fifth.
 6      Q. How old was   1111      when you solicited her for    6   BY MR. CASSELL:
 7   sex?                                                        7      Q. Who helped make the logistical arrangements
 8         MR. PAGLIUCA: Object to form and                      8   for S.G. to come to your Palm Beach mansion?
 9      foundation.                                              9          MR. PAGLIUCA: Object to form and
           THE WITNESS: Fifth.                                          foundation.


                               -
10                                                              10
11   BY MR. CASSELL:                                            11          THE WITNESS: Fifth.
12      Q. Isn't it true, sir, that     was under the           12   BY MR. CASSELL:
13   age of 18 when you solicited her for sex?                  13      Q. Who arranged -- who made -- I'm sorry. Let
14         MR. PAGLIUCA: Object to form and                     14   me strike that. Let me start over.
15      foundation.                                             15          Who made the logistical arrangements for
16         THE WITNESS: Fifth.                                  16   S.G. to come to your Palm Beach mansion?
17
18
19
20
21
22
     BY MR. CASSELL:


           MR. PAGLIUCA: Object to form and
        foundation.
           THE WITNESS: Fifth.
                                            -
        Q. Sir, isn't it true you arranged for       to
     come to your Palm Beach mansion for sexual purposes?
                                                                17
                                                                18
                                                                19
                                                                20
                                                                21
                                                                22
                                                                            MR. PAGLIUCA: Object to form and
                                                                        foundation.
                                                                            THE WITNESS: Fifth.
                                                                     BY MR. CASSELL:
                                                                        Q. Sir, isn't it true that Maxwell made the
                                                                     logistical arrangements or assisted with the
23   BY MR. CASSELL:                                            23   logistical arrangements for S.G. to come to your Palm
24      Q. Sir, isn't it true that you arranged for             24   Beach mansion?
25   S.G. to come to your Palm Beach mansion for sexual         25          MR. PAGLIUCA: Object to form and




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                                                    Page 42                                                     Page 44
 1              J. Epstein - Confidential                         1           J. Epstein - Confidential
 2      foundation.                                               2   2000?
 3          And, again, there is no good faith                    3         MR. PAGLIUCA: Object to form.
 4      basis to ask this question. There are no                  4         THE WITNESS: Fifth.
 5      facts supporting any inference from that                  5   BY MR. CASSELL:
 6      question, Mr. Cassell.                                    6      Q. Who was running your Palm Beach mansion in
 7          MR. CASSELL: I disagree with your                     7   2001?
 8      reading of the record on that.                            8         MR. PAGLIUCA: Object to form.
 9   BY MR. CASSELL:                                              9         THE WITNESS: Fifth.
10      Q. You can answer.                                       10   BY MR. CASSELL:
11      A. Fifth.                                                11      Q. Sir, isn't it true that Ms. Maxwell was
12      Q. Isn't it true that Maxwell helped to make             12   running your Palm Beach mansion in 2000?
13
14
     the arrangements fo  1111      to come to your Palm Beach
     mansion either directly or indirectly?
                                                                 13
                                                                 14
                                                                            MR. PAGLIUCA: Object to form and
                                                                         foundation.
15          MR. PAGLIUCA: Object to form and                     15         Again, there's no evidence to suggest
16      foundation.                                              16      Ms. Maxwell was running anything.
17          And, again, there is no evidence                     17         THE WITNESS: Fifth.
18      suggesting that that occurred with                       18   BY MR. CASSELL:
19      Ms. Maxwell on being involved, and there is              19      Q. Mr. Epstein, there is lots of evidence to
20      no good faith basis to ask that question.                20   suggest that Ms. Maxwell was running your home from
21   BY MR. CASSELL:                                             21   1999 through about 2006, true?
22      Q. Mr. Epstein, Mr. Pagliuca just said there             22         MR. PAGLIUCA: Object to form and
23   was no good faith basis for me to ask that last             23      foundation. Argumentative.
24   question.                                                   24         THE WITNESS: Fifth.
25          It's true, sir, that you could give us a             25
                                                    Page 43                                                     Page 45
 1            J. Epstein - Confidential                           1          J. Epstein - Confidential
 2   very significant good faith basis for me asking that         2   BY MR. CASSELL:
 3   question, isn't it?                                          3     Q. Sir, Miss Maxwell was running your Palm
 4         MR. PAGLIUCA: Object to form and                       4   Beach mansion in 2001, true?
 5      foundation.                                               5        MR. PAGLIUCA: Object -- same
 6         THE WITNESS: Fifth.                                    6     objections that I've raised before. This is
 7   BY MR. CASSELL:                                              7     asked and answered.
 8      Q. In fact, at that time, Maxwell was                     8        MR. CASSELL: With regard to 2001 asked
 9   regularly at your Palm Beach mansion, true?                  9     and answered?
10         MR. PAGLIUCA: Object to form and                      10        MR. PAGLIUCA: I think so.
11      foundation, and asked and answered. Same                 11        THE WITNESS: Fifth.
12      objections.                                              12   BY MR. CASSELL:
13         THE WITNESS: Fifth.                                   13     Q. Sir, Ms. Maxwell was running your Palm
14   BY MR. CASSELL:                                             14   Beach mansion in 2002, true?
15      Q. Who was running your Palm Beach mansion in            15        MR. PAGLIUCA: Object to form and
16   2005?                                                       16     foundation.
17         MR. PAGLIUCA: Object to form.                         17        THE WITNESS: Fifth.
18         THE WITNESS: Fifth.                                   18   BY MR. CASSELL:
19   BY MR. CASSELL:                                             19     Q. Sir, Ms. Maxwell was running your Palm
20      Q. Who was running your Palm Beach mansion in            20   Beach mansion in 2003, true?
21   2006?                                                       21        MR. PAGLIUCA: Object to form and
22         MR. PAGLIUCA: Object to form.                         22     foundation.
23         THE WITNESS: Fifth.                                   23        THE WITNESS: Fifth.
24   BY MR. CASSELL:                                             24   BY MR. CASSELL:
25      Q. Who was running your Palm Beach mansion in            25     Q. Sir, Miss Maxwell was running your Palm




                                                                                           12 (Pages 42 to 45)
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                                                Page 46                                                   Page 48
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   Beach mansion in 2004, true?                            2          VIDEO TECHNICIAN: On the record at
 3         MR. PAGLIUCA: Object to form and                  3      9:10 a.m.
 4      foundation.                                          4          MR. GOLDBERGER: Thank you for the
 5         THE WITNESS: Fifth.                               5      break.
 6   BY MR. CASSELL:                                         6   BY MR. CASSELL:
 7      Q. Sir, Ms. Maxwell was running your Palm            7      Q. Sir, who did you talk to during the break?
 8   Beach mansion in 2005, true?                            8      A. Fifth.
 9         MR. PAGLIUCA: Object to form and                  9          MR. GOLDBERGER: And attorney-client.
10      foundation.                                         10          MR. CASSELL: But you believe there's a
11         THE WITNESS: Fifth.                              11      good faith basis for him to say what was just
12   BY MR. CASSELL:                                        12      discussed would be incriminating?
13      Q. Sir, Ms. Maxwell was running your Palm           13          MR. GOLDBERGER: Objection's been
14   Beach mansion in 2006, true?                           14      raised. Privileged has been invoked.
15         MR. PAGLIUCA: Object to form and                 15          MR. CASSELL: All right.
16      foundation.                                         16   BY MR. CASSELL:
17         THE WITNESS: Fifth.                              17      Q. Without going into the substance of any
18   BY MR. CASSELL:                                        18   communications, who did you speak to during the
19      Q. Who had access to the financial accounts         19   break?
20   for your Palm Beach mansion in 2005?                   20      A. Fifth.
21      A. Fifth.                                           21          MR. GOLDBERGER: Attorney-client.
22      Q. Sir, isn't it true that Ms. Maxwell had          22          Again, we're raising attorney-client
23   access to the financial accounts for your Palm Beach   23      privilege without waiving any Fifth
24   mansion in 2005?                                       24      Amendment privileges.
25         MR. PAGLIUCA: Object to form and                 25          MR. CASSELL: Understood.
                                                Page 47                                                   Page 49
 1             J. Epstein - Confidential                     1           J. Epstein - Confidential
 2      foundation.                                          2   BY MR. CASSELL:
 3          And, again, there's no evidence to               3      Q. You know who Alfredo Rodriguez is, sir,
 4      suggest that Ms. Maxwell had access to               4   true?
 5      financial accounts of Mr. Epstein in 2005.           5      A. Fifth.
 6          THE WITNESS: Fifth.                              6      Q. Who is Alfredo Rodriguez?
 7   BY MR. CASSELL:                                         7      A. Fifth.
 8      Q. Ms. Maxwell did indeed have access to some        8      Q. Alfredo Rodriguez was involved in some
 9   of your financial accounts in 2005, true, sir?          9   household management issues in your Palm Beach
10          MR. PAGLIUCA: Object to form and                10   mansion in 2005, true?
11      foundation.                                         11         MR. PAGLIUCA: Object to form and
12          THE WITNESS: Fifth.                             12      foundation.
13          MR. GOLDBERGER: Mr. Cassell, can we             13         THE WITNESS: Fifth.
14      just take a 30-second break? I think I have         14   BY MR. CASSELL:
15      a logistical problem when I -- when I               15      Q. What did Alfredo Rodriguez do for you in
16      connected Mr. Weinberg. I used a line that          16   2005?
17      was on service. So, I mean, give me two             17         MR. PAGLIUCA: Object to form and
18      seconds.                                            18      foundation.
19          MR. CASSELL: All right. And we're               19         THE WITNESS: Fifth.
20      just going to confer for a moment, if that's        20   BY MR. CASSELL:
21      all right.                                          21      Q. Who did Alfredo Rodriguez report to in
22          MR. GOLDBERGER: Thank you.                      22   2005?
23          VIDEO TECHNICIAN: Off the record at             23         MR. PAGLIUCA: Object to form and
24      9:04 a.m.                                           24      foundation.
25          (A recess was taken.)                           25         THE WITNESS: Fifth.




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                                                 Page 50                                                     Page 52
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2          MR. PAGLIUCA: Object to form and
 3      Q. Sir, isn't it true that Alfredo Rodriguez          3      foundation.
 4   reported to Maxwell in 2005?                             4          THE WITNESS: Fifth.
 5         MR. PAGLIUCA: Object to form and                   5   BY MR. CASSELL:
 6
 7
 8
 9
10
11
        foundation.
           There's no evidence to suggest that he
        reported to Ms. Maxwell.
           THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. Who is Sarah Kellen?
                                                              6
                                                              7
                                                              8
                                                              9
                                                             10
                                                             11
                                                                     foundation.               -
                                                                     Q. Sarah Kellen and Ghislaine Maxwell both
                                                                  assisted in the solicitation of      true?
                                                                         MR. PAGLIUCA: Obj c to form and

                                                                         Again, there is no evidence to suggest
                                                                     that that's true.
12      A. Fifth.                                            12          And, Mr. Cassell, if you have some good
13      Q. You know Sarah Kellen, don't you?                 13      faith basis and you want to put it on the
14      A. Fifth.                                            14      record, that's fine. I have the Palm Beach
15      Q. What did Sarah Kellen do for you at your          15      Police Department reports here. We deposed
16   Palm Beach mansion?                                     16      Detective Racari. You know, as well as I
17         MR. PAGLIUCA: Object to form and                  17      do, that there's no evidence to suggest that
18      foundation.                                          18      Ms. Maxwell was involved with   1111    at all.
19         THE WITNESS: Fifth.                               19          MR. CASSELL: I move to strike the
20   BY MR. CASSELL:                                         20      speaking objections. They're improper in
21      Q. Did Alfredo Rodriguez work for you in 2005?       21      this deposition. And there's a time and a
22      A. Fifth.                                            22      place to put on both your point of views on
23      Q. How many years did Alfredo Rodriguez work         23      these issues and, of course, our point of
24   for you?                                                24      view as well.
25      A. Fifth.                                            25          MR. PAGLIUCA: Well, that's fine. You
                                                 Page 51                                                     Page 53
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2      Q. Sarah Kellen reported to Maxwell, true?            2      know, if we can understand that my form and
 3          MR. PAGLIUCA: Object to form and                  3      foundation objection encompasses what you're
 4      foundation.                                           4      deeming as speaking objections, I can
 5          There's no evidence to suggest that               5      certainly truncate this and just make my
 6      Miss Kellen reported to Miss Maxwell.                 6      form and foundation objections.
 7          THE WITNESS: Fifth.                               7         MR. CASSELL: My understanding of the
 8   BY MR. CASSELL:                                          8      proper procedure is, you should object on
 9      Q. Mr. Epstein, you could give us lots of             9      form and foundation unless I ask for further
10   evidence that Sarah Kellen reported to Maxwell, true?   10      clarification. That's all you need to make
11          MR. PAGLIUCA: Object to form.                    11      the record.
12      Foundation. Argumentative.                           12         MR. PAGLIUCA: Okay. And that form and
13          THE WITNESS: Fifth.                              13      foundation objection, then, would include my
14   BY MR. CASSELL:                                         14      position that there's no good faith basis to
15      Q. Sarah Kellen and Ghislaine Maxwell both           15      be asking these questions; is that correct?
16   assisted you in the solicitation of S.G., true?         16         MR. CASSELL: That's correct. That
17          MR. PAGLIUCA: Object to form and                 17      would be your position. And of course, our
18      foundation.                                          18      position would be to the contrary.
19          And, again, there's no evidence to show          19         MR. PAGLIUCA: I understand. I'm just
20      that Miss Maxwell participated in the                20      trying to make sure that we're not waiving
21      solicitation of anybody.                             21      anything, and I'm happy just to --
22          THE WITNESS: Fifth.                              22         MR. CASSELL: Sure.
23   BY MR. CASSELL:                                         23         MR. PAGLIUCA: -- simply to object to
24      Q. Please give us all the evidence that              24      form and foundation, preserving any
25   Maxwell participated in the solicitation of minors.     25      objections I have to the questioning and the




                                                                                      14 (Pages 50 to 53)
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                                                 Page 54                                                      Page 56
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2      process of the proceeding. Fair?                      2   Ms. Maxwell.
 3          MR. CASSELL: You would be preserving,             3          Do you see that answer?
 4      obviously, a form objection and a foundation          4      A. Yes.
 5      objection.                                            5      Q. The answer is, "I think you should ask that
 6          MR. PAGLIUCA: Sure. I guess the                   6   question of Jeffrey."
 7      questions then becomes what does that mean.           7          Do you see that answer?
 8          MR. CASSELL: Right.                               8      A. Yes.
 9          MR. PAGLIUCA: So I can keep objecting,            9      Q. So following up on Ms. Maxwell's
10      as I am, or we can have some agreement. But          10   suggestion, I'm going to ask you the same question.
11      why don't we keep going and we'll see what           11          Was it your preference to start a massage
12      happens.                                             12   with sex?
13          MR. CASSELL: Right. And I -- it would            13      A. Fifth.
14      be my position that anything beyond form and         14      Q. It is true that your preference was to
15      foundation should be stricken.                       15   start a massage with sex?
16          MR. PAGLIUCA: Okay.                              16          MR. PAGLIUCA: Object to form and
17          MR. CASSELL: Unless you can -- and               17      foundation.
18      that's -- that's the way to proceed.                 18          THE WITNESS: Fifth.
19          (Plaintiff's Exhibit JE1, Transcript of the      19   BY MR. CASSELL:
20   deposition of Ms. Maxwell taken on April 22nd, 2016     20      Q. I don't know that I completely finished the
21   was marked for identification.)                         21   question. So let me just re-ask it.
22   BY MR. CASSELL:                                         22          It is true that your preference was to
23      Q. All right. Sir, I want to hand you a              23   start a massage with sex, correct?
24   document, which I'm document I'm going to mark as JE1   24          MR. PAGLIUCA: Objection to form and
25   for Jeffrey Epstein 1. And I'll represent and           25      foundation.
                                                 Page 55                                                      Page 57
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   provided a copy to both Mr. Goldberger and               2          THE WITNESS: Fifth.
 3   Mr. Pagliuca. I represent that this is a transcript      3   BY MR. CASSELL:
 4   of the deposition of Ms. Maxwell taken on April 22nd,    4      Q. To your knowledge, when she was deposed on
 5   2016.                                                    5   April 22nd, 2016, Maxwell knew that your preference
 6          You have that document in front of you,           6   was to start a massage with sex, true?
 7   sir?                                                     7          MR. PAGLIUCA: Object to form and
 8       A. Yes.                                              8      foundation.
 9       Q. If I could ask you to flip to page 100.           9          THE WITNESS: Fifth.
10   And since there are two sets of numbers, this would     10   BY MR. CASSELL:
11   be the smaller set of numbers up on the, for example,   11      Q. It is true that you directed Maxwell to
12   the top of the page. These -- these are four pages      12   recruit girls under the age of 18 who would have sex
13   per page. And page 100. I'd like to direct your         13   with you all under the guise of providing a massage,
14   attention to page 100, line 8. Actually, I'm sorry,     14   correct?
15   page 100, line 10.                                      15          MR. PAGLIUCA: Object to form and
16          Do you see where I am, sir?                      16      foundation.
17       A. Yes.                                             17          THE WITNESS: Fifth.
18       Q. On line 10 there is a question: "Did             18   BY MR. CASSELL:
19   Jeffrey -- was it Jeffrey's preference to start a       19      Q. One of the girls under the age of 18 with
20   massage with sex?"                                      20   whom you had massages starting with sex was Virginia,
21          Do you see that question, sir?                   21   true?
22       A. Yes.                                             22          MR. PAGLIUCA: Object to form and
23       Q. And then if we skip over two lines where         23      foundation.
24   there's a form and foundation objection, we go to       24          THE WITNESS: Fifth.
25   line 14 where there is an answer given by               25




                                                                                      15 (Pages 54 to 57)
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                                                 Page 58                                                      Page 60
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   Virginia there for sexual purposes?
 3      Q. Maxwell has been present many times when           3          MR. PAGLIUCA: Object to form and
 4   you have had massages starting with sex, true?           4       foundation.
 5          MR. PAGLIUCA: Object to form and                  5          THE WITNESS: Fifth.
 6      foundation.                                           6   BY MR. CASSELL:
 7          THE WITNESS: Fifth.                               7       Q. Maxwell was fully aware that Virginia was
 8   BY MR. CASSELL:                                          8   in New Mexico for sexual purposes, true?
 9      Q. All right. Now, I want to go in the same           9          MR. PAGLIUCA: Object to form and
10   exhibit, a little further in at page 146.               10       foundation.
11          All right. On page 146, line 22, do you          11          THE WITNESS: Fifth.
12   see line 22 on page 146?                                12   BY MR. CASSELL:
13      A. Yes.                                              13       Q. Can you think of any other purpose which an
14      Q. And do you see a question there that reads,       14   attractive 17-year-old girl would be on your property
15   "So would Virginia be brought on trips that were for    15   at that time, sir?
16   the purpose of work and decorating the house?"          16          MR. PAGLIUCA: Object to form and
17          Do you see that question?                        17       foundation.
18      A. Yes.                                              18          THE WITNESS: Fifth.
19      Q. And then do you see following on                  19   BY MR. CASSELL:
20   immediately the answer from Ms. Maxwell: "Like I        20       Q. Maxwell knew there was no other purpose for
21   said, I never worked with her, but you would have to    21   Virginia being there at that time other than sex,
22   ask Jeffrey what he brought her on the trip for."       22   true?
23          Do you see that answer?                          23          MR. PAGLIUCA: Object to form and
24      A. Yes.                                              24       foundation.
25      Q. And so I represent to you that that's an          25          THE WITNESS: Fifth.
                                                 Page 59                                                      Page 61
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   answer from Ms. Maxwell, and will you understand that    2   BY MR. CASSELL:
 3   as I ask further questions with regard to this           3       Q. Is there anyone else I can talk to besides
 4   transcript?                                              4   you, Virginia, and Maxwell to give information about
 5       A. Yes.                                              5   why Virginia was at your ranch in New Mexico?
 6       Q. So following up on Ms. Maxwell's direction,       6           MR. PAGLIUCA: Object to form and
 7   I would like to ask you, why did you bring -- bring      7       foundation.
 8   Virginia on the trip to New Mexico?                      8           THE WITNESS: Fifth.
 9          MR. PAGLIUCA: Object to form and                  9   BY MR. CASSELL:
10       foundation.                                         10       Q. There is no one else I can talk to you
11          THE WITNESS: Fifth.                              11   besides you, Virginia, and Maxwell to get exact
12   BY MR. CASSELL:                                         12   information about why Virginia was at your ranch in
13       Q. You did bring Virginia on a trip to New          13   New Mexico, true?
14   Mexico, true, sir?                                      14           MR. PAGLIUCA: Object to form and
15          MR. PAGLIUCA: Object to foundation.              15       foundation.
16          THE WITNESS: Fifth.                              16           THE WITNESS: Fifth.
17   BY MR. CASSELL:                                         17   BY MR. CASSELL:
18       Q. Why did you bring Virginia on your trips         18       Q. Let's go now to page -- actually, let me
19   with you?                                               19   ask one quick question while I'm thinking about it,
20          MR. PAGLIUCA: Object to form and                 20   or I'll come back to that in a moment.
21       foundation.                                         21           Let's go to page 196. You see on line 3 of
22          THE WITNESS: Fifth.                              22   196 you see a question: "What has Jeffrey told you
23   BY MR. CASSELL:                                         23   about Virginia Roberts?"
24       Q. With regard to the New Mexico trip that          24           Do you see that, sir?
25   we're discussing here, isn't it true that you brought   25       A. Yes.




                                                                                      16 (Pages 58 to 61)
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                                                Page 62                                                     Page 64
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2      Q. And then there's an answer in line 5. Do         2          Do you see that question?
 3   you see that?                                          3       A. Yes.
 4      A. Yes.                                             4       Q. And then skipping over a form and
 5      Q. The answer is that "She is a liar."              5   foundation objection, on line 9 we see an answer from
 6          Do you see -- is -- I represent to you that     6   Maxwell, "You would have to check with him."
 7   that is Ms. Maxwell stating that you said Virginia     7          Do you see that?
 8   Roberts is a liar.                                     8       A. That's incomplete, but, yes.
 9          Is that accurate testimony from                 9       Q. And then the sentence carries on, "I can
10   Ms. Maxwell?                                          10   tell you why I think she is a liar. I'm happy to do
11      A. Fifth.                                          11   that."
12      Q. On line 6, that's not accurate testimony        12          Do you see the rest of that?
13   from Ms. Maxwell, is it?                              13       A. Yes.
14          MR. PAGLIUCA: Object to form and               14       Q. But I want to focus in on the first part of
15      foundation.                                        15   that sentence, "You would have to check with him."
16          THE WITNESS: Sorry. Repeat the                 16          Do you see that answer?
17      question.                                          17       A. Yes.
18   BY MR. CASSELL:                                       18       Q. And that answer, you understand in context
19      Q. It is not accurate testimony what we see on     19   to be a request from Maxwell that we check with you?
20   line 5 there, is it?                                  20   Do you understand that?
21      A. You said, "line 6," I believe, sir.             21          MR. PAGLIUCA: Object to form and
22      Q. I'm sorry. Let me --                            22       foundation.
23      A. Sorry.                                          23          THE WITNESS: Fifth.
24      Q. Yeah. Let's --                                  24   BY MR. CASSELL:
25          So you see a question on line 3, correct,      25       Q. So I would like to check with you now.
                                                Page 63                                                     Page 65
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   sir?                                                   2           What do you base your assessment of
 3       A. Yes.                                            3   Ms. Roberts' credibility on?
 4       Q. And the question on line 3 is, "What has        4       A. Fifth.
 5   Jeffrey Epstein told you about Virginia Roberts?"      5       Q. It's true, sir, that Virginia is highly
 6           That's the question there?                     6   credible, isn't it?
 7       A. Yes.                                            7           MR. PAGLIUCA: Object to form and
 8       Q. And on line 5 there's an answer from            8       foundation.
 9   Ms. Maxwell that "She is a liar."                      9           THE WITNESS: Fifth.
10           Do you see that answer?                       10   BY MR. CASSELL:
11       A. Yes.                                           11       Q. When Virginia has said you were a sex
12       Q. That answer is not accurate testimony, is      12   trafficker, that's a true statement, right, sir?
13   it, sir?                                              13           MR. PAGLIUCA: Object to form and
14           MR. PAGLIUCA: Object to form and              14       foundation.
15       foundation.                                       15           THE WITNESS: Fifth.
16           THE WITNESS: Fifth.                           16   BY MR. CASSELL:
17   BY MR. CASSELL:                                       17       Q. When Virginia has said that you had
18       Q. When Ms. Maxwell gave that testimony, she      18   sexually abused her, that's a true statement, isn't
19   well knew that Virginia was not a liar, true?         19   it, sir?
20           MR. PAGLIUCA: Object to form and              20           MR. PAGLIUCA: Object to form and
21       foundation.                                       21       foundation.
22           THE WITNESS: Fifth.                           22           THE WITNESS: Fifth.
23   BY MR. CASSELL:                                       23   BY MR. CASSELL:
24       Q. Going now to line 6 there is a question,       24       Q. And when Virginia said Maxwell sexually
25   "What does he base that on?"                          25   abused her, you know that to be a true statement as




                                                                                     17 (Pages 62 to 65)
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                                                 Page 66                                                    Page 68
 1              J. Epstein - Confidential                    1            J. Epstein - Confidential
 2   well, don't you?                                        2   about threesomes between you, Maxwell, and her would
 3          MR. PAGLIUCA: Object to form and                 3   be the three of you, correct?
 4      foundation.                                          4          MR. PAGLIUCA: Object to form and
 5          THE WITNESS: Fifth.                              5       foundation.
 6   BY MR. CASSELL:                                         6          THE WITNESS: Fifth.
 7      Q. Virginia has told the truth about you using       7   BY MR. CASSELL:
 8   Maxwell to recruit girls for you to sexually abuse,     8       Q. And when I refer -- refer to "a threesome"
 9   true, sir?                                              9   in today's deposition, will you understand that I'm
10          MR. PAGLIUCA: Objection to form and             10   referring to sexual activity among three people
11      foundation.                                         11   occurring essentially simultaneously?
12          THE WITNESS: Fifth.                             12          MR. PAGLIUCA: Object to form and
13   BY MR. CASSELL:                                        13       foundation.
14      Q. Please give us all the information that you      14          THE WITNESS: Fifth.
15   have regarding how credible Virginia is.               15   BY MR. CASSELL:
16          MR. PAGLIUCA: Object to form and                16       Q. What is your understanding of the term
17      foundation.                                         17   "threesome"?
18          THE WITNESS: Fifth.                             18       A. Fifth.
19   BY MR. CASSELL:                                        19       Q. Without regard to any conduct that you may
20      Q. Please give us all information you have          20   or not have undertaken in the past, what do you
21   about Virginia's credibility on issues relating to     21   understand the word "threesome" to mean?
22   sex abuse.                                             22       A. Fifth.
23          MR. PAGLIUCA: Object to form and                23       Q. Let's now go to page 197 of the transcript.
24      foundation.                                         24   Oh, I'm sorry. Actually, let's go to the very bottom
25          THE WITNESS: Fifth.                             25   of page 196.
                                                 Page 67                                                    Page 69
 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2          Do you see line 25 on page 196?
 3       Q. Please give us all information you have          3      A. Yes.
 4   showing that Virginia is credible about allegations     4      Q. And the question is: "That's all he said
 5   she's made against you.                                 5   about Virginia?"
 6          MR. PAGLIUCA: Object to form and                 6          Do you see that question?
 7       foundation.                                         7      A. I don't see a question mark, do you?
 8          THE WITNESS: Fifth.                              8      Q. On line 2 of page 197?
 9   BY MR. CASSELL:                                         9      A. Yes.
10       Q. Please give us all the information you have     10      Q. And so this is a reference back to line 24
11   about how Virginia is credible with regard to her      11   on page 196. Do you see line 24 on page 196?
12   allegations against Maxwell.                           12      A. Yes.
13          MR. PAGLIUCA: Object to form and                13      Q. And the answer there from Maxwell is, "All
14       foundation.                                        14   he" -- that is Epstein in context -- "told me that
15          THE WITNESS: Fifth.                             15   she is a liar."
16   BY MR. CASSELL:                                        16          Do you see that answer? Do you see the
17       Q. Is there anybody else that I could check        17   answer there on line 24?
18   with besides you to follow up on Ms. Maxwell's         18      A. Yes.
19   suggestion of obtaining information about Virginia's   19      Q. That is not accurate testimony, is it, sir?
20   credibility with regard to sexual abuse by you?        20          MR. PAGLIUCA: Object to form and
21          MR. PAGLIUCA: Object to form and                21      foundation.
22       foundation.                                        22          THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                             23   BY MR. CASSELL:
24   BY MR. CASSELL:                                        24      Q. In fact, you told Ms. Maxwell that you were
25       Q. Sir, it's true that the only one who knows      25   very concerned that people would learn the truth




                                                                                     18 (Pages 66 to 69)
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                                                Page 70                                                      Page 72
 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   about your activities with Virginia, true?              2          THE WITNESS: Fifth.
 3          MR. PAGLIUCA: Object to form and                 3   BY MR. CASSELL:
 4      foundation.                                          4      Q. You never denied to Maxwell that you had
 5          THE WITNESS: Fifth.                              5   sexual relations with Virginia, did you?
 6   BY MR. CASSELL:                                         6          MR. PAGLIUCA: Object to form and
 7      Q. In fact, both you and Ms. Maxwell were very       7      foundation.
 8   concerned that people would learn the truth about       8          THE WITNESS: Fifth.
 9   Virginia's allegations, true?                           9   BY MR. CASSELL:
10          MR. PAGLIUCA: Object to form and                10      Q. And in fact, Maxwell well knew that you had
11      foundation.                                         11   sexual relations with Virginia because she had been
12          THE WITNESS: Fifth.                             12   with you when you were having sexual relations with
13   BY MR. CASSELL:                                        13   Virginia?
14      Q. And you and Ms. Maxwell undertook a plan at      14          MR. PAGLIUCA: Object to form and
15   that point to try and undercut Virginia's              15      foundation.
16   credibility, true?                                     16          THE WITNESS: Fifth.
17          MR. PAGLIUCA: Object to form and                17   BY MR. CASSELL:
18      foundation.                                         18      Q. Let's go now to page 217 of the transcript.
19          Can you mark those for me, Reporter,            19          If you look at line 23 on page 217, do you
20      those last three questions? Thank you.              20   see a question, "Is it an obvious -- who did lead her
21          THE WITNESS: Fifth.                             21   up to Jeffrey's room while you were talking to her
22   BY MR. CASSELL:                                        22   mother?"
23      Q. I'm sorry. On page 197, line 3, there's an       23          Do you see that question?
24   answer, "We went through all the lies that you have    24      A. Yes.
25   sold to the papers and sold in general, and we have    25      Q. And I'll represent to you that the "her" in
                                                Page 71                                                      Page 73
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   analyzed her lies and your lies and your                2   that question is a reference to Virginia.
 3   inappropriate behavior in detail."                      3          Do you understand that to be the question?
 4          Do you see that answer?                          4      A. Yes.
 5       A. Yes.                                             5      Q. And if we go over onto the next page, then,
 6       Q. That is not a fair and accurate recounting       6   we see, "Answer: You would have to ask Virginia. I
 7   of your conversation with Maxwell, is it?               7   don't know if she was led up to his room."
 8          MR. PAGLIUCA: Object to form and                 8          Do you see that answer?
 9       foundation.                                         9      A. Yes.
10          THE WITNESS: Fifth.                             10      Q. There's actually another person that we
11   BY MR. CASSELL:                                        11   could ask, apart from Virginia, who would know who
12       Q. In fact, the two of you were not worried        12   led her up to your room; isn't that true, sir?
13   about the lies that Virginia was telling, but the      13          MR. PAGLIUCA: Object to form and
14   truthful statements -- let me strike that.             14      foundation.
15          In fact, you were not concerned in any way      15          THE WITNESS: Fifth.
16   about any lies Virginia was telling because she was    16   BY MR. CASSELL:
17   not lying, true?                                       17      Q. The first time you met Virginia, where did
18          MR. PAGLIUCA: Object to form and                18   you meet her?
19       foundation.                                        19      A. Fifth.
20          THE WITNESS: Fifth.                             20      Q. Isn't it true that the first time you met
21   BY MR. CASSELL:                                        21   virgin what was in your massage room in your Palm
22       Q. You were concerned that Virginia was            22   Beach mansion?
23   telling the truth, weren't you?                        23          MR. PAGLIUCA: Object to form and
24          MR. PAGLIUCA: Object to form and                24      foundation.
25       foundation.                                        25          THE WITNESS: Fifth.




                                                                                     19 (Pages 70 to 73)
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                                                Page 74                                                      Page 76
 1             J. Epstein - Confidential                     1               J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2   Jeffrey Epstein's room?"
 3       Q. Isn't it true that Maxwell led Virginia up       3           Do you see that question?
 4   to your Palm Beach mansion massage room the first       4       A. Yes.
 5   time you met her?                                       5       Q. And then you see an answer there, "I have
 6          MR. PAGLIUCA: Object to form and                 6   never participated at any time with Virginia in a
 7       foundation.                                         7   massage with Jeffrey."
 8          THE WITNESS: Fifth.                              8           Do you see that answer?
 9   BY MR. CASSELL:                                         9       A. Yes.
10       Q. You saw Maxwell bringing Virginia up to         10       Q. And I represent to you the answer is being
11   your room, true, sir?                                  11   given by Ms. Maxwell during a sworn deposition. Will
12          MR. PAGLIUCA: Object to form and                12   you understand that with regard to my questions here?
13       foundation.                                        13       A. Yes.
14          THE WITNESS: Fifth.                             14       Q. Miss Maxwell's testimony is not truthful,
15   BY MR. CASSELL:                                        15   is it, sir?
16       Q. Isn't it true that it was standard              16           MR. PAGLIUCA: Object to form and
17   operating procedure for Maxwell to bring underage      17       foundation.
18   girls up to your room?                                 18           THE WITNESS: Fifth.
19          MR. PAGLIUCA: Object to form and                19   BY MR. CASSELL:
20       foundation.                                        20       Q. In fact, you, Maxwell, and Virginia all had
21          THE WITNESS: Fifth.                             21   sexual contact together at the same time on multiple
22   BY MR. CASSELL:                                        22   occasions, true?
23       Q. Isn't it true that it was standard              23           MR. PAGLIUCA: Object to form and
24   operating procedure for Maxwell to bring underage      24       foundation.
25   girls up to your room for you to sexually abuse?       25           THE WITNESS: Fifth.
                                                Page 75                                                      Page 77
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2           MR. PAGLIUCA: Object to form and                2   BY MR. CASSELL:
 3       foundation.                                         3      Q. How many times have you, Maxwell, and
 4           THE WITNESS: Fifth.                             4   Virginia had sexual contact together?
 5   BY MR. CASSELL:                                         5          MR. PAGLIUCA: Object to form and
 6       Q. Isn't it true that Maxwell's sworn               6      foundation.
 7   testimony is inaccurate when she says she didn't        7          THE WITNESS: Fifth.
 8   bring Virginia up to your room?                         8   BY MR. CASSELL:
 9           MR. PAGLIUCA: Object to form and                9      Q. On multiple occasions you and Maxwell
10       foundation.                                        10   jointly participated in sexual abuse of Virginia,
11           THE WITNESS: Fifth.                            11   true?
12   BY MR. CASSELL:                                        12          MR. PAGLIUCA: Object to form and
13       Q. Isn't it true that Maxwell was perjuring        13      foundation.
14   herself when she said she didn't know who brought      14          THE WITNESS: Fifth.
15   Virginia up to your room?                              15   BY MR. CASSELL:
16           MR. PAGLIUCA: Object to form                   16      Q. Have you and Maxwell ever jointly
17       foundation.                                        17   participated in the sexual abuse of Virginia?
18           THE WITNESS: Fifth.                            18          MR. PAGLIUCA: Object to form and
19   BY MR. CASSELL:                                        19      foundation.
20       Q. Let's go now to page 229 of the transcript,     20          THE WITNESS: Fifth.
21   line 11.                                               21   BY MR. CASSELL:
22           Do you see the question there, "So not the     22      Q. How many times have you and Maxwell jointly
23   first time she came but the second time she came or    23   participated in the sexual abuse of Virginia?
24   the third time or any time she came, did you ever      24          MR. PAGLIUCA: Object to form and
25   participate in a massage with her in                   25      foundation.




                                                                                     20 (Pages 74 to 77)
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 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2      foundation.
 3   BY MR. CASSELL:                                          3         THE WITNESS: Fifth.
 4      Q. Your understanding of all the facts in this        4   BY MR. CASSELL:
 5   case is that Maxwell was lying when she denied sexual    5      Q. How many times, to your knowledge, did
 6   abuse of Virginia, true?                                 6   Maxwell have sex with Virginia?
 7          MR. PAGLIUCA: Objection to form and               7         MR. PAGLIUCA: Object to form and
 8      foundation.                                           8      foundation.
 9          THE WITNESS: Fifth.                               9         THE WITNESS: Fifth.
10   BY MR. CASSELL:                                         10   BY MR. CASSELL:
11      Q. If Maxwell had told the truth in her              11      Q. Sir, it's true that you had sex with
12   deposition, she would have admitted to sexually         12   Virginia dozens if not hundreds of times; isn't that
13   abusing Virginia, true?                                 13   true?
14          MR. PAGLIUCA: Objection to form and              14         MR. PAGLIUCA: Object to form and
15      foundation.                                          15      foundation.
16          THE WITNESS: Fifth.                              16         THE WITNESS: Fifth.
17   BY MR. CASSELL:                                         17   BY MR. CASSELL:
18      Q. When you and Maxwell were jointly sexually        18      Q. And to your knowledge, Maxwell had sex with
19   abusing Virginia, who were the witnesses to that        19   Virginia dozens and dozens of times, true?
20   activity?                                               20         MR. PAGLIUCA: Objection to form and
21          MR. PAGLIUCA: Object to form and                 21      foundation.
22      foundation.                                          22         THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                              23   BY MR. CASSELL:
24   BY MR. CASSELL:                                         24      Q. What years did you and Maxwell have sex
25      Q. It's true, sir, that when you and Maxwell         25   with Virginia?
                                                 Page 79                                                     Page 81
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   were jointly sexually abusing Virginia, you two were     2         MR. PAGLIUCA: Object to form and
 3   the only two witnesses who could see what was going      3      foundation.
 4   on?                                                      4         THE WITNESS: Fifth.
 5          MR. PAGLIUCA: Object to form and                  5   BY MR. CASSELL:
 6       foundation.                                          6      Q. It's true that you and Maxwell had sex with
 7          THE WITNESS: Fifth.                               7   Virginia in the year 2000, true?
 8   BY MR. CASSELL:                                          8         MR. PAGLIUCA: Object to form and
 9       Q. Are there any other witnesses I should call       9      foundation.
10   to try to depose and talk to to see whether you and     10         THE WITNESS: Fifth.
11   Maxwell were jointly sexually abusing Virginia?         11   BY MR. CASSELL:
12          MR. PAGLIUCA: Object to form and                 12      Q. It's true that you and Maxwell had sex with
13       foundation.                                         13   Virginia in the year 2001, true?
14          THE WITNESS: Fifth.                              14         MR. PAGLIUCA: Object to forma and
15   BY MR. CASSELL:                                         15      foundation.
16       Q. How many times did you and Maxwell have sex      16         THE WITNESS: Fifth.
17   with Virginia?                                          17   BY MR. CASSELL:
18          MR. PAGLIUCA: Object to form and                 18      Q. You had sex with Virginia repeatedly when
19       foundation.                                         19   she was under the age of 18, true?
20          THE WITNESS: Fifth.                              20         MR. PAGLIUCA: Object to form and
21                                                           21      foundation.
22   BY MR. CASSELL:                                         22         THE WITNESS: Fifth.
23      Q. How many times did you have sex with              23   BY MR. CASSELL:
24   Virginia?                                               24      Q. You also had sex with Virginia when she was
25         MR. PAGLIUCA: Object to form and                  25   under the age of 17, true?




                                                                                      21 (Pages 78 to 81)
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                                               Page 82                                                      Page 84
 1             J. Epstein - Confidential                    1            J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                2      foundation.
 3      foundation.                                         3         THE WITNESS: Fifth.
 4          THE WITNESS: Fifth.                             4   BY MR. CASSELL:
 5   BY MR. CASSELL:                                        5      Q. When you asked Virginia to carry a baby for
 6      Q. You had sex with Virginia when she was           6   you, part of your proposal was for her to turn the
 7   16 years old, true?                                    7   baby over to the two of youth -- to the two of you at
 8          MR. PAGLIUCA: Object to form and                8   the end of the pregnancy, true?
 9      foundation.                                         9         MR. PAGLIUCA: Object to form and
10          THE WITNESS: Fifth.                            10      foundation.
11   BY MR. CASSELL:                                       11         THE WITNESS: Fifth.
12      Q. Maxwell had sex with Virginia when she was      12   BY MR. CASSELL:
13   16, true?                                             13      Q. In about June or July of 2001, you and
14          MR. PAGLIUCA: Object to form and               14   Maxwell took Virginia to a hospital in New York City
15      foundation.                                        15   because of a problem she was having with vaginal
16          THE WITNESS: Fifth.                            16   bleeding, true?
17   BY MR. CASSELL:                                       17         MR. PAGLIUCA: Object to form and
18      Q. Maxwell had sex with Virginia when she was      18      foundation.
19   17, true?                                             19         THE WITNESS: Fifth.
20          MR. PAGLIUCA: Object to form and               20   BY MR. CASSELL:
21      foundation.                                        21      Q. When you and Maxwell took Virginia to the
22          THE WITNESS: Fifth.                            22   hospital, the two of you lied to the hospital to make
23          MR. CASSELL: If I could just confer            23   her age 18 rather than 17, true?
24      with counsel for a moment.                         24         MR. PAGLIUCA: Object to form and
25          (A discussion was held off the record.)        25      foundation.
                                               Page 83                                                      Page 85
 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2          THE WITNESS: Fifth.
 3      Q. You have a sexual preference for having sex      3   BY MR. CASSELL:
 4   with girls between the ages of 12 to 17, true?         4       Q. You and Maxwell have had so-called
 5         MR. PAGLIUCA: Object to form and                 5   threesomes, i.e., sexual activity with three people
 6      foundation.                                         6   at the same time, with multiple girls who were under
 7         THE WITNESS: Fifth.                              7   the age of 18, true?
 8   BY MR. CASSELL:                                        8          MR. PAGLIUCA: Object to form and
 9      Q. Between 2000 and 2005, you sexually abused       9       foundation.
10   more than 100 girls under the age of 18 in Florida,   10          THE WITNESS: Fifth.
11   true?                                                 11   BY MR. CASSELL:
12         MR. PAGLIUCA: Object to form and                12       Q. Many of these threesomes occurred in
13      foundation.                                        13   Florida, true?
14         THE WITNESS: Fifth.                             14          MR. PAGLIUCA: Object to form and
15   BY MR. CASSELL:                                       15       foundation.
16      Q. Between 2000 and 2005, you also sexually        16          THE WITNESS: Fifth.
17   abused dozens of girls in other locations as well,    17   BY MR. CASSELL:
18   true?                                                 18       Q. You and Maxwell have also participated in
19         MR. PAGLIUCA: Objection to form and             19   sex orgies with Virginia, true?
20      foundation.                                        20          MR. PAGLIUCA: Objection to form and
21         THE WITNESS: Fifth.                             21       foundation.
22   BY MR. CASSELL:                                       22          THE WITNESS: Fifth.
23      Q. In about 2002, you and Maxwell asked            23   BY MR. CASSELL:
24   Virginia to carry a baby for the two of you, true?    24       Q. You and Maxwell participated in sex orgies
25         MR. PAGLIUCA: Object to form and                25   with Virginia while she was under the age of 18,




                                                                                     22 (Pages 82 to 85)
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                                               Page 86                                                     Page 88
 1           J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   true?                                                  2   BY MR. CASSELL:
 3         MR. PAGLIUCA: Object to form and                 3      Q. The reason Maxwell introduced Virginia to
 4      foundation.                                         4   you was so that you could have sex with Virginia,
 5         THE WITNESS: Fifth.                              5   true?
 6   BY MR. CASSELL:                                        6         MR. PAGLIUCA: Object to form and
 7      Q. You and Maxwell participated in sex orgies       7      foundation.
 8   with many other girls, true?                           8         THE WITNESS: Fifth.
 9         MR. PAGLIUCA: Object to form and                 9   BY MR. CASSELL:
10      foundation.                                        10      Q. In fact, on a number of occasions in 2000
11         THE WITNESS: Fifth.                             11   and 2001, both you and Maxwell simultaneously had sex
12         THE COURT REPORTER: Excuse me. Can we 12             with Virginia, true?
13      go off the record? I'm sorry.                      13         MR. PAGLIUCA: Object to form and
14         VIDEO TECHNICIAN: Off the record at             14      foundation.
15      9:39 a.m.                                          15         THE WITNESS: Fifth.
16         (A discussion was held off the record.)         16   BY MR. CASSELL:
17         VIDEO TECHNICIAN: On the record at              17      Q. Without going into detail, please describe
18      9:41.                                              18   the nature of the sex acts that you performed on
19   BY MR. CASSELL:                                       19   Virginia in 2000 and 2001?
20      Q. Sir, without regard to any conduct that you     20         MR. PAGLIUCA: Object to form and
21   may or may not have committed, what do you understand 21      foundation.
22   the word "orgy" to mean?                              22         THE WITNESS: Fifth.
23      A. Fifth.                                          23   BY MR. CASSELL:
24      Q. Sir, in the summer of 2000, you first met       24      Q. Without going into detail, please describe
25   Miss Virginia Giuffre in your Palm Beach mansion,     25   the nature of the sex acts that you observed Maxwell
                                               Page 87                                                     Page 89
 1            J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   true?                                                  2   perform on Virginia in 2000 and 2001.
 3          MR. PAGLIUCA: Object to form and                3          MR. PAGLIUCA: Object to form and
 4       foundation.                                        4       foundation.
 5          THE WITNESS: Fifth.                             5          THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                        6   BY MR. CASSELL:
 7       Q. Ms. Maxwell was the person who first            7       Q. In the fall of 2000, you and Maxwell
 8   introduced you to Virginia, true?                      8   trained Virginia on how to cater to the sexual
 9          MR. PAGLIUCA: Object to form and                9   desires of your male friends, true?
10       foundation.                                       10          MR. PAGLIUCA: Object to form and
11          THE WITNESS: Fifth.                            11       foundation.
12   BY MR. CASSELL:                                       12          THE WITNESS: Fifth.
13       Q. At the time, Virginia was just 16 years        13   BY MR. CASSELL:
14   old, true?                                            14       Q. And from 2000 through 2002, you forced
15          MR. PAGLIUCA: Object to form and               15   Virginia to interact sexually with many of your male
16       foundation.                                       16   friends, true?
17          THE WITNESS: Fifth.                            17          MR. PAGLIUCA: Object to form and
18   BY MR. CASSELL:                                       18       foundation.
19       Q. When you first met Miss Giuffre -- and I       19          THE WITNESS: Fifth.
20   guess I'll refer to as Virginia for the rest of these 20   BY MR. CASSELL:
21   questions -- her physical appearance to you was that 21        Q. From 2000 through 2001, you forced Virginia
22   she was only 16 years old, true?                      22   to sexually interact with Harvard Law Professor,
23          MR. PAGLIUCA: Object to form and               23   Alan Dershowitz?
24       foundation.                                       24          MR. PAGLIUCA: Object to form and
25          THE WITNESS: Fifth.                            25       foundation.




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                                                Page 90                                                     Page 92
 1             J. Epstein - Confidential                     1           J. Epstein - Confidential
 2           THE WITNESS: Fifth.                             2   true?
 3   BY MR. CASSELL:                                         3           MR. PAGLIUCA: Object to form and
 4       Q. It would be a fair statement to describe         4       foundation.
 5   Virginia's situation from the fall of 2000 through      5           THE WITNESS: Fifth.
 6   July 2001 as your sex slave, true?                      6   BY MR. CASSELL:
 7           MR. PAGLIUCA: Object to form and                7       Q. You relied on the Defendant in this case,
 8       foundation.                                         8   Ghislaine Maxwell, to keep Virginia available for to
 9           THE WITNESS: Fifth.                             9   you sexually abuse, true?
10   BY MR. CASSELL:                                        10           MR. PAGLIUCA: Object to form and
11       Q. You understand the term "sex slave," don't      11       foundation.
12   you, sir?                                              12           THE WITNESS: Are we finished with
13           MR. PAGLIUCA: Object to form and               13       this?
14       foundation.                                        14   BY MR. CASSELL:
15           THE WITNESS: Fifth.                            15       Q. Yes.
16   BY MR. CASSELL:                                        16           MR. CASSELL: Did we get an answer to
17       Q. Without to regard to any conduct that you       17       -- to that?
18   may or may not have committed, what does the term      18           MR. PAGLIUCA: Yes, you did. We did
19   "sex slave" mean to you?                               19       not?
20       A. Fifth.                                          20           MR. GOLDBERGER: Yes. I thought he
21           (Plaintiff's Exhibit JE2, Document with        21       said the Fifth.
22   titles of books was marked for identification.)        22   BY MR. CASSELL:
23   BY MR. CASSELL:                                        23       Q. Let me just re-ask the question, because
24       Q. I'm going to show you what I'll mark as         24   it's an important one.
25   JE2.                                                   25           Sir, you relayed on the Defendant in this
                                                Page 91                                                     Page 93
 1           J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      A. Are you finished with this?                       2   case, Ms. Maxwell, to keep Virginia available --
 3      Q. Yeah. We're through with that now.                3   available for you to sexually abuse, true?
 4         You recognize the books listed on this            4          MR. PAGLIUCA: Objection to the form
 5   document, don't you, sir?                               5      and foundation.
 6         MR. PAGLIUCA: Object to form and                  6          THE WITNESS: Fifth.
 7      foundation.                                          7   BY MR. CASSELL:
 8         THE WITNESS: Fifth.                               8      Q. What did Miss Maxwell do for you in the
 9   BY MR. CASSELL:                                         9   years 2001 and 2001?
10      Q. The first book listed here as being sold by      10          MR. PAGLIUCA: Object to form and
11   Amazon is "Slave Craft: Road Maps For Erotic           11      foundation.
12   Servitude, Principles, Skills, and Tools."             12          THE WITNESS: Fifth.
13         Do you see that, sir?                            13   BY MR. CASSELL:
14      A. Yes.                                             14      Q. Please briefly describe the nature of the
15      Q. That was a book you ordered, sir, true?          15   interactions you observed between the Defendant in
16         MR. PAGLIUCA: Object to form and                 16   this case, Ms. Maxwell, and the Plaintiff in this
17      foundation.                                         17   case, Ms. Virginia Roberts, from -- Miss Virginia
18         THE WITNESS: Fifth.                              18   Roberts Giuffre, from the fall of 2000 through the
19   BY MR. CASSELL:                                        19   summer of 2001.
20      Q. The second book listed here is "Training         20          MR. PAGLIUCA: Object to form and
21   With Ms. Abernathy. A Workbook For Erotic Slaves and   21      foundation.
22   Their Owners."                                         22          THE WITNESS: Fifth.
23         Do you see that there, sir?                      23   BY MR. CASSELL:
24      A. Yes.                                             24      Q. The reason you're taking the Fifth, with
25      Q. That was another book that you ordered,          25   regard to Maxwell's interactions, is that she was




                                                                                     24 (Pages 90 to 93)
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                                                 Page 94                                                      Page 96
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   involved in the sexual abuse of Virginia, true?          2   in your presence, true?
 3         MR. PAGLIUCA: Object to form and                   3         MR. PAGLIUCA: Object to form and
 4      foundation.                                           4      foundation.
 5         THE WITNESS: Fifth.                                5         THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                          6   BY MR. CASSELL:
 7      Q. Please describe the massage room upstairs          7      Q. You and Maxwell flew together with Virginia
 8   in your Palm Beach mansion.                              8   over 20 times when Virginia was under the age of 18,
 9         MR. PAGLIUCA: Object to form and                   9   true?
10      foundation.                                          10         MR. PAGLIUCA: Object to form and
11         THE WITNESS: Fifth.                               11      foundation.
12   BY MR. CASSELL:                                         12         THE WITNESS: Fifth.
13      Q. It's true, sir, that you do have a massage        13   BY MR. CASSELL:
14   room upstairs in your Palm Beach mansion, right?        14      Q. How many times did you and Maxwell fly
15         MR. PAGLIUCA: Object to form and                  15   together with Virginia before August of 2001?
16      foundation.                                          16         MR. PAGLIUCA: Object to form and
17         THE WITNESS: Fifth.                               17      foundation.
18   BY MR. CASSELL:                                         18         THE WITNESS: Fifth.
19      Q. What kinds of rooms do you have upstairs in       19   BY MR. CASSELL:
20   your Palm Beach mansion?                                20      Q. You and Maxwell trafficked Virginia while
21         MR. PAGLIUCA: Object to form and                  21   she was under the age of 17 to other men for sexual
22      foundation.                                          22   purposes, true?
23         THE WITNESS: Fifth.                               23         MR. PAGLIUCA: Object to form and
24   BY MR. CASSELL:                                         24      foundation.
25      Q. In that massage room, Maxwell kept a basket       25         THE WITNESS: Fifth.
                                                 Page 95                                                      Page 97
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   of sex toys, true?                                       2   BY MR. CASSELL:
 3          MR. PAGLIUCA: Object to form and                  3      Q. During the period of time 2000 to 2001, you
 4      foundation.                                           4   were having sex as many as three times a day, true?
 5          THE WITNESS: Fifth.                               5          MR. PAGLIUCA: Object to form and
 6   BY MR. CASSELL:                                          6      foundation.
 7      Q. And if we narrow the time frame down to the        7          THE WITNESS: Fifth.
 8   years 2000 and 2001, Maxwell had a basket of sex toys    8   BY MR. CASSELL:
 9   there, true?                                             9      Q. And during that time period, Maxwell was
10          MR. PAGLIUCA: Object to form and                 10   bringing girls to you to take the pressure off her to
11      foundation.                                          11   have that much sex, true?
12          THE WITNESS: Fifth.                              12          MR. PAGLIUCA: Object to form and
13   BY MR. CASSELL:                                         13      foundation.
14      Q. Maxwell used sex toys on Virginia in your         14          THE WITNESS: Fifth.
15   presence, true?                                         15   BY MR. CASSELL:
16          MR. PAGLIUCA: Object to form and                 16      Q. You and Maxwell asked girls under the age
17      foundation.                                          17   of 18 to bring other girls under the age of 18 to you
18          THE WITNESS: Fifth.                              18   for sexual purposes, true?
19   BY MR. CASSELL:                                         19          MR. PAGLIUCA: Objection to form and
20      Q. What is your understanding of the term "sex       20      foundation.
21   toy" without regard to any conduct that you may or      21          THE WITNESS: Fifth.
22   may not have committed in the past?                     22          Can I have some water?
23      A. Fifth.                                            23          MR. CASSELL: Uh-huh.
24      Q. Before August 2001, Maxwell forcibly              24   BY MR. CASSELL:
25   penetrated Virginia with an artificial penis or dildo   25      Q. Maxwell was in charge of coordinating the




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                                                 Page 98                                                     Page 100
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   girls who came to your house for sexual purposes,        2   metropolitan area?
 3   true?                                                    3          MR. PAGLIUCA: Object to form and
 4          MR. PAGLIUCA: Object to form and                  4       foundation.
 5       foundation.                                          5          THE WITNESS: Fifth.
 6          THE WITNESS: Fifth.                               6   BY MR. CASSELL:
 7   BY MR. CASSELL:                                          7       Q. On that trip you stayed in London at
 8       Q. Maxwell and your house staff used message         8   Maxwell's flat, true?
 9   pads to coordinate the schedule for the girls coming     9          MR. PAGLIUCA: Object to form and
10   over to your houses, true?                              10       foundation.
11          MR. PAGLIUCA: Object to form and                 11          THE WITNESS: Fifth.
12       foundation.                                         12   BY MR. CASSELL:
13          THE WITNESS: Fifth.                              13       Q. At that time, it would be a fair assessment
14   BY MR. CASSELL:                                         14   to say that Maxwell was your girlfriend, true?
15       Q. Maxwell often paid the girls who came over       15          MR. PAGLIUCA: Object to form and
16   to your house for sexual purposes, true?                16       foundation.
17          MR. PAGLIUCA: Object to form and                 17          THE WITNESS: Fifth.
18       foundation.                                         18   BY MR. CASSELL:
19          THE WITNESS: Fifth.                              19       Q. In March of 2001, who was your girlfriend?
20   BY MR. CASSELL:                                         20       A. Fifth.
21       Q. Who paid the girls who came over to your         21       Q. During that trip, in March of 2001,
22   house for sexual purposes?                              22   Maxwell, Virginia, and Prince Andrew, that is, the
23          MR. PAGLIUCA: Object to form and                 23   Duke of York, all met at night inside Maxwell's flat,
24       foundation.                                         24   true?
25          THE WITNESS: Fifth.                              25          MR. PAGLIUCA: Object to form and
                                                 Page 99                                                     Page 101
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2      foundation.
 3       Q. Maxwell used the prospect that girls could        3         THE WITNESS: Fifth.
 4   become models for Victoria's Secret to lure them over    4   BY MR. CASSELL:
 5   to your house, true?                                     5      Q. Did you meet Prince Andrew, the Duke of
 6          MR. PAGLIUCA: Object to form and                  6   York, in about March of 2001 in London?
 7       foundation.                                          7      A. Fifth.
 8          THE WITNESS: Fifth.                               8         MR. CASSELL: I guess we'll mark this
 9   BY MR. CASSELL:                                          9      as JE3.
10       Q. How did you lure girls over to your house        10         (Plaintiff's Exhibit JE3, Photograph
11   for sexual purposes?                                    11   depicting Prince Andrew, Maxwell, and Virginia was
12          MR. PAGLIUCA: Object to form and                 12   marked for identification.)
13       foundation.                                         13         MR. CASSELL: I've got copies for
14          THE WITNESS: Fifth.                              14      opposing counsel here.
15   BY MR. CASSELL:                                         15         MR. GOLDBERGER: Thank you.
16       Q. What techniques did you see Maxwell using        16   BY MR. CASSELL:
17   to lure girls over to your house for sexual purposes?   17      Q. Showing you what's been marked as JE3. Do
18          MR. PAGLIUCA: Object to form and                 18   you have that in front of you, sir?
19       foundation.                                         19      A. Yes.
20          THE WITNESS: Fifth.                              20      Q. Do you recognize that photograph?
21   BY MR. CASSELL:                                         21         MR. PAGLIUCA: Object to form and
22       Q. On or about March 9th, 2001, you, the            22      foundation.
23   Defendant in this case, Ms. Maxwell, Emmie Taylor,      23         THE WITNESS: Fifth.
24   and Virginia flew on your private jet from Tangiers     24   BY MR. CASSELL:
25   to Luton International Airport in the London, England   25      Q. Sir, this is a photograph depicting




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                                                Page 102                                                    Page 104
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   Prince Andrew, Maxwell, and Virginia all together,       2          MR. PAGLIUCA: Object to form and
 3   true?                                                    3      foundation.
 4          MR. PAGLIUCA: Object to form and                  4          THE WITNESS: Fifth.
 5      foundation.                                           5   BY MR. CASSELL:
 6          THE WITNESS: Fifth.                               6      Q. And based on your understanding of the
 7   BY MR. CASSELL:                                          7   circumstances surround the taking -- surrounding the
 8      Q. You took this photograph, right, sir?              8   taking of this photograph, Ms. Maxwell would have
 9          MR. PAGLIUCA: Object to form and                  9   immediately identified who was in this photograph and
10      foundation.                                          10   where it was taken, true?
11          THE WITNESS: Fifth.                              11          MR. PAGLIUCA: Object to form and
12   BY MR. CASSELL:                                         12      foundation.
13      Q. Who took this photograph?                         13          THE WITNESS: Could you repeat that
14      A. Fifth.                                            14      question? I'm sorry. Could you repeat that
15      Q. If you look at the person on the left, the        15      question?
16   male figure in the photograph, do you see that person   16   BY MR. CASSELL:
17   there?                                                  17      Q. And based on your understanding of the
18      A. Yes.                                              18   circumstances surrounding the taking of this
19      Q. That person has his arm around the bare           19   photograph, Ms. Maxwell would have immediately
20   midriff of a young girl, true?                          20   identified who was in this photograph, true?
21          MR. PAGLIUCA: Object to form and                 21          MR. PAGLIUCA: Same objection.
22      foundation.                                          22          THE WITNESS: Fifth.
23          THE WITNESS: Yes.                                23   BY MR. CASSELL:
24   BY MR. PAGLIUCA:                                        24      Q. And based on your understanding of the
25      Q. That's Prince Andrew's arm around the waist       25   circumstances surrounding the taking of this
                                                Page 103                                                    Page 105
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   of Virginia touching her bare midriff, true?             2   photograph, Ms. Maxwell would have immediately
 3          MR. PAGLIUCA: Object to form and                  3   identified where this photograph was taken, true?
 4       foundation.                                          4          MR. PAGLIUCA: Same objection.
 5          THE WITNESS: Fifth.                               5          THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                          6   BY MR. CASSELL:
 7       Q. The only persons inside of Maxwell's flat         7       Q. The only persons -- I think we may have
 8   at this time, in addition to you and Maxwell, were       8   already asked this. Let's see. Let me just ask this
 9   Virginia and Prince Andrew, true?                        9   to make sure.
10          MR. PAGLIUCA: Object to form and                 10          The only persons inside of Maxwell's flat
11       foundation.                                         11   at that time, in addition to you and Maxwell, were
12          THE WITNESS: Fifth.                              12   Virginia and Prince Andrew, true?
13   BY MR. CASSELL:                                         13          MR. PAGLIUCA: Form -- form and
14       Q. Where was this photograph taken?                 14       foundation. Asked and answered.
15          MR. PAGLIUCA: Object to foundation.              15          THE WITNESS: Fifth.
16          THE WITNESS: Fifth.                              16   BY MR. CASSELL:
17   BY MR. CASSELL:                                         17       Q. Prince Andrew's security detail remained
18       Q. This photograph was taken in Maxwell's flat      18   outside of Maxwell's flat when this photograph was
19   in London, true?                                        19   taken, true?
20          MR. PAGLIUCA: Object to form and                 20          MR. PAGLIUCA: Object to form and
21       foundation.                                         21       foundation.
22          THE WITNESS: Fifth.                              22          THE WITNESS: Fifth.
23   BY MR. CASSELL:                                         23   BY MR. CASSELL:
24       Q. You immediately recognized where this            24       Q. Shortly after this photograph was taken,
25   picture was taken, didn't you, sir?                     25   you and Maxwell both observed Prince Andrew and




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                                                Page 106                                                    Page 108
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   Virginia go into the room depicted in the back of the    2   all the circumstances surrounding this situation to
 3   photograph, true?                                        3   say that you forced Virginia to have sex with
 4          MR. PAGLIUCA: Object to form and                  4   Prince Andrew?
 5       foundation.                                          5          MR. PAGLIUCA: Object to form and
 6          THE WITNESS: Fifth.                               6       foundation.
 7   BY MR. CASSELL:                                          7          THE WITNESS: Fifth.
 8       Q. And in this photograph, you do see a room         8   BY MR. CASSELL:
 9   depicted in the back?                                    9       Q. What would have happened to Virginia if she
10       A. Fifth.                                           10   had refused to have sex with Prince Andrew?
11       Q. You're taking the Fifth about what is shown      11          MR. PAGLIUCA: Object to form and
12   in this photograph?                                     12       foundation.
13       A. I -- I can't see anything. I'm sorry.            13          THE WITNESS: Fifth.
14          MR. GOLDBERGER: Okay. So it's -- so              14   BY MR. CASSELL:
15       we're not -- we're not raising Fifth                15       Q. At the time Virginia retired to the bedroom
16       Amendment privilege.                                16   with Prince Andrew, Maxwell was in possession and
17          You cannot -- your answer is, you                17   control of Virginia's U.S. pass -- passport, true?
18       cannot see what Mr. Cassell is referring to?        18          MR. PAGLIUCA: Object to form and
19          THE WITNESS: Correct.                            19       foundation.
20          MR. GOLDBERGER: Okay.                            20          THE WITNESS: Fifth.
21   BY MR. CASSELL:                                         21   BY MR. CASSELL:
22       Q. Do you see a window depicted in this             22       Q. Who had Virginia's passport when she
23   photograph?                                             23   entered England?
24       A. I don't know what it is. I'm sorry.              24          MR. PAGLIUCA: Object to form and
25       Q. Do you see a white light reflecting off of       25       foundation.
                                                Page 107                                                    Page 109
 1             J. Epstein - Confidential                      1           J. Epstein - Confidential
 2   a blue surface in this photograph?                       2         THE WITNESS: Fifth.
 3       A. Yes.                                              3   BY MR. CASSELL:
 4       Q. Does that appear to you to be a window?           4      Q. After she was inside of English territory,
 5       A. Not necessarily, no.                              5   who main con- -- remained in control of her passport?
 6           MR. GOLDBERGER: Why don't you just               6         MR. PAGLIUCA: Object to form and
 7       assume arguendo that -- that that -- what --         7      foundation.
 8       what you're trying to have Mr. Epstein               8         THE WITNESS: Fifth.
 9       identify is a room, and then we can go on            9   BY MR. CASSELL:
10       from there.                                         10      Q. Virginia was 17 years old at this time,
11           MR. CASSELL: All right.                         11   true?
12   BY MR. CASSELL:                                         12      A. Fifth.
13       Q. That room is a bedroom in Ms. Maxwell's          13         MR. PAGLIUCA: Object to form and
14   flat, true?                                             14      foundation.
15           MR. PAGLIUCA: Object to the form and            15         THE WITNESS: Sorry. Fifth.
16       foundation.                                         16   BY MR. CASSELL:
17           THE WITNESS: Fifth.                             17      Q. It was your understanding that
18   BY MR. CASSELL:                                         18   Prince Andrew and Virginia was retiring to this
19       Q. You and Maxwell instructed Virginia to have      19   bedroom to have sex, true?
20   sex with Prince Andrew, true?                           20         MR. PAGLIUCA: Object to form and
21           MR. PAGLIUCA: Object to form and                21      foundation.
22       foundation.                                         22         THE WITNESS: Fifth.
23           THE WITNESS: Fifth.                             23   BY MR. CASSELL:
24   BY MR. CASSELL:                                         24      Q. What did you understand Virginia and
25       Q. In fact, it would be a fair assessment of        25   Prince Andrew to be doing that evening?




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                                               Page 110                                                    Page 112
 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to foundation.              2   BY MR. CASSELL:
 3          THE WITNESS: Fifth.                              3      Q. What, if anything, did you do with the
 4   BY MR. CASSELL:                                         4   information that Virginia gave you after you had
 5      Q. Shortly after Prince Andrew and Virginia          5   sex -- after she had sex with men?
 6   had sex, Virginia gave you a full report about the      6          MR. PAGLIUCA: Object to form and
 7   details of the sex, true?                               7      foundation.
 8          MR. PAGLIUCA: Object to form and                 8          THE WITNESS: Fifth.
 9      foundation.                                          9   BY MR. CASSELL:
10          THE WITNESS: Fifth.                             10      Q. Approximately the next day after this
11   BY MR. CASSELL:                                        11   photograph was taken, you made Virginia report to you
12      Q. Did Virginia tell you anything after this        12   in detail about Prince Andrew's sexual preferences,
13   photograph was taken about Prince Andrew?              13   true?
14          MR. PAGLIUCA: Object to foundation.             14          MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                             15      foundation.
16   BY MR. CASSELL:                                        16          THE WITNESS: Fifth.
17      Q. Did Prince Andrew tell you anything about        17   BY MR. CASSELL:
18   what he had done with Virginia in the room?            18      Q. What, if anything, do you know about
19          MR. PAGLIUCA: Object to form and                19   Prince Andrew's sexual preferences?
20      foundation.                                         20          MR. PAGLIUCA: Object to foundation.
21          THE WITNESS: Fifth.                             21          THE WITNESS: Fifth.
22   BY MR. CASSELL:                                        22   BY MR. CASSELL:
23      Q. Isn't it true, sir, that Prince Andrew           23      Q. We can go into the details if this would
24   thanked you for making Virginia available to him for   24   help refresh your memory, but isn't it true that
25   sexual purposes?                                       25   Virginia recounted specific behavior that
                                               Page 111                                                    Page 113
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and                  2   Prince Andrew requested before sexual intercourse?
 3      foundation.                                          3          MR. PAGLIUCA: Object to form and
 4         THE WITNESS: Fifth.                               4      foundation.
 5   BY MR. CASSELL:                                         5          THE WITNESS: Fifth.
 6      Q. You had previously instructed Virginia that       6   BY MR. CASSELL:
 7   she had to give you a full report on the details of     7      Q. The reason you asked for a detailed review
 8   what men like Prince Andrew did to her so that you      8   of Prince Andrew's sexual activities was so that you
 9   would have blackmail material you could use, true?      9   would have blackmail information about him, true?
10         MR. PAGLIUCA: Object to form and                 10          MR. PAGLIUCA: Object to form. Asked
11      foundation.                                         11      and answered.
12         THE WITNESS: Fifth.                              12          THE WITNESS: Fifth.
13   BY MR. CASSELL:                                        13   BY MR. CASSELL:
14      Q. What instructions, if any, had you given to      14      Q. Why did you ask for a detailed review of
15   Virginia about what she should say after she had sex   15   Prince Andrew's sexual activities?
16   with men?                                              16          MR. PAGLIUCA: Object to form and
17         MR. PAGLIUCA: Object to foundation.              17      foundation.
18         THE WITNESS: Fifth.                              18          THE WITNESS: Fifth.
19   BY MR. CASSELL:                                        19   BY MR. CASSELL:
20      Q. What did you do with the information that        20      Q. You had previously told Virginia it was
21   Virginia gave you after she had sex with men?          21   part of her job to give you detailed information
22         MR. PAGLIUCA: Object to form and                 22   about the men that you and Maxwell forced her to have
23      foundation.                                         23   sex with, true?
24         THE WITNESS: Fifth.                              24          MR. PAGLIUCA: Object to form and
25                                                          25      foundation.




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 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2         THE WITNESS: Fifth.
 3   BY MR. CASSELL:                                          3   BY MR. CASSELL:
 4      Q. When Virginia had sex with men that you            4      Q. In 2000, Virginia was approached by
 5   forced upon her, what was her job?                       5   Maxwell, true?
 6          MR. PAGLIUCA: Object to form and                  6         MR. PAGLIUCA: Object to form and
 7      foundation.                                           7      foundation.
 8          THE WITNESS: Fifth.                               8         THE WITNESS: Fifth.
 9   BY MR. CASSELL:                                          9   BY MR. CASSELL:
10      Q. What would have happened to Virginia if she       10      Q. Maxwell was one of the main women whom you
11   had refused your request to have sex with men?          11   used to procure underage girls for sexual activities,
12          MR. PAGLIUCA: Objection to form and              12   true?
13      foundation.                                          13         MR. PAGLIUCA: Object to form and
14          THE WITNESS: Fifth.                              14      foundation.
15   BY MR. CASSELL:                                         15         THE WITNESS: Fifth.
16      Q. Isn't it true, sir, that you would have           16   BY MR. CASSELL:
17   threatened Virginia and, in fact, potentially harmed    17      Q. It was your understanding that Maxwell met
18   her if she refused to have sex with the men you         18   Virginia at the Mar-a-Lago Club in Palm Beach in
19   provided to her?                                        19   2000, true?
20          MR. PAGLIUCA: Object to form and                 20         MR. PAGLIUCA: Object to form and
21      foundation.                                          21      foundation.
22          THE WITNESS: Fifth.                              22         THE WITNESS: Fifth.
23   BY MR. CASSELL:                                         23   BY MR. CASSELL:
24      Q. What kind of threats did you make against         24      Q. In 2000, you were a member of the
25   Virginia when she was with you?                         25   Mar-a-Lago Club, true?
                                               Page 115                                                     Page 117
 1            J. Epstein - Confidential                       1           J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                  2         MR. PAGLIUCA: Object to form.
 3      foundation.                                           3         THE WITNESS: Fifth.
 4          THE WITNESS: Fifth.                               4   BY MR. CASSELL:
 5   BY MR. CASSELL:                                          5      Q. In 2000, Ms. Maxwell had access to the
 6      Q. Please describe all the threats you have           6   Mar-a-Lago Club, true?
 7   ever made against Virginia.                              7         MR. PAGLIUCA: Object to form and
 8          MR. PAGLIUCA: Object to form and                  8      foundation.
 9      foundation.                                           9         THE WITNESS: Fifth.
10          THE WITNESS: Fifth.                              10   BY MR. CASSELL:
11   BY MR. CASSELL:                                         11      Q. The reason Maxwell had access to the
12      Q. Have you every made threats against               12   Mar-a-Lago Club in 2000 was because of your
13   Virginia?                                               13   connections to the club, true?
14      A. Fifth.                                            14         MR. PAGLIUCA: Object to form and
15      Q. At one point you told Virginia that you           15      foundation.
16   needed detailed sexual information from the men she     16         THE WITNESS: Fifth.
17   had sex with so those men would owe you favors, true?   17   BY MR. CASSELL:
18          MR. PAGLIUCA: Object to form and                 18      Q. Maxwell was a primary co-conspirator in
19      foundation?                                          19   your sexual abuse scheme, true?
20          THE WITNESS: Fifth.                              20         MR. PAGLIUCA: Object to form and
21   BY MR. CASSELL:                                         21      foundation.
22      Q. When you provided Virginia to men to have         22         THE WITNESS: Fifth.
23   sex, they then did owe you favors, true?                23   BY MR. CASSELL:
24          MR. PAGLIUCA: Object to form and                 24      Q. Maxwell was a primary co-conspirator in
25      foundation.                                          25   your sex trafficking scheme, true?




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                                                Page 118                                                   Page 120
 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                 2   BY MR. CASSELL:
 3      foundation.                                          3       Q. Has Maxwell ever made any threats against
 4          THE WITNESS: Fifth.                              4   other girls that you interacted with?
 5   BY MR. CASSELL:                                         5          MR. PAGLIUCA: Object to form and
 6      Q. Maxwell herself regularly participated in         6       foundation.
 7   your sexual exploitation of minors, true?               7          THE WITNESS: Fifth.
 8          MR. PAGLIUCA: Object to form and                 8   BY MR. CASSELL:
 9      found.                                               9       Q. It's true, sir, that Maxwell has made
10          THE WITNESS: Fifth.                             10   threats against other girls with whom you've
11   BY MR. CASSELL:                                        11   interacted?
12      Q. In 2000, Maxwell herself regularly               12          MR. PAGLIUCA: Object to form and
13   participated in your sexual exploitation of minors,    13       foundation.
14   true?                                                  14          THE WITNESS: Fifth.
15          MR. PAGLIUCA: Object to form and                15   BY MR. CASSELL:
16      foundation.                                         16       Q. Has Maxwell ever told girls that they
17          THE WITNESS: Fifth.                             17   should keep quiet about the sexual activities you
18   BY MR. CASSELL:                                        18   have had with them?
19      Q. Maxwell herself regularly participated in        19          MR. PAGLIUCA: Object to form and
20   your sexual exploitation of Virginia, true?            20       foundation.
21          MR. PAGLIUCA: Object to form and                21          THE WITNESS: Fifth.
22      foundation.                                         22   BY MR. CASSELL:
23          THE WITNESS: Fifth.                             23       Q. It's true, sir, Maxwell has made threats
24   BY MR. CASSELL:                                        24   against girls to tell them or force -- sorry. Let me
25      Q. Did Maxwell participate in your sexual           25   to start over.
                                                Page 119                                                   Page 121
 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   exploitation of Virginia?                               2         It's true, sir, that Maxwell has told girls
 3         MR. PAGLIUCA: Object to foundation.               3   they should keep quiet about the sexual activities
 4         THE WITNESS: Fifth.                               4   you had with them, right?
 5         Can we take a break so I can stand up?            5         MR. PAGLIUCA: Object to form and
 6         MR. CASSELL: Sure.                                6      foundation.
 7         VIDEO TECHNICIAN: Off the record at               7         THE WITNESS: Fifth.
 8      10:01.                                               8   BY MR. CASSELL:
 9         (A recess was taken.)                             9      Q. Has Maxwell ever told girls they should
10         VIDEO TECHNICIAN: This is the                    10   keep quiet about the sexual activities she had with
11      beginning of disc two. On the record at             11   them?
12      10:08.                                              12         MR. PAGLIUCA: Object to form and
13   BY MR. CASSELL:                                        13      foundation.
14      Q. Has Maxwell ever made any threats against        14         THE WITNESS: Fifth.
15   Virginia?                                              15   BY MR. CASSELL:
16         MR. PAGLIUCA: Object to form and                 16      Q. It's true, sir, that Maxwell had told girls
17      foundation.                                         17   they should keep quiet about the sexual activity she
18         THE WITNESS: Fifth.                              18   had with them, right?
19   BY MR. CASSELL:                                        19         MR. PAGLIUCA: Object to form and
20      Q. It's true, sir, that Maxwell has threatened      20      foundation.
21   Virginia, right?                                       21         THE WITNESS: Fifth.
22         MR. PAGLIUCA: Object to form and                 22   BY MR. CASSELL:
23      foundation.                                         23      Q. What, if anything, did Maxwell tell
24         THE WITNESS: Fifth.                              24   Virginia would happen to her if she refused your
25                                                          25   demands to have sex?




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 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and                  2          THE WITNESS: Fifth.
 3      foundation.                                          3   BY MR. CASSELL:
 4         THE WITNESS: Fifth.                               4       Q. After you first sexually abused Virginia,
 5   BY MR. CASSELL:                                         5   you became enamored with her, true?
 6      Q. Isn't it true, sir, that Maxwell threatened       6          MR. PAGLIUCA: Object to form and
 7   Virginia if she refused to have sex with you?           7       foundation.
 8         MR. PAGLIUCA: Object to form and                  8          THE WITNESS: Fifth.
 9      foundation.                                          9   BY MR. CASSELL:
10         THE WITNESS: Fifth.                              10       Q. How did you feel about Virginia after you
11   BY MR. CASSELL:                                        11   first met her?
12      Q. Maxwell regularly participated in your           12          MR. PAGLIUCA: Object to form and
13   sexual exploitation of Virginia, true?                 13       foundation.
14         MR. PAGLIUCA: Object to form and                 14          THE WITNESS: Fifth.
15      foundation.                                         15   BY MR. CASSELL:
16         THE WITNESS: Fifth.                              16       Q. With the assistance of Maxwell, you
17   BY MR. CASSELL:                                        17   converted Virginia into what is commonly referred to
18      Q. Maxwell persuaded Virginia to come to your       18   as a sex slave, true?
19   mansion in 2000, true?                                 19          MR. PAGLIUCA: Object to form and
20         MR. PAGLIUCA: Object to form and                 20       foundation.
21      foundation.                                         21          THE WITNESS: Fifth.
22         THE WITNESS: Fifth.                              22   BY MR. CASSELL:
23   BY MR. CASSELL:                                        23       Q. When you interacted with Virginia in 2000
24      Q. Virginia was 16 years old when Maxwell           24   and 2001, what were you doing with her?
25   persuaded her to come to your mansion, true?           25          MR. PAGLIUCA: Object to form and
                                               Page 123                                                    Page 125
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and                  2      foundation.
 3      foundation.                                          3         THE WITNESS: Fifth.
 4         THE WITNESS: Fifth.                               4   BY MR. CASSELL:
 5   BY MR. CASSELL:                                         5      Q. You sexually exploited Virginia from the
 6      Q. The fashion in which Maxwell persuaded            6   summer of 2000 through about September 2002, true?
 7   Virginia to come to your mansion was similar to the     7         MR. PAGLIUCA: Object to form and
 8   manner in which you coerced dozens of other children    8      foundation.
 9   to come to your mansion, true?                          9         THE WITNESS: Fifth.
10         MR. PAGLIUCA: Object to form and                 10   BY MR. CASSELL:
11      foundation.                                         11      Q. In 2002, Virginia managed to escape to a
12         THE WITNESS: Fifth.                              12   foreign country and hide from you, true?
13   BY MR. CASSELL:                                        13         MR. PAGLIUCA: Object to form and
14      Q. When Virginia be- -- sorry.                      14      foundation.
15         When Virginia began giving you a massage,        15         THE WITNESS: Fifth.
16   you and Maxwell turned it into a sexual encounter,     16   BY MR. CASSELL:
17   true?                                                  17      Q. In 2002, when Virginia escaped, she was
18         MR. PAGLIUCA: Object to form and                 18   also hiding from Maxwell, true?
19      foundation.                                         19         MR. PAGLIUCA: Object to form and
20         THE WITNESS: Fifth.                              20      foundation.
21   BY MR. CASSELL:                                        21         THE WITNESS: Fifth.
22      Q. You had done the same thing with many other      22   BY MR. CASSELL:
23   victims, true?                                         23      Q. Why would Virginia have wanted to hide from
24         MR. PAGLIUCA: Object to form and                 24   you in 2002?
25      foundation.                                         25         MR. PAGLIUCA: Object to form and




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      foundation.                                           2          MR. PAGLIUCA: Object to form and
 3         THE WITNESS: Fifth.                                3      foundation.
 4   BY MR. CASSELL:                                          4          THE WITNESS: Fifth.
 5      Q. Virginia was hiding from you because she           5   BY MR. CASSELL:
 6   was afraid of you, true?                                 6      Q. Maxwell sexually abused Virginia in places
 7         MR. PAGLIUCA: Object to form and                   7   other than the ones I just mentioned, true?
 8      foundation.                                           8          MR. PAGLIUCA: Object to form and
 9         THE WITNESS: Fifth.                                9      foundation.
10   BY MR. CASSELL:                                         10          THE WITNESS: Fifth.
11      Q. Virginia was hiding from Maxwell because          11   BY MR. CASSELL:
12   she was afraid of Maxwell, true?                        12      Q. Please list all the places that you had sex
13         MR. PAGLIUCA: Object to form and                  13   with Virginia.
14      foundation.                                          14          MR. PAGLIUCA: Object to form and
15         THE WITNESS: Fifth.                               15      foundation.
16   BY MR. CASSELL:                                         16          THE WITNESS: Fifth.
17      Q. From 2000 through 2002, you and Maxwell           17   BY MR. CASSELL:
18   sexually abused Virginia in Palm Beach, Florida,        18      Q. Please list all the places where, to your
19   true?                                                   19   knowledge, Maxwell had sex with Virginia.
20         MR. PAGLIUCA: Object to form and                  20          MR. PAGLIUCA: Object to form and
21      foundation.                                          21      foundation.
22         THE WITNESS: Fifth.                               22          THE WITNESS: Fifth.
23   BY MR. CASSELL:                                         23   BY MR. CASSELL:
24      Q. From 2000 through 2002, you and Maxwell           24      Q. You and Maxwell sexually trafficked
25   sexually abused Virginia in New York City, true?        25   Virginia by forcing her to have sex with politically
                                               Page 127                                                     Page 129
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and                   2   connected and financially powerful people, true?
 3      foundation.                                           3         MR. PAGLIUCA: Object to form and
 4         THE WITNESS: Fifth.                                4      foundation.
 5   BY MR. CASSELL:                                          5         THE WITNESS: Fifth.
 6      Q. From 2000 through 2002, you and Maxwell --         6   BY MR. CASSELL:
 7   Maxwell sexually abused Virginia in New Mexico, true?    7      Q. Your purpose in sending Virginia to such
 8         MR. PAGLIUCA: Object to form and                   8   powerful people was to ingratiate yourself with them,
 9      foundation.                                           9   true?
10         THE WITNESS: Fifth.                               10         MR. PAGLIUCA: Object to form and
11   BY MR. CASSELL:                                         11      foundation.
12      Q. From 2000 through 2002, you and Maxwell           12         THE WITNESS: Fifth.
13   sexually abused Virginia in the U.S. Virgin Islands?    13   BY MR. CASSELL:
14         MR. PAGLIUCA: Object to form and                  14      Q. Maxwell's purpose in sending Virginia to
15      foundation.                                          15   such powerful people was to ingratiate herself with
16         THE WITNESS: Fifth.                               16   them, true?
17   BY MR. CASSELL:                                         17         MR. PAGLIUCA: Object to form and
18      Q. From 2000 through 2002, you and Maxwell           18      foundation.
19   sexually abused Virginia on your private jet?           19         THE WITNESS: Fifth.
20         MR. PAGLIUCA: Object to form and                  20   BY MR. CASSELL:
21      foundation.                                          21      Q. The reason you and Maxwell were sending
22         THE WITNESS: Fifth.                               22   Virginia to these powerful people was for business,
23   BY MR. CASSELL:                                         23   personal, political, and financial gain, true?
24      Q. You abused Virginia other places than the         24         MR. PAGLIUCA: Object to form and
25   ones I've just mentioned, true?                         25      foundation.




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 1            J. Epstein - Confidential                    1             J. Epstein - Confidential
 2         THE WITNESS: Fifth.                             2    was former -- former Harvard Law Professor,
 3   BY MR. CASSELL:                                       3    Alan Dershowitz, true?
 4      Q. Another reason was to gain potential            4          MR. PAGLIUCA: Object to form and
 5   blackmail information, true?                          5       foundation.
 6         MR. PAGLIUCA: Object to form and                6          THE WITNESS: Fifth.
 7      foundation.                                        7    BY MR. CASSELL:
 8         THE WITNESS: Fifth.                             8       Q. You and Maxwell required Virginia to have
 9   BY MR. CASSELL:                                       9    sexual relations with Dershowitz on numerous
10      Q. Maxwell was fully involved in sending          10    occasions while she was a minor, true?
11   Virginia to various powerful people for sexual       11          MR. PAGLIUCA: Object to form and
12   purposes, true?                                      12       foundation.
13         MR. PAGLIUCA: Object to form and               13          THE WITNESS: Fifth.
14      foundation.                                       14    BY MR. CASSELL:
15         THE WITNESS: Fifth.                            15       Q. You and Maxwell forced Virginia to have
16   BY MR. CASSELL:                                      16    sexual relations with Dershowitz in Florida,
17      Q. And Maxwell was hoping to obtain blackmail     17    New York, New Mexico, and the U.S. Virgin Islands,
18   information as well, true?                           18    among other places, true?
19         MR. PAGLIUCA: Object to form and               19          MR. PAGLIUCA: Object to form and
20      foundation.                                       20       foundation.
21         THE WITNESS: Fifth.                            21          THE WITNESS: Fifth.
22   BY MR. CASSELL:                                      22    BY MR. CASSELL:
23      Q. You observed Maxwell sexually abuse            23       Q. Please list all the places where you forced
24   Virginia in 2000, true?                              24    Virginia to have sexual relations with Dershowitz.
25         MR. PAGLIUCA: Object to form and               25          MR. PAGLIUCA: Object to form and
                                              Page 131                                                    Page 133
 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2      foundation.                                         2       foundation.
 3         THE WITNESS: Fifth.                              3          THE WITNESS: Fifth.
 4   BY MR. CASSELL:                                        4   BY MR. CASSELL:
 5      Q. You observed Maxwell sexually abuse              5       Q. In addition to being a participant in the
 6   Virginia in 2001?                                      6   abuse of Virginia and other minors, Dershowitz was an
 7         MR. PAGLIUCA: Object to form and                 7   eyewitness to the sexual abuse of many other minor
 8      foundation.                                         8   girls by you and Maxwell, true?
 9         THE WITNESS: Fifth.                              9          MR. PAGLIUCA: Object to form and
10   BY MR. CASSELL:                                       10       foundation.
11      Q. How many times have you observed Maxwell        11          THE WITNESS: Fifth.
12   sexually abuse Virginia?                              12   BY MR. CASSELL:
13         MR. PAGLIUCA: Object to form and                13       Q. Dershowitz was an eyewitness to the sexual
14      foundation.                                        14   abuse of many other minors by you, true?
15         THE WITNESS: Fifth.                             15          MR. PAGLIUCA: Object to form and
16                                                         16       foundation.
17   BY MR. CASSELL:                                       17          THE WITNESS: Fifth.
18      Q. How many times have you observed Maxwell 18          BY MR. CASSELL:
19   have any form of sexual interaction with Virginia?    19       Q. One way to describe Maxwell's role for you
20         MR. PAGLIUCA: Object to form and                20   was as a madam, true?
21      foundation.                                        21          MR. PAGLIUCA: Object to form and
22         THE WITNESS: Fifth.                             22       foundation.
23   BY MR. CASSELL:                                       23          THE WITNESS: Fifth.
24      Q. One powerful individual that you and            24   BY MR. CASSELL:
25   Maxwell forced Virginia to have sexual relations with 25       Q. You've heard the term "madam" used in




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 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   reference to someone who is a procurer of women or      2         THE WITNESS: Fifth.
 3   other girls for sex, right?                             3   BY MR. CASSELL:
 4         MR. PAGLIUCA: Object to form and                  4      Q. Maxwell had sex with Virginia in the U.S.
 5      foundation.                                          5   Virgin Islands, New Mexico, New York, France, and
 6         THE WITNESS: Fifth.                               6   many other locations, true?
 7   BY MR. CASSELL:                                         7         MR. PAGLIUCA: Object to form and
 8      Q. What was Maxwell's role for you in 2000 and       8      foundation.
 9   2001?                                                   9         THE WITNESS: Fifth.
10         MR. PAGLIUCA: Object to form and                 10   BY MR. CASSELL:
11      foundation.                                         11      Q. From 2000 through 2005, what kinds of
12         THE WITNESS: Fifth.                              12   pictures did you have in your Florida mansion?
13   BY MR. CASSELL:                                        13      A. Fifth.
14      Q. What was Maxwell's role with you in 2005?        14      Q. From 2000 through 2005, what kind of
15         MR. PAGLIUCA: Object to form and                 15   pictures did you have in your New York City mansion?
16      foundation.                                         16      A. Fifth.
17         THE WITNESS: Fifth.                              17      Q. From 2000 to 2005, what kinds of pictures
18   BY MR. CASSELL:                                        18   did you have in the U.S. Virgin Islands' residence?
19      Q. Using the term "madam" as I had previously       19      A. Fifth.
20   defined it, wouldn't it be fair to say Maxwell was a   20      Q. Maxwell took sexually explicit pictures of
21   madam for you in 2000?                                 21   many underage girls, true?
22         MR. PAGLIUCA: Object to form and                 22         MR. PAGLIUCA: Object to form and
23      foundation.                                         23      foundation.
24         THE WITNESS: Fifth.                              24         THE WITNESS: Fifth.
25                                                          25
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 1           J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2   BY MR. CASSELL:
 3      Q. Wouldn't it fair to say that she was an           3      Q. What kinds of pictures have you seen
 4   madam for you in 2001?                                  4   Maxwell take?
 5         MR. PAGLIUCA: Object to form and                  5          MR. PAGLIUCA: Object to foundation.
 6      foundation.                                          6          THE WITNESS: Fifth.
 7         THE WITNESS: Fifth.                               7   BY MR. CASSELL:
 8   BY MR. CASSELL:                                         8      Q. Have you ever seen Maxwell take pictures of
 9      Q. Wouldn't it be fair to say that she was a         9   girls under the age of 18?
10   madam for you in 2006?                                 10          MR. PAGLIUCA: Object to form and
11         MR. PAGLIUCA: Object to form and                 11      foundation.
12      foundation.                                         12          THE WITNESS: Fifth.
13         THE WITNESS: Fifth.                              13   BY MR. CASSELL:
14   BY MR. CASSELL:                                        14      Q. It's true, sir, that you've seen Maxwell
15      Q. It would be fair to say that Maxwell             15   take many picture of girls under the age of 18, true?
16   assumed -- assumed a position of trust for the girls   16          MR. PAGLIUCA: Object to form and
17   whom you sexually abused, including Virginia, true?    17      foundation.
18         MR. PAGLIUCA: Object to form and                 18          THE WITNESS: Fifth.
19      foundation.                                         19   BY MR. CASSELL:
20         THE WITNESS: Fifth.                              20      Q. In fact, you displayed pictures of naked
21   BY MR. CASSELL:                                        21   girls throughout your home in Florida, true?
22      Q. You know that Maxwell had sex with dozens        22          MR. PAGLIUCA: Object to form and
23   of underage girls, true?                               23      foundation.
24         MR. PAGLIUCA: Object to form and                 24          THE WITNESS: Fifth.
25      foundation.                                         25




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 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2          MR. PAGLIUCA: Object to form and
 3       Q. In fact, you displayed pictures of naked          3      foundation.
 4   girls throughout your home in New York, true?            4          THE WITNESS: Fifth.
 5          MR. PAGLIUCA: Object to form and                  5   BY MR. CASSELL:
 6       foundation.                                          6      Q. Please describe all the pictures of girls
 7          THE WITNESS: Fifth.                               7   that you've seen Maxwell take.
 8   BY MR. CASSELL:                                          8          MR. PAGLIUCA: Object to form and
 9       Q. In fact, you displayed pictures of naked          9      foundation.
10   girls throughout your home in the U.S. Virgin           10          THE WITNESS: Fifth.
11   Islands, true?                                          11   BY MR. CASSELL:
12          MR. PAGLIUCA: Object to form and                 12      Q. Now, you have interacted with Maxwell in
13       foundation.                                         13   England many times, true?
14          THE WITNESS: Fifth.                              14          MR. PAGLIUCA: Object to form and
15   BY MR. CASSELL:                                         15      foundation.
16       Q. In fact, you displayed pictures of naked         16          THE WITNESS: Fifth.
17   girls throughout your home in New Mexico, true?         17   BY MR. CASSELL:
18          MR. PAGLIUCA: Object to form and                 18      Q. I want you to understand that the next
19       foundation.                                         19   series of questions we'll be dealing just with your
20          THE WITNESS: Fifth.                              20   actions in England, not with any of your actions in
21   BY MR. CASSELL:                                         21   the United States.
22       Q. Tell me about all the circumstances in           22          Will you understand that with regard to my
23   which you've seen Maxwell providing cameras to          23   next questions?
24   people.                                                 24      A. Yes.
25          MR. PAGLIUCA: Object to form and                 25      Q. While you were in England, you directed
                                               Page 139                                                     Page 141
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2      foundation.                                           2   Maxwell to bring English females under the age of 18
 3           THE WITNESS: Fifth.                              3   to you for sexual purposes, true?
 4   BY MR. CASSELL:                                          4         MR. PAGLIUCA: Object to form and
 5      Q. You had Maxwell provide cameras to underage        5      foundation.
 6   girls, true?                                             6         THE WITNESS: Fifth.
 7           MR. PAGLIUCA: Object to form and                 7   BY MR. CASSELL:
 8      foundation.                                           8      Q. While in England, in Miss Maxwell's private
 9           THE WITNESS: Fifth.                              9   residence, you observed Maxwell in the presence of
10   BY MR. CASSELL:                                         10   English females under the age of 18, true?
11      Q. Your purpose in having Maxwell provide            11         MR. PAGLIUCA: Object to form and
12   cameras to underage girls was to have them take         12      foundation.
13   sexually explicit pictures of themselves, true?         13         THE WITNESS: Fifth.
14           MR. PAGLIUCA: Object to form and                14   BY MR. CASSELL:
15      foundation.                                          15      Q. While in England, Ms. Maxwell brought you
16           THE WITNESS: Fifth.                             16   English females to satisfy your sexual purposes,
17   BY MR. CASSELL:                                         17   true?
18      Q. Have you ever seen Maxwell take a sexually        18         MR. PAGLIUCA: Object to form and
19   explicit picture of an underage girl?                   19      foundation.
20           MR. PAGLIUCA: Object to form and                20         THE WITNESS: Fifth.
21      foundation.                                          21   BY MR. CASSELL:
22           THE WITNESS: Fifth.                             22      Q. How young were the English girls that
23   BY MR. CASSELL:                                         23   Maxwell brought to you?
24      Q. You and Maxwell viewed together sexually          24         MR. PAGLIUCA: Object to form and
25   explicit pictures of girls under the age of 18, true?   25      foundation.




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 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                              2         THE WITNESS: Fifth.
 3   BY MR. CASSELL:                                         3   BY MR. CASSELL:
 4      Q. Please describe how many times you have           4      Q. Please describe for me all the crimes you
 5   seen Maxwell in private locations with girls under      5   have seen Maxwell commit in England.
 6   the age of 18 in England.                               6         MR. PAGLIUCA: Object to form and
 7          MR. PAGLIUCA: Object to form and                 7      foundation.
 8      foundation.                                          8         THE WITNESS: Fifth.
 9          THE WITNESS: Fifth.                              9   BY MR. CASSELL:
10   BY MR. CASSELL:                                        10      Q. While in England, you instructed Maxwell to
11      Q. You recognize the name Alexandra Dickson,        11   go to public places to solicit English girls to have
12   don't you, sir?                                        12   sex with you in England in exchange for compensation,
13          MR. PAGLIUCA: Object to form and                13   true?
14      foundation.                                         14         MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                             15      foundation.
16   BY MR. CASSELL:                                        16         THE WITNESS: Fifth.
17      Q. Alexandra Dickson was an English girl            17   BY MR. CASSELL:
18   recruited by Maxwell for your sexual purposes, true?   18      Q. What instructions did you give to Maxwell
19          MR. PAGLIUCA: Object to form and                19   in England about what she should do for you?
20      foundation.                                         20         MR. PAGLIUCA: Object to form and
21          THE WITNESS: Fifth.                             21      foundation.
22   BY MR. CASSELL:                                        22         THE WITNESS: Fifth.
23      Q. Tell me how you came to meet Alexandra           23   BY MR. CASSELL:
24   Dickson in England.                                    24      Q. Please describe Maxwell's interactions in
25      A. Fifth.                                           25   England with females under the age of 18.
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 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2       Q. When you met Alexandra Dickson, she was          2          MR. PAGLIUCA: Object to form and
 3   under the age of 18, true?                              3      foundation.
 4          MR. PAGLIUCA: Object to form and                 4          THE WITNESS: Fifth.
 5       foundation.                                         5   BY MR. CASSELL:
 6          THE WITNESS: Fifth.                              6      Q. Please describe Maxwell's interactions in
 7   BY MR. CASSELL:                                         7   England with e-mails under the age of 18 with whom
 8       Q. How old was Alexandra Dickson when you           8   you had sex.
 9   first met her?                                          9          MR. PAGLIUCA: Object to form and
10          MR. PAGLIUCA: Object to form and                10      foundation.
11       foundation.                                        11          THE WITNESS: Fifth.
12          THE WITNESS: Fifth.                             12   BY MR. CASSELL:
13   BY MR. CASSELL:                                        13      Q. You have yourself solicited in public
14       Q. Based on your understanding of English          14   places English girls under the age of 18 to have sex
15   criminal law, you have observed Maxwell commit         15   with you in exchange for compensation, true?
16   English criminal offenses of a sexual nature in        16          MR. PAGLIUCA: Object to form and
17   England, true?                                         17      foundation.
18          MR. PAGLIUCA: Object to form and                18          THE WITNESS: Fifth.
19       foundation.                                        19   BY MR. CASSELL:
20          THE WITNESS: Fifth.                             20      Q. And just so I'm clear, you have, in
21   BY MR. CASSELL:                                        21   England, yourself, solicited in public places English
22       Q. Have you ever observed Maxwell commit a         22   girls under the age of 18 to have sex with you in
23   crime in England?                                      23   exchange for compensation, true?
24          MR. PAGLIUCA: Object to form and                24          MR. PAGLIUCA: Object to form and
25       foundation.                                        25      foundation.




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2   BY MR. CASSELL:
 3   BY MR. CASSELL:                                          3       Q. Who is the person you interacted with most
 4      Q. Please describe your interaction with              4   in the year 2000?
 5   females under the age of 18 in England.                  5       A. Fifth.
 6          MR. PAGLIUCA: Object to form and                  6       Q. Who was the person you interacted most in
 7      foundation.                                           7   the year -- let me rephrase.
 8          THE WITNESS: Fifth.                               8          Who is the person that you interacted with
 9   BY MR. CASSELL:                                          9   the most in 2001?
10      Q. Please describe your interactions with            10       A. Fifth.
11   females under the age of 18 with whom you have had      11       Q. Who is the person that you interacted the
12   sex in England.                                         12   most with in 2002?
13          MR. PAGLIUCA: Object to form and                 13       A. Fifth.
14      foundation.                                          14       Q. Isn't it true, sir, that the person you
15          THE WITNESS: Fifth.                              15   interacted with most in the year 2000 was Maxwell?
16   BY MR. CASSELL:                                         16          MR. PAGLIUCA: Object to form and
17      Q. You have had sex with females under the age       17       foundation.
18   of 18 in England in exchange for compensation, true?    18          THE WITNESS: Fifth.
19          MR. PAGLIUCA: Object to form and                 19   BY MR. CASSELL:
20      foundation.                                          20       Q. Isn't it true the person you interacted
21          THE WITNESS: Fifth.                              21   with most in the year 2001 was Maxwell?
22   BY MR. CASSELL:                                         22          MR. PAGLIUCA: Object to form and
23      Q. Based on your understanding of English            23       foundation.
24   criminal law, you have committed domestic English sex   24          THE WITNESS: Fifth.
25   offenses in England, true?                              25
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 1            J. Epstein - Confidential                       1           J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                  2   BY MR. CASSELL:
 3       foundation.                                          3      Q. Who did you interact the most with in the
 4          THE WITNESS: Fifth.                               4   year 2005?
 5   BY MR. CASSELL:                                          5      A. Fifth.
 6       Q. Without going into any acts you have com-         6      Q. Isn't it true, sir, that you interacted the
 7   -- may have committed, what is your understanding of     7   most with Maxwell in the year 2005?
 8   English criminal law regarding soliciting sex?           8         MR. PAGLIUCA: Object to form and
 9          MR. PAGLIUCA: Object to foundation.               9      foundation.
10          THE WITNESS: Fifth.                              10         THE WITNESS: Fifth.
11   BY MR. CASSELL:                                         11   BY MR. CASSELL:
12       Q. During the time period 2000 to 2002,             12      Q. Who was responsible for the day-to-day
13   Maxwell and you lived together for significant parts    13   operation of your Florida mansion in 2000 to 2002?
14   of those years, true?                                   14         MR. PAGLIUCA: Object to form and
15          MR. PAGLIUCA: Object to form and                 15      foundation. Asked and answered.
16       foundation.                                         16         THE WITNESS: Fifth.
17          THE WITNESS: Fifth.                              17   BY MR. CASSELL:
18   BY MR. CASSELL:                                         18      Q. Isn't it true Maxwell was responsible for
19       Q. During the time period 2000 to 2002,             19   much of the day-to-day operation of your Florida
20   Maxwell was responsible for much of the day-to-day      20   mansion in 2000 to 2002?
21   operation of your Florida mansion, true?                21         MR. PAGLIUCA: Object to form and
22          MR. PAGLIUCA: Object to form and                 22      foundation. Asked and answered.
23       foundation.                                         23         THE WITNESS: Fifth.
24          THE WITNESS: Fifth.                              24   BY MR. CASSELL:
25                                                           25      Q. During the time period 2000 to 2002, you




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 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   were sexually -- sexually intimate with Maxwell,         2   BY MR. CASSELL:
 3   true?                                                    3       Q. You instructed Maxwell, then -- when she
 4          MR. PAGLIUCA: Object to form and                  4   was recruiting girls for you, she could bring you
 5      foundation.                                           5   girls of any race except for African Americans, true?
 6          THE WITNESS: Fifth.                               6          MR. PAGLIUCA: Object to form and
 7   BY MR. CASSELL:                                          7       foundation.
 8      Q. You have remained on friendly terms with           8          THE WITNESS: Fifth.
 9   Maxwell even through today, true?                        9   BY MR. CASSELL:
10          MR. PAGLIUCA: Object to form and                 10       Q. Have you ever discussed the age of underage
11      foundation.                                          11   -- I'm sorry.
12          THE WITNESS: Fifth.                              12          Have you ever discussed the race of
13   BY MR. CASSELL:                                         13   underage girls with Maxwell?
14      Q. How would you describe your relationship          14          MR. PAGLIUCA: Object to form and
15   today with Maxwell?                                     15       foundation.
16      A. Fifth.                                            16          THE WITNESS: Fifth.
17      Q. In the period 2000 to 2002, you directed          17   BY MR. CASSELL:
18   Maxwell to recruit girls under the age of 18 for you    18       Q. Why is it that you instructed Maxwell not
19   to use for sexual purposes, true?                       19   to bring you African American girls?
20          MR. PAGLIUCA: Object to form and                 20          MR. PAGLIUCA: Object to form and
21      foundation.                                          21       foundation.
22          THE WITNESS: Fifth.                              22          THE WITNESS: Fifth.
23   BY MR. CASSELL:                                         23   BY MR. CASSELL:
24      Q. How did you get the girls that you sexually       24       Q. I'm now going to ask you a question --
25   abused in 2001 to 2002?                                 25   series of questions about overseas locations, and I
                                               Page 151                                                     Page 153
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                  2   want you to understand that each of these questions
 3       foundation.                                          3   is asking solely about your activities in these
 4          THE WITNESS: Fifth.                               4   overseas locations, and it's not in any way asking
 5   BY MR. CASSELL:                                          5   for any information about actions that you may or may
 6       Q. The directions you gave Maxwell for               6   not have committed in the United States.
 7   recruiting girls for you was something to the effect     7          Will you understand that with regard to
 8   of the younger the better, true?                         8   these next questions?
 9          MR. PAGLIUCA: Object to form and                  9       A. Yes.
10       foundation.                                         10       Q. You have an apartment in Paris, France,
11          THE WITNESS: Fifth.                              11   true?
12   BY MR. CASSELL:                                         12       A. Fifth.
13       Q. Have you ever used the phrase "The younger       13       Q. Maxwell has frequently been to your
14   the better" in the presence of Maxwell?                 14   apartment in Paris, France, true?
15          MR. PAGLIUCA: Object to form and                 15          MR. PAGLIUCA: Object to form and
16       foundation.                                         16       foundation.
17          THE WITNESS: Fifth.                              17          THE WITNESS: Fifth.
18   BY MR. CASSELL:                                         18   BY MR. CASSELL:
19       Q. It's true, sir, that you've used the phrase      19       Q. Please list all the places in the world
20   "The younger the better" in the presence of Maxwell,    20   where you have an apartment.
21   right?                                                  21       A. Fifth.
22          MR. PAGLIUCA: Object to form and                 22       Q. While Maxwell has been at your apartment in
23       foundation.                                         23   Paris, France, you have had numerous girls under the
24          THE WITNESS: Fifth.                              24   age of 18 in your presence, true?
25                                                           25          MR. PAGLIUCA: Object to form and




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      foundation.                                           2         MR. PAGLIUCA: Object to form and
 3          THE WITNESS: Fifth.                               3      foundation.
 4   BY MR. CASSELL:                                          4         THE WITNESS: Fifth.
 5      Q. While she was with you in Paris, Maxwell           5   BY MR. CASSELL:
 6   recruited French girls under the age of 18 for to you    6      Q. While in Thailand, Maxwell brought you
 7   sex with, true?                                          7   females under the age of 18, true?
 8          MR. PAGLIUCA: Object to form and                  8         MR. PAGLIUCA: Object to form and
 9      foundation.                                           9      foundation.
10          THE WITNESS: Fifth.                              10         THE WITNESS: Fifth.
11   BY MR. CASSELL:                                         11   BY MR. CASSELL:
12      Q. Please describe all of your interactions          12      Q. Without going into any acts that you may or
13   with underage girls -- I'm sorry.                       13   may not have committed, what is your understanding of
14          Please describe all of your interactions         14   Thai criminal law regarding sex with girls under the
15   with girls under the age of 18 in France.               15   age of 18?
16      A. Fifth.                                            16         MR. PAGLIUCA: Object to form and
17      Q. My next series of questions, again, are           17      foundation.
18   only asking for your activities in the foreign          18         THE WITNESS: Fifth.
19   country in question, and that will be Thailand.         19   BY MR. CASSELL:
20          Will you understand that with regard to my       20      Q. Have you ever had sex with a Thai female
21   next questions?                                         21   under the age of 18 in Thailand?
22      A. Yes.                                              22         MR. PAGLIUCA: Object to form and
23      Q. You have been to Thailand, true?                  23      foundation.
24      A. Fifth.                                            24         THE WITNESS: Fifth.
25      Q. Have you ever been to Thailand?                   25
                                                Page 155                                                     Page 157
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2      A. Fifth.                                             2   BY MR. CASSELL:
 3      Q. When you went to Thailand, Maxwell                 3       Q. Have you ever had sex with anyone in
 4   accompanied you, true?                                   4   Thailand?
 5          MR. PAGLIUCA: Object to form and                  5          MR. PAGLIUCA: Object to form and
 6      foundation.                                           6       foundation.
 7          THE WITNESS: Fifth.                               7          THE WITNESS: Fifth.
 8   BY MR. CASSELL:                                          8   BY MR. CASSELL:
 9      Q. When you went to Thailand, who went with           9       Q. Please describe all the sexual activities
10   you?                                                    10   you had in Thailand.
11      A. Fifth.                                            11       A. Fifth.
12      Q. You saw Maxwell in the presence of Thai           12       Q. My next series of questions are with regard
13   females under the age of 18 in Thailand, true?          13   to the country of Brunei, and I want you to
14          MR. PAGLIUCA: Object to form and                 14   understand that these questions deal solely with your
15      foundation.                                          15   activities in Brunei. All right?
16          THE WITNESS: Fifth.                              16       A. Yes.
17   BY MR. CASSELL:                                         17       Q. In 2002, you flew to Brunei with Maxwell on
18      Q. Describe what you did with Maxwell in             18   your private jet, true?
19   Thailand.                                               19          MR. PAGLIUCA: Object to form and
20          MR. PAGLIUCA: Object to foundation.              20       foundation.
21          THE WITNESS: Fifth.                              21          THE WITNESS: Fifth.
22   BY MR. CASSELL:                                         22   BY MR. CASSELL:
23      Q. While in Thailand, you directed Maxwell to        23       Q. Have you ever been to Brunei?
24   recruit Thai females under the age of 18 for your       24       A. Fifth.
25   sexual purposes solely in Thailand, true?               25       Q. Have you ever been to Brunei with Maxwell?




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 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                 2         MR. PAGLIUCA: Object to form and
 3      foundation.                                          3      foundation.
 4          THE WITNESS: Fifth.                              4         THE WITNESS: Fifth.
 5   BY MR. CASSELL:                                         5   BY MR. CASSELL:
 6      Q. You have had sex with girls from Brunei           6      Q. Please tell me about your sexual abuse in
 7   under the age of 18 in Brunei?                          7   the Czech Republic of Czech's -- Czech girls under
 8          MR. PAGLIUCA: Object to form and                 8   the age of 18.
 9      foundation.                                          9         MR. PAGLIUCA: Object to form and
10          THE WITNESS: Fifth.                             10      foundation.
11   BY MR. CASSELL:                                        11         THE WITNESS: Fifth.
12      Q. Please describe all the sex that you've          12   BY MR. CASSELL:
13   that in Brunei.                                        13      Q. Have you ever had sex in the Czech
14          MR. PAGLIUCA: Object to form and                14   Republic?
15      foundation.                                         15         MR. PAGLIUCA: Object to form and
16          THE WITNESS: Fifth.                             16      foundation.
17   BY MR. CASSELL:                                        17         THE WITNESS: Fifth.
18      Q. Maxwell helped you find girls from Brunei        18   BY MR. CASSELL:
19   for you to have sex with in Brunei, true?              19      Q. Please tell me who you've had sex with in
20          MR. PAGLIUCA: Object to form and                20   the Czech Republic.
21      foundation.                                         21         MR. PAGLIUCA: Object to form and
22          THE WITNESS: Fifth.                             22      foundation.
23   BY MR. CASSELL:                                        23         THE WITNESS: Fifth.
24      Q. What did Maxwell do in Brunei with you?          24   BY MR. CASSELL:
25          MR. PAGLIUCA: Object to form and                25      Q. Please tell me about Maxwell's involvement
                                              Page 159                                                   Page 161
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2      foundation.                                          2   in your sexual abuse of Czech girls in the Czech
 3          THE WITNESS: Fifth.                              3   Republic.
 4   BY MR. CASSELL:                                         4         MR. PAGLIUCA: Object to form and
 5      Q. Are you aware of inter- -- interaction by         5      foundation.
 6   Maxwell with women in Brunei?                           6         THE WITNESS: Fifth.
 7          MR. PAGLIUCA: Object to form and                 7   BY MR. CASSELL:
 8      foundation.                                          8      Q. Maxwell has been to the Czech Republic with
 9          THE WITNESS: Fifth.                              9   you?
10   BY MR. CASSELL:                                        10         MR. PAGLIUCA: Object to form and
11      Q. Are you aware of any interaction by Maxwell      11      foundation.
12   with girls under the age of 18 in Brunei?              12         THE WITNESS: Fifth.
13          MR. PAGLIUCA: Object to form and                13   BY MR. CASSELL:
14      foundation.                                         14      Q. When you went to the Czech Republic, who
15          THE WITNESS: Fifth.                             15   did you meet?
16   BY MR. CASSELL:                                        16         MR. PAGLIUCA: Object to form and
17      Q. Please describe all the interactions you         17      foundation.
18   saw between Maxwell and girls from Brunei in Brunei.   18         THE WITNESS: Fifth.
19      A. Fifth.                                           19   BY MR. CASSELL:
20      Q. My next questions deal solely with your          20      Q. Was Maxwell ever with you when you were in
21   activities in the Czech Republic.                      21   the presence of girls under the age of 18 in the
22          Have you ever been to the Czech Republic?       22   Czech Republic?
23      A. Fifth.                                           23         MR. PAGLIUCA: Object to form and
24      Q. Have you ever been to the Czech Republic         24      foundation.
25   with Maxwell?                                          25         THE WITNESS: Fifth.




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                                                Page 162                                                    Page 164
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2         THE WITNESS: Fifth.
 3      Q. It's true, sir, that Maxwell was with you          3   BY MR. CASSELL:
 4   when you were in the presence of girls under the age     4      Q. Based on your understanding of the criminal
 5   of 18 in the Czech Republic, right?                      5   laws of other countries, has Maxwell ever committed a
 6          MR. PAGLIUCA: Object to form and                  6   crime of a sexual nature in another country?
 7      foundation.                                           7         MR. PAGLIUCA: Object to form and
 8          THE WITNESS: Fifth.                               8      foundation.
 9   BY MR. CASSELL:                                          9         THE WITNESS: Fifth.
10      Q. Please name all of the countries, not             10   BY MR. CASSELL:
11   including the United States, where you have seen        11      Q. Please describe all the crimes of a sexual
12   Maxwell in the presence of females who lived in those   12   nature that you understand Maxwell has committed
13   countries under the age of 18.                          13   foreign countries.
14          MR. PAGLIUCA: Object to form and                 14         MR. PAGLIUCA: Object to form and
15      foundation.                                          15      foundation.
16          THE WITNESS: Fifth.                              16         THE WITNESS: Fifth.
17   BY MR. CASSELL:                                         17   BY MR. CASSELL:
18      Q. Please describe for me Maxwell's sexual           18      Q. You are a multimillionaire, true, sir?
19   interactions with females under the age of 18 in        19      A. Fifth.
20   foreign countries with citizens of those countries.     20      Q. How much are you worth today?
21          MR. PAGLIUCA: Object to form and                 21      A. Fifth.
22      foundation.                                          22      Q. It would not be financially burdensome for
23          THE WITNESS: Fifth.                              23   you to hire someone to help collect any documents
24   BY MR. CASSELL:                                         24   that might be needed in this case, would it?
25      Q. Has Maxwell ever interacted with females          25      A. Fifth.
                                                Page 163                                                    Page 165
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   under the age of 18 in foreign countries?                2      Q. You have millions and millions of dollars
 3          MR. PAGLIUCA: Object to form and                  3   available to your disposal to satisfy any need for
 4      foundation.                                           4   assistance in responding to discovery in this case,
 5          THE WITNESS: Fifth.                               5   true?
 6   BY MR. CASSELL:                                          6      A. Fifth.
 7      Q. Has Maxwell ever interacted with minor             7      Q. You have legions -- well, let me strike
 8   girls from the former country known as                   8   that.
 9   Czechoslovakia?                                          9          How many lawyers do you have working on
10          MR. PAGLIUCA: Object to form and                 10   this case for you?
11      foundation.                                          11      A. Fifth.
12          THE WITNESS: Fifth.                              12      Q. It's true that you have multiple lawyers
13   BY MR. CASSELL:                                         13   assisting you on this case, true?
14      Q. Based on your understanding of the criminal       14      A. Fifth.
15   laws of other foreign countries, have you ever          15      Q. How much are you paying your lawyers to
16   committed a crime of a sexual nature in another         16   assist you on this case?
17   foreign country?                                        17      A. Fifth.
18          MR. PAGLIUCA: Object to form and                 18          MR. GOLDBERGER: And attorney-client
19      foundation.                                          19      privilege.
20          THE WITNESS: Fifth.                              20   BY MR. CASSELL:
21   BY MR. CASSELL:                                         21      Q. You and Maxwell became what could be
22      Q. Please describe all the crimes of a sexual        22   reasonably described as boyfriend and girlfriend in
23   nature that you have committed in foreign countries.    23   about the mid 1990s, true?
24          MR. PAGLIUCA: Object to form and                 24          MR. PAGLIUCA: Object to form and
25      foundation.                                          25      foundation. Asked and answered.




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                                              Page 166                                                    Page 168
 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                             2      foundation.
 3   BY MR. CASSELL:                                        3         THE WITNESS: Fifth.
 4      Q. Since you became boyfriend and girlfriend,       4   BY MR. CASSELL:
 5   you have given Maxwell significants amount --          5      Q. Please describe any funding you provided
 6   significant amounts of money, true?                    6   for Maxwell's charities.
 7          MR. PAGLIUCA: Object to form and                7         MR. PAGLIUCA: Object to form and
 8      foundation.                                         8      foundation.
 9          THE WITNESS: Fifth. Let's take a                9         THE WITNESS: Fifth.
10      break.                                             10   BY MR. CASSELL:
11          VIDEO TECHNICIAN: Off the record at            11      Q. Since 1996, you've provided significant
12      10:34.                                             12   funding for Maxwell's charities, true?
13          (A recess was taken.)                          13         MR. PAGLIUCA: Object to form and
14          VIDEO TECHNICIAN: On the record at             14      foundation.
15      10:44.                                             15         THE WITNESS: Fifth.
16   BY MR. CASSELL:                                       16   BY MR. CASSELL:
17      Q. How much money have you given Maxwell since     17      Q. Have you ever given Maxwell access to any
18   1996?                                                 18   of your credit cards or bank accounts?
19          MR. PAGLIUCA: Object to form and               19         MR. PAGLIUCA: Object to form and
20      foundation.                                        20      foundation.
21          THE WITNESS: Fifth.                            21         THE WITNESS: Fifth.
22   BY MR. CASSELL:                                       22   BY MR. CASSELL:
23      Q. Since 1996, you have given Maxwell              23      Q. Since 1996, you've given Maxwell access to
24   significants -- significant amounts of money, true?   24   some of your credit card and bank accounts, true?
25          MR. PAGLIUCA: Object to form and               25         MR. PAGLIUCA: Object to form and
                                              Page 167                                                    Page 169
 1             J. Epstein - Confidential                    1          J. Epstein - Confidential
 2       foundation.                                        2     foundation.
 3          THE WITNESS: Fifth.                             3        THE WITNESS: Fifth.
 4   BY MR. CASSELL:                                        4
 5       Q. For long periods of time since 1996, you        5   BY MR. CASSELL:
 6   have paid Maxwell's living expenses, true?             6      Q. How did Maxwell buy her town home in
 7          MR. PAGLIUCA: Object to form and                7   New York?
 8       foundation.                                        8         MR. PAGLIUCA: Object to form and
 9          THE WITNESS: Fifth.                             9      foundation.
10   BY MR. CASSELL:                                       10         THE WITNESS: Fifth.
11       Q. What do you know about the payment of          11   BY MR. CASSELL:
12   Maxwell's living expenses since 1996?                 12      Q. You bought Maxwell a town home in New York,
13          MR. PAGLIUCA: Object to form and               13   true?
14       foundation.                                       14         MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                            15      foundation.
16   BY MR. CASSELL:                                       16         THE WITNESS: Fifth.
17       Q. Please describe all the gifts you provided     17   BY MR. CASSELL:
18   for Maxwell.                                          18      Q. What reason were you -- what reason did you
19          MR. PAGLIUCA: Object to form and               19   have for giving Maxwell gifts?
20       foundation.                                       20         MR. PAGLIUCA: Object to form and
21          THE WITNESS: Fifth.                            21      foundation.
22   BY MR. CASSELL:                                       22         THE WITNESS: Fifth.
23       Q. Since 1996, you have purchased expensive       23   BY MR. CASSELL:
24   gifts for Maxwell, true?                              24      Q. One of the reasons you gave Maxwell gifts
25          MR. PAGLIUCA: Object to form and               25   was so -- so that she would continue recruiting girls




                                                                                 43 (Pages 166 to 169)
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                                                Page 170                                                    Page 172
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   for you for sex, true?                                   2   BY MR. CASSELL:
 3         MR. PAGLIUCA: Object to form and                   3      Q. Directly or indirectly you're paying for
 4      foundation.                                           4   Maxwell's attorneys now, true?
 5         THE WITNESS: Fifth.                                5         MR. PAGLIUCA: Object to form and
 6   BY MR. CASSELL:                                          6      foundation.
 7      Q. Directly or indirectly, you gave Maxwell           7         THE WITNESS: Fifth.
 8   money to hire a paid image consultant named Ross Gow,    8   BY MR. CASSELL:
 9   true?                                                    9      Q. Since January 1st, 2015, what things of
10         MR. PAGLIUCA: Object to form and                  10   value or money have you transferred to Maxwell?
11      foundation.                                          11         MR. PAGLIUCA: Object to form and
12         THE WITNESS: Fifth.                               12      foundation.
13   BY MR. CASSELL:                                         13         THE WITNESS: Fifth.
14      Q. What do you know about an image consultant        14   BY MR. CASSELL:
15   in England named Ross Gow?                              15      Q. You have told various people that you own
16         MR. PAGLIUCA: Object to form and                  16   the Palm Beach Police Department, true?
17      foundation.                                          17         MR. PAGLIUCA: Object to form and
18         THE WITNESS: Fifth.                               18      foundation.
19   BY MR. CASSELL:                                         19         THE WITNESS: Fifth.
20      Q. You gave Maxwell money to hire a lawyer           20   BY MR. CASSELL:
21   named Phil Bard in England, true?                       21      Q. In the period 1999 to 2005, what kind of
22         MR. PAGLIUCA: Object to form and                  22   donations did you make to the Palm Beach Police
23      foundation.                                          23   Department or to any organization associated with the
24         THE WITNESS: Fifth.                               24   Palm Beach Police Department?
25   BY MR. CASSELL:                                         25      A. Fifth.
                                                Page 171                                                    Page 173
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2      Q. Please tell me everything you know about a         2       Q. Have you ever made donations to any
 3   lawyer named Phil Bard in England.                       3   organizations associated with the Palm Beach Police
 4          MR. PAGLIUCA: Object to form and                  4   Department?
 5      foundation.                                           5       A. Fifth.
 6          THE WITNESS: Fifth.                               6       Q. Have you ever used money to influence the
 7   BY MR. CASSELL:                                          7   testimony of a witness in a legal proceeding?
 8      Q. Have you ever transferred a significant            8          MR. PAGLIUCA: Object to form and
 9   amount of money to Maxwell in the last several years?    9       foundation.
10          MR. PAGLIUCA: Object to form and                 10          THE WITNESS: Fifth.
11      foundation.                                          11          (Plaintiff's Exhibit JE4, E-mail that
12          THE WITNESS: Fifth.                              12   Jeffrey Epstein sent to Maxwell on January 12th, 2015
13   BY MR. CASSELL:                                         13   was marked for identification.)
14      Q. Within the last several years, you                14   BY MR. CASSELL:
15   transferred $500,000 to Maxwell, true?                  15       Q. Let me show you what's been marked as JE4,
16          MR. PAGLIUCA: Object to form and                 16   I think, we're up to, and copies for opposing
17      foundation.                                          17   counsel.
18          THE WITNESS: Fifth.                              18          Do you have that document in front of you,
19   BY MR. CASSELL:                                         19   sir?
20      Q. Tell me what you know about who is paying         20       A. Yes.
21   for Maxwell's attorneys now.                            21       Q. Do you recognize this document?
22          MR. PAGLIUCA: Object to form and                 22       A. Fifth.
23      foundation.                                          23       Q. This is, in fact, an e-mail that you sent
24          THE WITNESS: Fifth.                              24   to Maxwell on January 12th, 2015, true?
25                                                           25       A. Fifth.




                                                                                   44 (Pages 170 to 173)
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                                               Page 174                                                     Page 176
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2       Q. What is this document?                           2   would be difficult for Virginia to find support for
 3       A. Fifth.                                           3   her testimony?
 4       Q. The first few words in this e-mail are,          4          MR. PAGLIUCA: Object to form and
 5   "You can issue a reward to any of Virginia's            5      foundation.
 6   friends" -- and it appears to be acquaintances,         6          THE WITNESS: Fifth.
 7   although there's a spelling issue.                      7   BY MR. CASSELL:
 8          Do you see that -- those first few words?        8      Q. Please describe all dinners you've ever had
 9       A. Yes.                                             9   with Bill Clinton.
10       Q. When you referred to "a reward" in this         10      A. Fifth.
11   e-mail, you were referring to cash payments, true?     11      Q. Please describe all dinners you and Maxwell
12          MR. PAGLIUCA: Object to form and                12   have ever had with Bill Clinton.
13       foundation.                                        13      A. Fifth.
14          THE WITNESS: Fifth.                             14      Q. Please describe all dinners you, Maxwell,
15   BY MR. CASSELL:                                        15   and Virginia have had together with Bill Clinton.
16       Q. What did you mean by the term "reward" in       16          MR. PAGLIUCA: Object to form and
17   this e-mail?                                           17      foundation.
18       A. Fifth.                                          18          THE WITNESS: Fifth.
19       Q. In the e-mail you said that "The strongest      19   BY MR. CASSELL:
20   is the Clinton dinner."                                20      Q. You have helped Maxwell feed information to
21          Do you see that reference in this e-mail?       21   the media to try to undercut Virginia's credibility,
22   It's on the second line.                               22   true?
23       A. Yes.                                            23          MR. PAGLIUCA: Object to form and
24       Q. What did you mean by the term "strongest"       24      foundation.
25   in this?                                               25          THE WITNESS: Fifth.
                                               Page 175                                                     Page 177
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2           MR. GOLDBERGER: Let me go back and              2   BY MR. CASSELL:
 3       clarify.                                            3      Q. Please describe all steps you've taken to
 4           The question was, do -- do you -- not           4   assist Maxwell in getting information to the media
 5       that he said it, but do you see this?               5   about the circumstances surrounding this case.
 6           MR. CASSELL: That's right. No, I'm              6          MR. PAGLIUCA: Object to form and
 7       not trying to pull a fast one here. Yeah.           7      foundation.
 8           MR. GOLDBERGER: Okay.                           8          THE WITNESS: Fifth.
 9           MR. CASSELL: I just want to circle in on        9   BY MR. CASSELL:
10          that word "strongest." And now I want to        10      Q. You helped Maxwell obtain information about
11       ask you a question that does call for his          11   a Florida police report that Virginia made of a rape,
12       knowledge.                                         12   true?
13   BY MR. CASSELL:                                        13          MR. PAGLIUCA: Object to form and
14       Q. What did you mean by the term "strongest"       14      foundation.
15   in this e-mail?                                        15          THE WITNESS: Fifth.
16       A. Fifth.                                          16   BY MR. CASSELL:
17       Q. Isn't it true, sir, that by the term            17      Q. How did you obtain a copy of a police
18   "strongest," you meant that you had taken steps to     18   report involving sexual assault on a minor,
19   conceal the presence of Bill Clinton on your island?   19   specifically Virginia?
20           MR. PAGLIUCA: Object to form and               20          MR. PAGLIUCA: Object to form and
21       foundation.                                        21      foundation.
22           THE WITNESS: Fifth.                            22          THE WITNESS: Fifth.
23   BY MR. CASSELL:                                        23   BY MR. CASSELL:
24       Q. Isn't it true, sir, that part of what you       24      Q. It's true, sir, that you did obtain a copy
25   meant by the term "strongest" is that you knew it      25   of a police report involving a sexual assault on




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                                               Page 178                                                     Page 180
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   Virginia, true?                                          2   the last two years.
 3          MR. PAGLIUCA: Object to form and                  3       A. Fifth.
 4      foundation.                                           4       Q. How do you travel overseas?
 5          THE WITNESS: Fifth.                               5       A. Fifth.
 6   BY MR. CASSELL:                                          6          Do you want this?
 7      Q. Have you ever helped Maxwell leak any              7          (Plaintiff's Composite Exhibit JE5, E-mail
 8   reports to the media?                                    8   Jeffrey Epstein received from Ms. Maxwell on about
 9          MR. PAGLIUCA: Object to form and                  9   July 18th, 2009 was marked for identification.)
10      foundation.                                          10   BY MR. CASSELL:
11          THE WITNESS: Fifth.                              11       Q. Thanks. Thank you.
12   BY MR. CASSELL:                                         12          I'm going to direct your attention now to
13      Q. You helped Maxwell leak a report about a          13   an exhibit, which I'll mark JE5. It's a composite
14   sexual assault committed against Virginia when she      14   exhibit. I'm just looking at the first page of this
15   was a minor to the media, true?                         15   composite exhibit right now.
16          MR. PAGLIUCA: Object to form and                 16          Do you see JE5, also known as Maxwell 14,
17      foundation.                                          17   in front of you, sir?
18          THE WITNESS: Fifth.                              18       A. Yes.
19   BY MR. CASSELL:                                         19       Q. This is an e-mail you received from
20      Q. You have been evading service of process          20   Ms. Maxwell on about July 18th, 2009, true?
21   the last few months, true, sir?                         21       A. Fifth.
22          MR. PAGLIUCA: Object to form and                 22       Q. There's an e-mail address
23      foundation.                                          23   Do you see that e-mail on this document?
24          THE WITNESS: Fifth.                              24       A. Yes.
25                                                           25       Q. You understand that to be an e-mail that
                                               Page 179                                                     Page 181
 1              J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   belonged to Ms. Maxwell, true?
 3       Q. If we wanted to serve you with legal              3      A. Fifth.
 4   process in the future, what would be the simplest way    4      Q. You see on this document an e-mail address
 5   to do that?                                              5   known as jeevacation@Gmail.com? Do you see that
 6           MR. PAGLIUCA: Object to form and                 6   notation?
 7       foundation.                                          7      A. Yes.
 8           THE WITNESS: Fifth.                              8      Q. That's your e-mail address, true?
 9   BY MR. CASSELL:                                          9      A. Fifth.
10       Q. Are you willing to have your attorney            10      Q. Ms. Maxwell wrote to you, "How old was
11   accept service of process on your behalf for future     11   Virginia in 1998 when she claims she started working
12   proceedings in this case?                               12   for you?"
13       A. Fifth.                                           13          Isn't that true?
14       Q. If Miss Giuffre required your testimony at       14      A. I'm sorry. What's the question?
15   trial in this case, would you be willing to appear      15          MR. PAGLIUCA: Did you see that or --
16   voluntarily?                                            16          THE WITNESS: Do I see that or which --
17       A. Fifth.                                           17      I see it.
18       Q. If you are not willing to appear                 18   BY MR. CASSELL:
19   voluntarily at the upcoming trial, how can we serve     19      Q. Yeah. You see it.
20   you with process to appear?                             20          Isn't that true that's a sentence that
21       A. Fifth.                                           21   Ms. Maxwell wrote to you, at least that's your
22       Q. When was the last time you traveled              22   understanding?
23   overseas?                                               23      A. Fifth.
24       A. Fifth.                                           24      Q. When you received that e-mail from
25       Q. Please describe all your overseas travel in      25   Ms. Maxwell, it's your understanding that Ms. Maxwell




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                                             Page 182                                                  Page 184
 1            J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   was using the term "Virginia" to refer to Virginia    2      attorney-client privilege to the extent
 3   Roberts Giuffre, right?                               3      Mr. Epstein's knowledge of the lawsuit or
 4          MR. PAGLIUCA: Object to form and               4      the date of the lawsuit emanates from the
 5       foundation.                                       5      attorney-client communication.
 6          THE WITNESS: Fifth.                            6          MR. GOLDBERGER: Did you not get that?
 7   BY MR. CASSELL:                                       7          THE COURT REPORTER: No.
 8       Q. You see the term "Virginia" on this            8          MR. GOLDBERGER: I'll -- I'll rephrase
 9   document?                                             9      it.
10       A. Yes.                                          10          In addition to the Fifth Amendment
11       Q. Who do you understand that term to refer      11      privilege, we are invoking attorney-client
12   to?                                                  12      privilege to the extent that any knowledge
13       A. Fifth.                                        13      that Mr. Epstein has about a lawsuit filed
14       Q. Who do you understand this e-mail to have     14      against him by someone by the name of
15   come from?                                           15      Virginia Roberts came to him from attorneys.
16       A. Fifth.                                        16   BY MR. CASSELL:
17       Q. Who do you understand received this e-mail?   17      Q. Did you respond to this e-mail, sir?
18       A. Fifth.                                        18      A. Fifth.
19       Q. You and Ms. Maxwell were working together     19      Q. It's true, sir, that you responded to this
20   to try defend the civil lawsuit that Virginia had    20   e-mail, right?
21   filed against you, true?                             21      A. Fifth.
22          MR. PAGLIUCA: Object to form and              22      Q. And your response was along the lines of
23       foundation.                                      23   coordinating with Maxwell as to how best to defend
24          THE WITNESS: Sorry. Say it gain.              24   the lawsuit against you?
25                                                        25          MR. PAGLIUCA: Object to form and
                                             Page 183                                                  Page 185
 1             J. Epstein - Confidential                   1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                       2     foundation.
 3       Q. You and Miss Maxwell were working together     3        THE WITNESS: Fifth.
 4   to try to defend the civil lawsuit that Virginia      4        (Plaintiff's Exhibit JE6, E-mail string
 5   filed against you at this time, true?                 5     between Jeffrey Epstein and Ms. Maxwell on
 6          MR. PAGLIUCA: Object to form and               6     about March 25th, 2011 was marked for
 7       foundation.                                       7     identification.)
 8          MR. GOLDBERGER: Against Mr. Epstein,           8   BY MR. CASSELL:
 9       not against Ms. Maxwell?                          9     Q. All right. Let's go to another document,
10          MR. CASSELL: Correct.                         10   which I'll mark as JE6.
11          MR. GOLDBERGER: Thank you.                    11        Do you see JE6 in front of you?
12          THE WITNESS: Sorry. Okay.                     12     A. Yes.
13          MR. CASSELL: Let me just ask --               13     Q. This is an e-mail string between you and
14          MR. GOLDBERGER: Okay.                         14   Ms. Maxwell on about March 25th, 2011, right?
15   BY MR. CASSELL:                                      15        MR. GOLDBERGER: There appears to be
16       Q. It's true, sir, that in July of 2009,         16     one e-mail only.
17   Virginia had a lawsuit pending against you, right?   17        Do you have the right exhibit?
18       A. Fifth.                                        18        MR. CASSELL: Oh, I'm sorry. No -- are
19          MR. CASSELL: And you're taking the            19     we looking at the same thing? I see one
20       Fifth with regard to a publicly-filed            20     e-mail and then a second one.
21       lawsuit, I understand it; is that right?         21        MR. GOLDBERGER: I'm sorry.
22          MR. GOLDBERGER: That's correct.               22   BY MR. CASSELL:
23   BY MR. CASSELL:                                      23     Q. This appears to be a -- an e-mail from
24       Q. Did you respond to this e-mail?               24   Maxwell to you, followed by an e-mail from you to
25          MR. WEINBERG: I will also assert the          25   Maxwell, correct?




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                                               Page 186                                                     Page 188
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      A. Fifth.                                             2         MR. PAGLIUCA: Object to form and
 3      Q. This is an e-mail -- well, let me see.             3      foundation.
 4          Maxwell sent you an e-mail to the effect of       4         THE WITNESS: Fifth.
 5   "Any news on V work story? Am I right not allowed        5   BY MR. CASSELL:
 6   full-time employment at 15?"                             6      Q. In this e-mail and other communications,
 7          That's what she sent to you, right?               7   you and Maxwell were trying to cover up sexual abuse
 8      A. I'm sorry. Do you -- is that -- are you            8   of Virginia, right?
 9   asking me that's what it says on this document?          9         MR. PAGLIUCA: Object to form and
10      Q. No. I'm asking you, was it your                   10      foundation.
11   understanding that Maxwell was sending you that         11         THE WITNESS: Fifth.
12   question, right?                                        12   BY MR. CASSELL:
13      A. Fifth.                                            13      Q. By the phrase "getting what you need," what
14      Q. And you responded by saying, "Are you             14   did you mean?
15   getting what you need?"                                 15      A. Fifth.
16          MR. PAGLIUCA: Object to form and                 16      Q. All right. One more --
17      foundation.                                          17      A. Here you go.
18          THE WITNESS: I'm sorry. Are you                  18      Q. Oh, did you instruct Maxwell to delete any
19      asking me if that's what it says?                    19   e-mails at the time?
20   BY MR. CASSELL:                                         20         MR. PAGLIUCA: Object to form and
21      Q. No. I'm asking, is that what you                  21      foundation.
22   responded?                                              22         THE WITNESS: Fifth.
23      A. Fifth.                                            23   BY MR. CASSELL:
24      Q. It's true, sir, that you responded to an          24      Q. Did you instruct Maxwell to delete her
25   e-mail from Maxwell on about March 25th, 2011, right?   25   e-mails in 2015?
                                               Page 187                                                     Page 189
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2      A. Fifth.                                             2          MR. PAGLIUCA: Object to form and
 3      Q. What did you say in response to Maxwell's          3       foundation.
 4   question?                                                4          THE WITNESS: Fifth.
 5      A. Fifth.                                             5          (Plaintiff's Exhibit JE7, Transcription of
 6          MR. CASSELL: Just so the record is                6   a string of e-mails between Jeffrey Epstein and Ms.
 7      clear, this is also identified as                     7   Maxwell in about May of 2011 was marked for
 8      confidential GM-00649. Hang on one second.            8   identification.)
 9   BY MR. CASSELL:                                          9   BY MR. CASSELL:
10      Q. By the phrase "V work story," you                 10       Q. Mark this as JE6 --
11   understood Ms. Maxwell to be referring to Virginia's    11          MR. PAGLIUCA: Seven.
12   age at the time Maxwell first met Virginia, true?       12          MR. CASSELL: Oh, seven? Thank you.
13          MR. PAGLIUCA: Object to form and                 13       Thanks, Jeff.
14      foundation.                                          14          THE WITNESS: Thank you.
15          THE WITNESS: Fifth.                              15   BY MR. CASSELL:
16   BY MR. CASSELL:                                         16       Q. Do you have JE7 in front of you?
17      Q. What did you understand the phrase "V work        17       A. Yes.
18   story" to mean?                                         18       Q. This is, in fact, an accurate transcription
19          MR. PAGLIUCA: Object to form and                 19   of a string of e-mails between you and Ms. Maxwell in
20      foundation.                                          20   about May of 2011?
21          THE WITNESS: Fifth.                              21          MR. PAGLIUCA: Object to form and
22   BY MR. CASSELL:                                         22       foundation.
23      Q. And by the phrase "getting what you need,"        23          THE WITNESS: Fifth.
24   you meant getting materials to try to cover up your     24   BY MR. CASSELL:
25   sexual abuse of Virginia, right?                        25       Q. What is this document?




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                                                Page 190                                                    Page 192
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2       A. Fifth.                                            2      Q. What did you mean when you wrote those
 3       Q. As reflected in this document, you sent an        3   words?
 4   e-mail on May 3rd, 2011, to Maxwell that read, "Where    4      A. Fifth.
 5   are you? The pictures of you look good. Don't            5      Q. In fact, sir, those words mean that you
 6   fret."                                                   6   wanted a person named -- strike that.
 7
 8
 9
10
11
12
            That's what you sent to her, right?
         A. Again, you're asking me, is that what it
     says on the paper?
         Q. No. I'm asking a substantive question.
            Is this what you sent to her?
         A. Fifth.
                                                              7
                                                              8
                                                              9
                                                             10
                                                             11
                                                             12
                                                                  were offering to Maxwell that a woman named

                                                                  right?
                                                                         MR. PAGLIUCA: Object to form and
                                                                     foundation.
                                                                                                               -
                                                                         In fact, what that e-mail means is that you

                                                                  would pretend to be your girlfriend during the time,



13       Q. You sent that e-mail to her, didn't you?         13          THE WITNESS: Fifth.
14       A. Fifth.                                           14   BY MR. CASSELL:
15       Q. Who sent that e-mail to her?                     15      Q. The reason you and Maxwell were
16       A. Fifth.                                           16   communicating at this time was to try to work
17       Q. When you wrote -- wrote the words, "Don't        17   together to attack Virginia's credibility, true?
18   fret," you meant that you were taking steps to avoid    18          MR. PAGLIUCA: Object to form and
19   further distribution to press stories about your        19      foundation.
20   sexual abuse of Virginia, right?                        20          THE WITNESS: Fifth.
21          MR. PAGLIUCA: Object to form and                 21   BY MR. CASSELL:
22       foundation.                                         22      Q. Why were you and Maxwell communicating at
23          THE WITNESS: Fifth.                              23   this time?
24   BY MR. CASSELL:                                         24      A. Fifth.
25       Q. What did you mean by the words "Don't fret"      25      Q. You and Maxwell were communicating to try
                                                Page 191                                                    Page 193
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   in the e-mail?                                           2   an invent a story to conceal the fact that the two of
 3       A. Fifth.                                            3   you had sexually abused Virginia, right?
 4          We done?                                          4          MR. PAGLIUCA: Object to form and
 5       Q. Yeah.                                             5      foundation.
 6          (Plaintiff's Exhibit JE8, E-mail that             6          THE WITNESS: Fifth.
 7   Jeffrey Epstein sent to Maxwell on January 15th, 2015    7   BY MR. CASSELL:
 8   was marked for identification.)                          8      Q. When you used the phrase "to come out and
 9   BY MR. CASSELL:                                          9   say," what did you mean?
10       Q. I'm going to mark an exhibit here as JE8.        10      A. Fifth.
11          Do you have JE8 in front of you?                 11      Q. In fact, you were trying to get someone to
12       A. Yes.                                             12   come out to falsely claim to be your girlfriend at
13          MR. CASSELL: It's also Maxwell 18 and            13   that time, right?
14       also GM001081, for the record.                      14          MR. PAGLIUCA: Object to form and
15   BY MR. CASSELL:                                         15      foundation.
16       Q. This is an e-mail that you sent to Maxwell       16          THE WITNESS: Fifth.
17   on January 15th, 2015, isn't it?                        17   BY MR. CASSELL:
18       A. Fifth.                                           18      Q. And the reason you needed someone to say
19       Q. Who sent this e-mail on January 15, 2015?        19   that they were your girlfriend at the time was to
20       A. Fifth.                                           20   cover up the fact that Maxwell was your girlfriend at
21       Q. This e-mail says, do you want                    21   the time, right?
22   to come out and say she was the girlfriend, during      22          MR. PAGLIUCA: Object to form and
23   the time period?                                        23      foundation.
24          Do you see that there?                           24          THE WITNESS: Fifth.
25       A. Yes.                                             25




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                                               Page 194                                                    Page 196
 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2   pseudonym Jane Doe 102, filed a public lawsuit
 3       Q. With regard to the time period referred to       3   against you for sexual abuse, right?
 4   in this e-mail, who was your girlfriend?                4       A. Fifth and attorney-client.
 5          MR. PAGLIUCA: Object to form and                 5          MR. GOLDBERGER: I'll assert the
 6       foundation.                                         6       attorney-client privilege for you.
 7          THE WITNESS: Fifth.                              7   BY MR. CASSELL:
 8   BY MR. CASSELL:                                         8       Q. It's a matter of public record that you
 9       Q. In fact, during the time when Virginia was       9   later settled that lawsuit, right?
10   with you, Maxwell was your girlfriend, right?          10       A. Fifth.
11          MR. PAGLIUCA: Object to form and                11          MR. GOLDBERGER: And attorney-client
12       foundation.                                        12       privilege. And confidentiality of any
13          THE WITNESS: Fifth.                             13       agreement that may have existed.
14   BY MR. CASSELL:                                        14   BY MR. CASSELL:
15       Q. Who was your girlfriend when Virginia was       15       Q. How much money, if any, did you pay to
16   with you?                                              16   settle that lawsuit?
17          MR. PAGLIUCA: Object to form.                   17       A. Fifth.
18          THE WITNESS: Fifth.                             18          MR. GOLDBERGER: Attorney-client
19   BY MR. CASSELL:                                        19       privilege and confidentiality of any
20       Q. Did Maxwell respond to this e-mail?             20       agreement that may or may not have existed.
21       A. Fifth.                                          21   BY MR. CASSELL:
22       Q. In fact, Maxwell did respond to this            22       Q. That lawsuit involved two parties, you and
23   e-mail, true?                                          23   Ms. Giuffre, right?
24       A. Fifth.                                          24       A. Fifth.
25       Q. You and Maxwell decided together that           25       Q. It is you who is insisting on
                                               Page 195                                                    Page 197
 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   trying to pass off Shelly as your girlfriend who be     2   confidentiality of the settlement of that lawsuit,
 3   too easily exposed as a lie, right?                     3   right?
 4          MR. PAGLIUCA: Object to form and                 4          MR. PAGLIUCA: Object to form and
 5       foundation.                                         5       foundation.
 6          THE WITNESS: Fifth.                              6          THE WITNESS: Fifth.
 7   BY MR. CASSELL:                                         7          MR. GOLDBERGER: Attorney-client
 8       Q. Please describe the plan that you and            8       privilege.
 9   Maxwell came up with to respond to Virginia's           9   BY MR. CASSELL:
10   allegations that she had been sexually abused by the   10       Q. If Virginia were to provide to Maxwell the
11   two of you.                                            11   confidential settlement agreement, that would be, to
12          MR. PAGLIUCA: Object to form and                12   your personal understanding, a violation of the terms
13       foundation.                                        13   of the settlement agreement?
14          THE WITNESS: Fifth.                             14       A. Fifth.
15   BY MR. CASSELL:                                        15          MR. GOLDBERGER: And attorney-client
16       Q. In fact, you two came up with a plan to try     16       privilege.
17   to attack Virginia's credibility, right?               17   BY MR. CASSELL:
18          MR. PAGLIUCA: Object to form and                18       Q. You could sue Virginia if she gave Maxwell
19       foundation.                                        19   the confidential settlement agreement, right?
20          THE WITNESS: Fifth.                             20       A. Fifth.
21   BY MR. CASSELL:                                        21          MR. GOLDBERGER: Attorney-client
22       Q. Now, if we go to 2009 -- we're done with        22       privilege.
23   that document.                                         23          Do you want to give me a standing
24       A. Okay.                                           24       objection to attorney-client privilege on --
25       Q. In 2009, Ms. Giuffre, proceeding under the      25       on any of the questions concerning the




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                                                Page 198                                                    Page 200
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2      settlement agreement?                                 2       A. Fifth.
 3          MR. CASSELL: Yes.                                 3       Q. When did you first meet Alan Dershowitz?
 4          MR. GOLDBERGER: Okay.                             4       A. Fifth.
 5          MR. WEINBERG: And a standing -- and a             5       Q. It would be fair to describe
 6      standing objection to these questions are             6   Alan Dershowitz as a good friend of yours, true?
 7      based, if there is a confidentiality                  7       A. Fifth.
 8      agreement, on the agreement, which is                 8       Q. Please describe your relationship with
 9      subject to confidentiality.                           9   Alan Dershowitz.
10          MR. PAGLIUCA: Which I have asked for             10       A. Fifth.
11      and don't have.                                      11       Q. Alan Dershowitz has sent drafts of books he
12          MR. CASSELL: Right. Which is why --              12   was writing for you to review, right?
13      well, in any event.                                  13       A. Fifth.
14   BY MR. CASSELL:                                         14       Q. What books of Alan Dershowitz' have you
15      Q. Sir, you are willing to sign an                   15   read?
16   unconditional waiver allowing Virginia to turn over     16       A. Fifth.
17   the settlement agreement to Maxwell, right?             17       Q. What drafts of Alan Dershowitz' have you
18      A. Fifth.                                            18   read?
19      Q. Now, if we talk about the 2009 litigation         19       A. Fifth.
20   between you and Maxwell, during that litigation you     20       Q. Dershowitz was your lawyer as well as your
21   conveyed threats to Virginia?                           21   friend, right?
22          MR. PAGLIUCA: Object to form and                 22       A. Fifth.
23      foundation.                                          23       Q. Without discussing any particular
24          THE WITNESS: Fifth.                              24   attorney-client communications, what was the general
25                                                           25   type of legal work he did for you?
                                                Page 199                                                    Page 201
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2      A. Fifth.
 3       Q. Indirectly you threatened Virginia with           3         MR. WEINBERG: Attorney-client
 4   harm if she did not agree to your proposed settlement    4      privilege.
 5   terms, true?                                             5         MR. CASSELL: Attorney-client
 6          MR. PAGLIUCA: Object to form and                  6      privilege? Oh, okay.
 7       foundation.                                          7   BY MR. CASSELL:
 8          THE WITNESS: Fifth.                               8      Q. When did Dershowitz first become your
 9   BY MR. CASSELL:                                          9   lawyer?
10       Q. Without disclosing any amount that you           10         MR. WEINBERG: Attorney-client
11   ultimately paid, if any, it was your intent that your   11      privilege.
12   threats would reduce the amount that you would have     12         MR. CASSELL: The date is
13   to pay to Virginia, right?                              13      attorney-client privilege?
14          MR. PAGLIUCA: Object to form and                 14         MR. WEINBERG: Yes.
15       foundation.                                         15         THE WITNESS: Fifth.
16          THE WITNESS: Fifth.                              16   BY MR. CASSELL:
17   BY MR. CASSELL:                                         17      Q. It is true, sir, that Dershowitz first
18       Q. Please describe all the threats you've ever      18   became your lawyer in about 1999, right?
19   made to Virginia.                                       19         MR. WEINBERG: Attorney-client
20          MR. PAGLIUCA: Object to form and                 20      privilege.
21       foundation.                                         21   BY MR. CASSELL:
22          THE WITNESS: Fifth.                              22      Q. Has Dershowitz ever provided business
23   BY MR. CASSELL:                                         23   advice for you?
24       Q. Sir, you know Harvard Law Professor, now         24      A. Fifth.
25   former law professor, Alan Dershowitz?                  25      Q. Has Dershowitz ever provided you business




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                                             Page 202                                                   Page 204
 1              J. Epstein - Confidential                 1            J. Epstein - Confidential
 2   advice of a nonlegal nature?                         2         THE WITNESS: Fifth.
 3       A. Fifth.                                        3         MR. GOLDBERGER: Attorney-client
 4       Q. Have you had any business relationships of    4      privilege to the extent I understand what
 5   any kind with Dershowitz?                            5      "agent" means.
 6       A. Fifth.                                        6   BY MR. CASSELL:
 7       Q. It's true, sir, that you have had business    7      Q. Did you authorize Dershowitz to make any
 8   relationships with Dershowitz, right?                8   public statements on your behalf?
 9       A. Fifth.                                        9         MR. PAGLIUCA: Object to form and
10       Q. In 1999, you had business relationships      10      foundation.
11   with Dershowitz, true?                              11         MR. GOLDBERGER: Attorney-client
12           MR. PAGLIUCA: Object to form and            12      privilege.
13       foundation.                                     13         THE WITNESS: Fifth.
14           THE WITNESS: Fifth.                         14   BY MR. CASSELL:
15   BY MR. CASSELL:                                     15      Q. If Dershowitz made any public statements
16       Q. When was the last time you spoke to          16   about your views on Virginia, were those authorized?
17   Alan Dershowitz?                                    17         MR. GOLDBERGER: Attorney-client
18       A. Fifth.                                       18      privilege?
19       Q. I want to focus your attention to the time   19         THE WITNESS: Fifth.
20   frame immediately after December 30th, 2014, when   20   BY MR. CASSELL:
21   Virginia's allegations were first made in a court   21      Q. Did you ever tell Dershowitz that you were
22   filing.                                             22   outraged by Virginia's statements?
23           If we talk about that time frame, did you   23      A. Fifth.
24   discuss Virginia's allegations with Dershowitz?     24         MR. GOLDBERGER: Attorney-client
25           MR. GOLDBERGER: You got it, Marty, or       25      privilege.
                                             Page 203                                                   Page 205
 1             J. Epstein - Confidential                  1             J. Epstein - Confidential
 2     I'll -- I'm on -- why don't I just do it,          2   BY MR. CASSELL:
 3     because they're having a hard time hearing         3       Q. In fact, sir, you've never told Dershowitz
 4     you.                                               4   that you were outraged by Virginia's statements, did
 5          MR. WEINBERG: Okay.                           5   you?
 6          MR. GOLDBERGER: Thank you. And                6       A. Fifth.
 7     attorney-client privilege.                         7          MR. GOLDBERGER: And attorney-client
 8          THE WITNESS: Fifth.                           8       privilege.
 9   BY MR. CASSELL:                                      9   BY MR. CASSELL:
10     Q. You did discuss Virginia's allegations with    10       Q. The reason you never told Dershowitz that
11   Dershowitz, didn't you?                             11   is that you knew that Virginia's statements were
12          MR. PAGLIUCA: Object to form and             12   true, didn't you?
13     foundation.                                       13          MR. PAGLIUCA: Object to form and
14          THE WITNESS: Fifth.                          14       foundation.
15          MR. GOLDBERGER: And attorney-client          15          THE WITNESS: Fifth.
16     privilege.                                        16   BY MR. CASSELL:
17   BY MR. CASSELL:                                     17       Q. When Alan Dershowitz said, "He's as
18     Q. Was he your lawyer at that time, sir?          18   outraged as I am," referring to you, that was not a
19     A. Fifth.                                         19   true statement, was it?
20          MR. GOLDBERGER: Attorney-client              20          MR. PAGLIUCA: Object to form and
21     privilege.                                        21       foundation.
22   BY MR. CASSELL:                                     22          THE WITNESS: Fifth.
23     Q. Was he your agent at that time?                23          MR. GOLDBERGER: And attorney-client
24          MR. PAGLIUCA: Object to form and             24       privilege.
25     foundation.                                       25




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                                              Page 206                                                   Page 208
 1            J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                       2    BY MR. CASSELL:
 3      Q. Was that an authorized statement on your        3       Q. Has Dershowitz ever walked into a room
 4   behalf by Alan Dershowitz?                            4    where you and Virginia were interacting sexually?
 5         MR. PAGLIUCA: Object to form and                5           MR. PAGLIUCA: Object to form and
 6      foundation.                                        6       foundation.
 7         THE WITNESS: Fifth.                             7           THE WITNESS: Fifth.
 8         MR. GOLDBERGER: Attorney-client                 8    BY MR. CASSELL:
 9      privilege.                                         9       Q. It's true, sir, that Dershowitz did walk
10   BY MR. CASSELL:                                      10    into a room and when you Virginia were interacting
11      Q. In 2000 and 2001, Dershowitz came to visit     11    sexually, right?
12   you at your Florida mansion in Palm Beach, true?     12           MR. PAGLIUCA: Object to form and
13      A. Fifth.                                         13       foundation.
14         MR. GOLDBERGER: Attorney-client                14           THE WITNESS: Fifth.
15      privilege.                                        15    BY MR. CASSELL:
16   BY MR. CASSELL:                                      16       Q. Please describe the circumstances
17      Q. In 2000 and 2001, Dershowitz came to visit     17    surrounding Dershowitz walking into a room with you
18   you in your New York mansion, true?                  18    and Virginia interacting sexually.
19         MR. PAGLIUCA: Object to form and               19           MR. PAGLIUCA: Object to form and
20      foundation.                                       20       foundation.
21         THE WITNESS: Fifth.                            21           THE WITNESS: Fifth.
22         MR. GOLDBERGER: Attorney-client                22    BY MR. CASSELL:
23      privilege.                                        23       Q. Your sexual preference is for minor girls,
24   BY MR. CASSELL:                                      24    right?
25      Q. In 2001 and 2001, Dershowitz visited your      25           MR. PAGLIUCA: Object to form and
                                              Page 207                                                   Page 209
 1             J. Epstein - Confidential                    1            J. Epstein - Confidential
 2   ranch named Zorro in the Greater Santa Fe, New Mexico 2       foundation. Asked and answered.
 3   area several times, true?                              3          THE WITNESS: Fifth.
 4          MR. PAGLIUCA: Object to form and                4   BY MR. CASSELL:
 5       foundation.                                        5      Q. If we focus in on the period just 2005 to
 6          THE WITNESS: Fifth.                             6   2006, at that time, you were targeting minor girls
 7          MR. GOLDBERGER: Attorney-client                 7   for sexual abuse, true?
 8       privilege.                                         8          MR. PAGLIUCA: Object to form and
 9   BY MR. CASSELL:                                        9      foundation.
10       Q. In 2000 and 2001 Dershowitz visited your       10          THE WITNESS: Fifth.
11   island in the U.S. Virgin Islands as well, true?      11   BY MR. CASSELL:
12          MR. PAGLIUCA: Object to form and               12      Q. If we focus in just on the year 2005, in
13       foundation.                                       13   that year you were targeting minor girls for sexual
14          THE WITNESS: Fifth.                            14   abuse, right?
15          MR. GOLDBERGER: Attorney-client.               15          MR. PAGLIUCA: Object to form and
16   BY MR. CASSELL:                                       16      foundation.
17       Q. If we focus in on the years 2000 and 2001,     17          THE WITNESS: Fifth.
18   how many times did Dershowitz visit you in your       18   BY MR. CASSELL:
19   various homes?                                        19      Q. Your sexual abuse came to the attention of
20       A. Fifth.                                         20   law enforcement authorities in 2005, right?
21       Q. Please describe all your interactions with     21      A. Fifth.
22   Dershowitz in 2000 and 2001.                          22      Q. And thereafter your defense attorneys
23       A. Fifth.                                         23   negotiated a non-prosecution agreement for you with
24          MR. GOLDBERGER: Attorney-client                24   the U.S. Attorney's Office, true?
25       privilege.                                        25      A. Fifth.




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                                                Page 210                                                    Page 212
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2         MR. GOLDBERGER: And attorney-client                2   Mr. Dershowitz had observed you having sexual
 3      privilege.                                            3   interactions with at least one minor --
 4   BY MR. CASSELL:                                          4          MR. PAGLIUCA: Object to form --
 5      Q. One of the attorneys negotiating on your           5   BY MR. CASSELL:
 6   behalf was Alan Dershowitz, true?                        6      Q. -- at the time you wrote this letter,
 7      A. Fifth.                                             7   right?
 8         MR. GOLDBERGER: Attorney-client.                   8          MR. PAGLIUCA: I'm sorry. I don't know
 9         (Plaintiff's Exhibit JE9, Document 361-46          9      if I spoke over you the last --
10   on the public record in the case Jane Doe versus        10          Did you get the question?
11   United States 908CD80736 in the Southern District of    11          THE COURT REPORTER: No -- yes, but...
12   Florida, a document signed by Gerald Lefcourt and       12      Objection --
13   Alan Dershowitz was marked for identification.)         13          MR. PAGLIUCA: Okay. Yeah.
14   BY MR. CASSELL:                                         14          Object to form and foundation.
15      Q. I want to show you now an exhibit which           15          THE COURT REPORTER: Thank you.
16   we'll mark as JE9, which I'll note, for the record,     16          THE WITNESS: Fifth.
17   is Document 361-46 on the public record in the case     17   BY MR. CASSELL:
18   Jane Doe versus United States 908CD80736 in the         18      Q. Two of the attorneys in the U.S. Attorney's
19   Southern District of Florida.                           19   Office at that time were Matthew Menchel and
20         This is a document signed by                      20   Andrew Lurie, true?
21   Gerald Lefcourt and Alan Dershowitz, as you can see     21      A. That's what it says on the document.
22   on the last page.                                       22      Q. And you also -- you knew that there were
23      A. I see the last page.                              23   two U.S. Attorneys in the office at that time by the
24      Q. All right. This was a statement sent on           24   name of Matthew Menchel and Andrew Lurie, right?
25   your behalf to prosecutors in that -- in the criminal   25      A. Fifth.
                                                Page 211                                                    Page 213
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   investigation and case in the Southern District of       2         MR. GOLDBERGER: And attorney-client
 3   Florida, right?                                          3      privilege.
 4       A. I'm sorry. Say again.                             4         MR. CASSELL: Attorney-privilege of
 5       Q. This is a document or a statement sent on         5      prosecutors?
 6   your behalf to prosecutors in the criminal               6         MR. GOLDBERGER: Of what he knew.
 7   investigation and case in the Southern District of       7         MR. CASSELL: Okay. I got you.
 8   Florida?                                                 8   BY MR. CASSELL:
 9       A. That's what it says.                              9      Q. While you were negotiating with the U.S.
10       Q. If Alan Dershowitz were to write in this         10   Attorney's Office, you were also working with Menchel
11   letter that "Epstein never targeted minors," that       11   and Lurie to help them secure lucrative employment
12   would be a false statement, wouldn't it?                12   when they left the office, right?
13           MR. PAGLIUCA: Object to form and                13         MR. PAGLIUCA: Object to form and
14       foundation.                                         14      foundation.
15           THE WITNESS: Fifth.                             15         THE WITNESS: Fifth.
16   BY MR. CASSELL:                                         16   BY MR. CASSELL:
17       Q. In fact, you had told Alan Dershowitz that       17      Q. What do you know about the current
18   you had targeted minors?                                18   employment of Matthew Menchel?
19           MR. WEINBERG: Attorney-client privilege.        19      A. Fifth.
20           MR. PAGLIUCA: Object to form and                20      Q. What do you know about the current
21       foundation.                                         21   employment of Andrew Lurie?
22           THE WITNESS: Fifth.                             22      A. Fifth.
23   BY MR. CASSELL:                                         23      Q. Please describe all of the circumstances
24       Q. And without regard to any communications         24   you are aware of concerning Matthew Menchel's
25   that you may or may not have had with Mr. Dershowitz,   25   departure from the U.S. Attorney's Office.




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                                                Page 214                                                   Page 216
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      A. Fifth.                                             2          MR. PAGLIUCA: Object to form and
 3      Q. Please describe all the circumstances you          3      foundation.
 4   are aware of involving the departure of Andrew Lurie     4          THE WITNESS: Fifth.
 5   from the U.S. Attorney's Office.                         5   BY MR. CASSELL:
 6      A. Fifth.                                             6      Q. Please describe the bed on your jet.
 7      Q. One person you sexually trafficked Virginia        7      A. Fifth.
 8   to was then Harvard Law Professor Allan Dershowitz,      8      Q. Please describe every time Dershowitz was
 9   right?                                                   9   inside your -- one of your homes in the presence of
10          MR. PAGLIUCA: Object to form and                 10   girls under the age of 18.
11      foundation.                                          11          MR. PAGLIUCA: Object to form and
12          THE WITNESS: Fifth.                              12      foundation.
13   BY MR. CASSELL:                                         13          THE WITNESS: Fifth.
14      Q. You arranged for Dershowitz to sexually           14   BY MR. CASSELL:
15   abuse Virginia in your Florida mansion, right?          15      Q. Maxwell was well aware of Dershowitz's
16          MR. PAGLIUCA: Object to form and                 16   sexual abuse of Virginia, right?
17      foundation.                                          17          MR. PAGLIUCA: Object to form and
18          THE WITNESS: Fifth.                              18      foundation.
19   BY MR. CASSELL:                                         19          THE WITNESS: Fifth.
20      Q. All right. You arranged for Dershowitz to         20   BY MR. CASSELL:
21   sexually abuse Virginia in your New York mansion,       21      Q. Please describe all the interactions
22   right?                                                  22   between Dershowitz and Maxwell in your homes in the
23          MR. PAGLIUCA: Object to form and                 23   time frame 2000 to 2001.
24      foundation.                                          24          MR. PAGLIUCA: Object to form and
25          THE WITNESS: Fifth.                              25      foundation.
                                                Page 215                                                   Page 217
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2          THE WITNESS: Fifth.
 3       Q. You arranged for Dershowitz to sexually           3   BY MR. CASSELL:
 4   abuse Virginia at your New -- New Mexico ranch,          4       Q. Please describe all the interactions
 5   right?                                                   5   between Maxwell and Dershowitz in any of your homes
 6          MR. PAGLIUCA: Object to form and                  6   in the time frame 2004 to 2006.
 7       foundation.                                          7          MR. PAGLIUCA: Object to form and
 8          THE WITNESS: Fifth.                               8       foundation.
 9   BY MR. CASSELL:                                          9          THE WITNESS: Fifth.
10       Q. You arranged for Dershowitz to sexually          10   BY MR. CASSELL:
11   abuse Virginia Tryland (phonetic) in the U.S. Virgin    11       Q. You have sexually trafficked Virginia to a
12   Islands, true?                                          12   number of your other friends, right?
13          MR. PAGLIUCA: Object to form and                 13          MR. PAGLIUCA: Object to form and
14       foundation.                                         14       foundation. Asked and answered.
15          THE WITNESS: Fifth.                              15          THE WITNESS: Fifth.
16   BY MR. CASSELL:                                         16   BY MR. CASSELL:
17       Q. You arranged for Dershowitz to sexually          17       Q. You and Maxwell sent Virginia to have sex
18   abuse Virginia on the jet airplane you own, right?      18   with Glenn Dubin, true?
19          MR. PAGLIUCA: Object to form and                 19       A. Yes.
20       foundation.                                         20       Q. You and Maxwell sent Virginia to have sex
21          THE WITNESS: Fifth.                              21   with Bill Richardson, true?
22   BY MR. CASSELL:                                         22          MR. PAGLIUCA: Object to form and
23       Q. By the way, without any regard to sexual         23       foundation.
24   conduct that you may or may not have had on your jet,   24          THE WITNESS: Fifth.
25   is your jet equipped with a bed?                        25




                                                                                  55 (Pages 214 to 217)
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                                               Page 218                                                   Page 220
 1           J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2   BY MR. CASSELL:
 3      Q. You and Maxwell sent Virginia to have sex        3       Q. How did Bill Clinton get to your island
 4   with                    true?                          4   when he came to visit you?
 5         MR. PAGLIUCA: Object to form and                 5          MR. PAGLIUCA: Object to form and
 6      foundation.                                         6       foundation.
 7         THE WITNESS: Fifth.                              7          THE WITNESS: Fifth.
 8   BY MR. CASSELL:                                        8   BY MR. CASSELL:
 9      Q. You and Maxwell sent Virginia to have sex        9       Q. Sir, isn't it true, Bill Clinton got to the
10   with Marvin Minsky, true?                             10   island by having Maxwell fly him there on a
11         MR. PAGLIUCA: Object to form and                11   helicopter?
12      foundation.                                        12          MR. PAGLIUCA: Object to form and
13         THE WITNESS: Fifth.                             13       foundation.
14   BY MR. CASSELL:                                       14          THE WITNESS: Fifth.
15      Q. You and Maxwell sent Virginia to have sex       15   BY MR. CASSELL:
16   with                  , true?                         16       Q. Do you own a helicopter, sir?
17         MR. PAGLIUCA: Object to form and                17          MR. PAGLIUCA: Object to form and
18      foundation.                                        18       foundation.
19         THE WITNESS: Fifth.                             19          THE WITNESS: Fifth.
20   BY MR. CASSELL:                                       20   BY MR. CASSELL:
21      Q. You and Maxwell sent Virginia to have sex       21       Q. In fact, sir, you own a helicopter in the
22   with                  , true?                         22   U.S. Virgin Islands for purposes of flying guests to
23         MR. PAGLIUCA: Object to form and                23   your private island there, right?
24      foundation.                                        24          MR. PAGLIUCA: Object to form and
25         THE WITNESS: Fifth.                             25       foundation.
                                               Page 219                                                   Page 221
 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2          THE WITNESS: Fifth.
 3       Q. Please give me the names of the other men       3   BY MR. CASSELL:
 4   you and Maxwell sent Virginia to have sex with.        4       Q. Please describe all the ways people can get
 5          MR. PAGLIUCA: Object to the form and            5   to your private island in the U.S. Virgin Islands.
 6       foundation.                                        6          MR. PAGLIUCA: Object to form.
 7          THE WITNESS: Fifth.                             7          THE WITNESS: Fifth.
 8   BY MR. CASSELL:                                        8   BY MR. CASSELL:
 9       Q. Isn't it true that in the time period 2000      9       Q. Maxwell frequently flew a helicopter in the
10   to 2001, you were close friends with Bill Clinton?    10   U.S. Virgin Islands, right?
11       A. Fifth.                                         11          MR. PAGLIUCA: Object to form and
12       Q. And even into 2002 you remained close          12       foundation.
13   friends with Bill Clinton, right?                     13          THE WITNESS: Fifth.
14       A. Fifth.                                         14   BY MR. CASSELL:
15       Q. Bill Clinton flew on your jet a number of      15       Q. Maxwell was trained to fly your helicopter
16   times in 2002, right?                                 16   in the U.S. Virgin Islands, right?
17       A. Fifth.                                         17          MR. PAGLIUCA: Object to form and
18       Q. For example, in May of 2002, Bill Clinton      18       foundation.
19   was on your jet several times, right?                 19          THE WITNESS: Fifth.
20       A. Fifth.                                         20   BY MR. CASSELL:
21       Q. Bill Clinton visited your island in the        21       Q. Maxwell frequently flew a helicopter in the
22   U.S. Virgin Islands in about 2002, true?              22   U.S. Virgin Islands, right?
23          MR. PAGLIUCA: Object to form and               23          MR. PAGLIUCA: Object to form and
24       foundation.                                       24       foundation. Asked and answered.
25          THE WITNESS: Fifth.                            25          THE WITNESS: Fifth.




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                                               Page 222                                                      Page 224
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   Bill Clinton flew to China, right?
 3       Q. When Bill Clinton visited your private            3         MR. PAGLIUCA: Object to form and
 4   island in the U.S. Virgin Islands, please describe       4      foundation.
 5   all the steps that you took to conceal his presence      5         THE WITNESS: Fifth.
 6   there.                                                   6   BY MR. CASSELL:
 7          MR. PAGLIUCA: Object to form and                  7      Q. And you also flew to Singapore, right?
 8       foundation.                                          8         MR. PAGLIUCA: Object to form and
 9          THE WITNESS: Fifth.                               9      foundation.
10   BY MR. CASSELL:                                         10         THE WITNESS: Fifth.
11       Q. When Bill Clinton came to your private           11   BY MR. CASSELL:
12   island in the U.S. Virgin Islands, please describe      12      Q. And you also flew together to Bangkok?
13   anyone who he was accompanied by.                       13         MR. PAGLIUCA: Object to form and
14          MR. PAGLIUCA: Object to form and                 14      foundation.
15       foundation.                                         15         THE WITNESS: Fifth.
16          THE WITNESS: Fifth.                              16   BY MR. CASSELL:
17   BY MR. CASSELL:                                         17      Q. Just so we're clear on that, in May
18       Q. When Bill Clinton came to your island, he        18   of 2002, you, Bill Clinton, and Defendant Maxwell all
19   was accompanied by two young women who were             19   flew to Bangkok together, right?
20   approximately 18 years old, true?                       20         MR. PAGLIUCA: Object to form and
21          MR. PAGLIUCA: Object to form and                 21      foundation.
22       foundation.                                         22         THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                              23   BY MR. CASSELL:
24   BY MR. CASSELL:                                         24      Q. And later, on that same trip, you, Maxwell,
25       Q. Please list every place you and                  25   and Bill Clinton all flew to Brunei together, true?
                                               Page 223                                                      Page 225
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   Bill Clinton have ever been together.                    2          MR. PAGLIUCA: Object to form and
 3          MR. PAGLIUCA: Object to form.                     3      foundation.
 4          THE WITNESS: Fifth.                               4          THE WITNESS: Fifth.
 5   BY MR. CASSELL:                                          5   BY MR. CASSELL:
 6       Q. Please list everyplace you, Maxwell, and          6      Q. You've heard of the Clinton Foundation,
 7   Bill Clinton have been together simultaneously.          7   right?
 8          MR. PAGLIUCA: Object to form and                  8      A. Fifth.
 9       foundation.                                          9      Q. Please describe all of your interactions
10          THE WITNESS: Fifth.                              10   with the Clinton Foundation.
11   BY MR. CASSELL:                                         11      A. Fifth.
12       Q. On May 22nd, 2002, you and Maxwell flew          12      Q. Is it true you that you helped Bill Clinton
13   with Bill Clinton on your private jet, true?            13   organize the Clinton Foundation?
14          MR. PAGLIUCA: Object to form and                 14      A. Fifth.
15       foundation.                                         15      Q. Did you discuss with Bill Clinton the idea
16          THE WITNESS: Fifth.                              16   of creating a foundation?
17   BY MR. CASSELL:                                         17      A. Fifth.
18       Q. On May 22nd, 2002 you and Maxwell and            18          (Plaintiff's Exhibit JE10, Subpoena in this
19   Bill Clinton flew from the Atsugi Naval Air facility    19   case for Jeffrey Epstein to appear at deposition was
20   in Japan to Khabarovsk, Russia, true?                   20   marked for identification.)
21          MR. PAGLIUCA: Object to form and                 21          MR. CASSELL: I'm going to hand you one
22       foundation.                                         22      more -- here we are. This will become JE10 in
23          THE WITNESS: Fifth.                              23      this case. And I represent this is the subpoena
24   BY MR. CASSELL:                                         24      in this case to appear for the deposition. I
25       Q. On that same trip you, Maxwell, and              25      only got one of those.




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 1             J. Epstein - Confidential                  1            J. Epstein - Confidential
 2          MR. PAGLIUCA: I can share. That's             2      foundation.
 3       fine.                                            3          THE WITNESS: Fifth.
 4   BY MR. CASSELL:                                      4   BY MR. CASSELL:
 5       Q. Have you seen this document before today,     5      Q. Where are the documents covered by these 22
 6   sir?                                                 6   requested categories?
 7       A. Fifth.                                        7      A. Fifth.
 8       Q. I want to direct your attention to page 8     8      Q. You have not produced any privilege log for
 9   of this document regarding -- you see page 8?        9   these items, have you?
10       A. Yes, sir.                                    10      A. Fifth.
11       Q. And you see there's the heading "Documents   11      Q. It would not be burdensome for you to
12   to Be Produced Pursuant to This Subpoena"?          12   search for any of these documents, would it?
13       A. Yes.                                         13          MR. PAGLIUCA: Object to form and
14       Q. Did you bring any documents with you today   14      foundation.
15   pursuant to this subpoena?                          15          THE WITNESS: Fifth.
16       A. Fifth.                                       16   BY MR. CASSELL:
17          MR. WEINBERG: Mr. Epstein would assert       17      Q. It would be quite simple for you to run
18       the Fifth Amendment as well as the act of       18   search terms, such as Virginia, through your e-mail
19       production for the protections against          19   accounts, right?
20       responding to that question or producing any    20          MR. PAGLIUCA: Object to form and
21       documents, relying on the Supreme Court         21      foundation.
22       decision in Hubble, the Second Circuit's        22          THE WITNESS: Fifth.
23       August 1 decision in Greenfield.                23   BY MR. CASSELL:
24          MR. CASSELL: Understood. And I'll assume     24      Q. And you have plenty of money to fund any of
25       you have a standing objection based on the      25   the searches that would be required to produce these
                                              Page 227                                                  Page 229
 1             J. Epstein - Confidential                  1            J. Epstein - Confidential
 2       grounds that you just described to all my        2   documents, right?
 3       questions with regard to this subpoena.          3         MR. PAGLIUCA: Object to form and
 4          MR. GOLDBERGER: Just so we're clear,          4      foundation.
 5       the Fifth Amendment objection as to act of       5         THE WITNESS: Fifth.
 6       production is going to apply to                  6   BY MR. CASSELL:
 7       everything that --                               7      Q. I want to direct your attention to the
 8          MR. CASSELL: Yeah. We disagree. But           8   item 13, which requests all --
 9       I understand you have a Fifth Amendment and      9      A. Sorry --
10       act of production.                              10         MR. GOLDBERGER: Page 9 of the -- of
11          MR. GOLDBERGER: Yes.                         11      the subpoena.
12          MR. CASSELL: Let's just hang onto that       12         THE WITNESS: Okay.
13       a second.                                       13   BY MR. CASSELL:
14          MR. GOLDBERGER: Sure.                        14      Q. -- which request all telephone records
15   BY MR. CASSELL:                                     15   associated with you, including cell phone records,
16       Q. Sir, you've made no effort to collect any    16   from 1999 to present that shown communications with
17   of the documents requested here, right?             17   Maxwell, Ghislaine Maxwell.
18          MR. PAGLIUCA: Object to form and             18         You've taken no steps to secure those
19       foundation.                                     19   documents, right?
20          THE WITNESS: Fifth Amendment.                20         MR. PAGLIUCA: Object to form and
21   BY MR. CASSELL:                                     21      foundation.
22       Q. In the last three weeks, you've made no      22         THE WITNESS: Fifth.
23   search at all for the 22 categories of documents    23   BY MR. CASSELL:
24   requested here, right?                              24      Q. You have, in fact, received electronic and
25          MR. PAGLIUCA: Object to form and             25   paper records from a cellular telephone provider




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 1            J. Epstein - Confidential                      1           J. Epstein - Confidential
 2   reflecting such calls on your cell phone, right?        2         MR. PAGLIUCA: Object to form and
 3          MR. PAGLIUCA: Object to form and                 3      foundation.
 4       foundation.                                         4         THE WITNESS: Fifth.
 5          THE WITNESS: Fifth.                              5   BY MR. CASSELL:
 6   BY MR. CASSELL:                                         6      Q. Please describe all the communications
 7       Q. And on those records over the last               7   you've had with Maxwell about crimes she has
 8   20 months would be telephone calls between you and      8   committed.
 9   Maxwell, right?                                         9         MR. PAGLIUCA: Object to form and
10          MR. PAGLIUCA: Object to form and                10      foundation.
11       foundation.                                        11         THE WITNESS: Fifth.
12          THE WITNESS: Fifth.                             12   BY MR. CASSELL:
13   BY MR. CASSELL:                                        13      Q. Ms. Maxwell has admitted to you that she
14       Q. I'm going to direct your attention now to       14   has sexually abused minors, right?
15   item seven.                                            15         MR. PAGLIUCA: Object to form and
16          You have documents relating to                  16      foundation.
17   communications with Ghislaine Maxwell, true, sir?      17         THE WITNESS: Fifth.
18          MR. PAGLIUCA: Object to form and                18   BY MR. CASSELL:
19       foundation.                                        19      Q. You know a Renaldo Rizzo, right?
20          THE WITNESS: Fifth.                             20      A. Fifth.
21   BY MR. CASSELL:                                        21      Q. You know that Renaldo Rizzo is an estate
22       Q. You maintain various e-mail accounts,           22   manager for Glenn Dubin, right?
23   right?                                                 23         MR. PAGLIUCA: Object to form and
24          MR. PAGLIUCA: Object to form and                24      foundation.
25       foundation.                                        25         THE WITNESS: Fifth.
                                               Page 231                                                 Page 233
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                              2   BY MR. CASSELL:
 3   BY MR. CASSELL:                                         3      Q. Who is Renaldo Rizzo?
 4      Q. You have undertaken no steps to search your       4      A. Fifth.
 5   e-mail accounts for communications with Ms. Maxwell,    5      Q. In about 2005, it's true, sir, that Rizzo
 6   right?                                                  6   observed you and Maxwell in the presence of a --
 7          MR. PAGLIUCA: Object to form and                 7   presence of a 15-year-old Swedish girl named
 8      foundation.                                          8   Caroline, right?
 9          THE WITNESS: Fifth.                              9          MR. PAGLIUCA: Object to form and
10   BY MR. CASSELL:                                        10      foundation.
11      Q. It would be a simple task for you to search      11          THE WITNESS: Fifth.
12   your e-mail accounts for documents associated with     12   BY MR. CASSELL:
13   communications with Maxwell, right?                    13      Q. Please describe everything you know about a
14          MR. PAGLIUCA: Object to form and                14   15-year-old Swedish girl named Caroline that you
15      foundation.                                         15   interacted with in 2005?
16          THE WITNESS: Fifth.                             16          MR. PAGLIUCA: Object to form and
17   BY MR. CASSELL:                                        17      foundation.
18      Q. You have seen Ms. Maxwell commit crimes,         18          THE WITNESS: Fifth.
19   right?                                                 19   BY MR. CASSELL:
20          MR. PAGLIUCA: Object to form and                20      Q. You and Maxwell brought Caroline over to
21      foundation.                                         21   the United States under false pretenses, right?
22          THE WITNESS: Fifth.                             22          MR. PAGLIUCA: Object to form and
23   BY MR. CASSELL:                                        23      foundation.
24      Q. Miss Maxwell has discussed with you crimes       24          THE WITNESS: Fifth.
25   she has committed, right?                              25




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 1            J. Epstein - Confidential                   1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                      2          THE WITNESS: Fifth.
 3      Q. How did you and Maxwell convince Caroline      3   BY MR. CASSELL:
 4   to come over from Sweden?                            4       Q. Isn't it true, sir, that Maxwell held
 5         MR. PAGLIUCA: Object to form and               5   Caroline's passport?
 6      foundation.                                       6          MR. PAGLIUCA: Object to form and
 7         THE WITNESS: Fifth.                            7       foundation.
 8   BY MR. CASSELL:                                      8          THE WITNESS: Fifth.
 9      Q. The reason you and Maxwell brought Caroline    9   BY MR. CASSELL:
10   over from Sweden was to have sex with you, right?   10       Q. Isn't it true, sir, that Maxwell was
11         MR. PAGLIUCA: Object to form and              11   denying Caroline access to her passport in order to
12      foundation.                                      12   try to force her to have sex with you?
13         THE WITNESS: Fifth.                           13          MR. PAGLIUCA: Object to form and
14   BY MR. CASSELL:                                     14       foundation.
15      Q. Did Caroline want to have sex with you?       15          THE WITNESS: Fifth.
16         MR. PAGLIUCA: Object to form and              16   BY MR. CASSELL:
17      foundation.                                      17       Q. Why was Maxwell holding onto Caroline's
18         THE WITNESS: Fifth.                           18   passport?
19   BY MR. CASSELL:                                     19          MR. PAGLIUCA: Object to form and
20      Q. What did you do to Caroline when she          20       foundation.
21   refused to have sex with you?                       21          THE WITNESS: Filth.
22         MR. PAGLIUCA: Object to form and              22   BY MR. CASSELL:
23      foundation.                                      23       Q. What devices did you use -- try to use --
24         THE WITNESS: Fifth.                           24   strike that.
25                                                       25          How did you try to force this 15-year-old
                                            Page 235                                                     Page 237
 1            J. Epstein - Confidential                   1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                      2   girl to have sex with you?
 3      Q. What did Maxwell do to Caroline when you       3          MR. PAGLIUCA: Object to form and
 4   refused -- when she refused to have sex with you?    4      foundation.
 5         MR. PAGLIUCA: Object to form and               5          THE WITNESS: Fifth.
 6      foundation.                                       6   BY MR. CASSELL:
 7         THE WITNESS: Fifth.                            7      Q. Was Rizzo present at a time when you were
 8   BY MR. CASSELL:                                      8   petting like a cat a girl who was a pre-teenage girl?
 9      Q. Isn't it true, sir, that you tried to force    9          MR. PAGLIUCA: Object to form and
10   Caroline to have sex with you?                      10      foundation.
11         MR. PAGLIUCA: Object to form and              11          THE WITNESS: Fifth.
12      foundation.                                      12   BY MR. CASSELL:
13         THE WITNESS: Fifth.                           13      Q. Please describe all the times in which you
14   BY MR. CASSELL:                                     14   have petted like a cat pre-teenage girls.
15      Q. And isn't it true you coordinated with        15          MR. PAGLIUCA: Object to form and
16   Maxwell to try to force Caroline to have sex with   16      foundation.
17   you?                                                17          THE WITNESS: Fifth.
18         MR. PAGLIUCA: Object to form and              18   BY MR. CASSELL:
19      foundation.                                      19      Q. Was Rizzo present when you had a young girl
20         THE WITNESS: Fifth.                           20   on your lap?
21   BY MR. CASSELL:                                     21          MR. PAGLIUCA: Object to form and
22      Q. Who held Caroline's passport when she came    22      foundation.
23   over from Sweden?                                   23          THE WITNESS: Fifth.
24         MR. PAGLIUCA: Object to form and              24   BY MR. CASSELL:
25      foundation.                                      25      Q. Rizzo was telling the truth when he says




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 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   you were petting a girl like a cat, wasn't he?          2   for sexual purposes, right?
 3         MR. PAGLIUCA: Object to form and                  3          MR. PAGLIUCA: Object to form and
 4      foundation.                                          4       foundation.
 5         THE WITNESS: Fifth.                               5          THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                         6   BY MR. CASSELL:
 7      Q. You and Ms. Maxwell have had sex with a           7       Q. Ms. Maxwell helped to coordinate the
 8   woman named Johanna Sjorberg, right?                    8   arrival of girls that Figueroa brought over to your
 9         MR. PAGLIUCA: Object to the form and              9   house, right?
10      foundation.                                         10          MR. PAGLIUCA: Object to form and
11         THE WITNESS: Fifth.                              11       foundation.
12   BY MR. CASSELL:                                        12          THE WITNESS: Fifth.
13      Q. Please describe all of your interactions         13   BY MR. CASSELL:
14   with Johanna Sjorberg.                                 14       Q. Please describe all interactions that you
15         MR. PAGLIUCA: Object to form and                 15   are aware of between Ms. Maxwell and Tony Figueroa.
16      foundation.                                         16          MR. PAGLIUCA: Object to form and
17         THE WITNESS: Fifth.                              17       foundation.
18   BY MR. CASSELL:                                        18          THE WITNESS: Fifth.
19      Q. Please describe all of Miss Maxwell's inter      19   BY MR. CASSELL:
20
21
22
23
24
25
     actions with Johanna Sjorberg.
           MR. PAGLIUCA: Object to form and
        foundation.
           THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. Sir, it's true that Ms. Maxwell lured
                                                            20
                                                            21
                                                            22
                                                            23
                                                            24
                                                            25
                                                                 -   Q. You've had sex with a girl named


                                                                     foundation.
                                                                                  right?
                                                                        MR. PAGLIUCA: Object to form and

                                                                        THE WITNESS: Fifth.

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 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   Sjorberg from her school under the guise of needing     2   BY MR. CASSELL:
 3   someone to answer phones, right?                        3      Q. Who is
 4
 5
 6
 7
 8
 9
           MR. PAGLIUCA: Object to form and
        foundation.
           THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. When Miss Maxwell first interacted with
     Sjorberg, Maxwell's real purpose was to try to get
                                                             4
                                                             5
                                                             6
                                                             7
                                                             8
                                                             9
                                                                    A. Fifth.
                                                                    Q. You had sex with
                                                                                         -
                                                                 under the age of 18, right?
                                                                        MR. PAGLIUCA: Object to form and
                                                                    foundation.
                                                                        THE WITNESS: Fifth.
                                                                                                         when she was




10   Sjorberg to have sex with you, right?                  10   BY MR. CASSELL:
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12
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16
           MR. PAGLIUCA: Object to form and
        foundation.
           THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. In 2005, Maxwell was around your Florida
     mansion frequently, right?
                                                            11
                                                            12
                                                            13
                                                            14
                                                            15
                                                            16
                                                                 with
                                                                     -
                                                                    Q. Ms. Maxwell arranged for you to have sex

                                                                 right?
                                                                                     when she was under the age of 18,

                                                                        MR. PAGLIUCA: Object to form and
                                                                    foundation.
                                                                        THE WITNESS: Fifth.
17         MR. PAGLIUCA: Object to form and                 17   BY MR. CASSELL:
18
19
20
21
22
23
        foundation.
           THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. Tell me everything you know about a man
     name Tony Figueroa.
        A. Fifth.
                                                            18
                                                            19
                                                            20
                                                            21
                                                            22
                                                            23
                                                                 you to have sex with

                                                                    foundation.      -
                                                                    Q. Please describe the circumstances that led



                                                                        THE WITNESS: Fifth.
                                                                 BY MR. CASSELL:
                                                                                                    .
                                                                        MR. PAGLIUCA: Object to form and



24      Q. You asked a man named Tony Figueroa to           24      Q. Please describe all interactions between
25   arrange for underage girls to come over to your home   25                  and Ghislaine Maxwell.




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                                                   Page 242                                                      Page 244
 1            J. Epstein - Confidential                            1             J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                       2   testify, she would have to testify that she is aware
 3      foundation.                                                3   of sexual abuse by you of minor girls, right?
 4          THE WITNESS: Fifth.                                    4          MR. PAGLIUCA: Object to form and
 5   BY MR. CASSELL:                                               5      foundation.
 6
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11
     -  Q. You've had sex with a female named
                  when she was under the age of 18, right?
            MR. PAGLIUCA: Object to form and
        foundation.
            THE WITNESS: Fifth.
     BY MR. CASSELL:
                                                                   6
                                                                   7
                                                                   8
                                                                   9
                                                                  10
                                                                  11
                                                                              THE WITNESS: Fifth.



                                                                                   -
                                                                       BY MR. CASSELL:
                                                                          Q. Does                 have any knowledge of your
                                                                       sexual abuse of underage girls?
                                                                              MR. PAGLIUCA: Object to form and
                                                                          foundation.
12
13
14
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16
17
      - Q. Please describe all of your interactions
     with
            MR. PAGLIUCA: Object to form and
        foundation.
            THE WITNESS: Fifth.
     BY MR. CASSELL:
                                                                  12
                                                                  13
                                                                  14
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                                                                  17
                                                                              THE WITNESS: Fifth.
                                                                       BY MR. CASSELL:


                                                                                              -
                                                                          Q. It's true, sir, that             does have
                                                                       knowledge that you sexually abused underage girls,
                                                                       right?
                                                                              MR. PAGLIUCA: Object to form and
18
19
20
21
22
23
     interactions with

        foundation.   -
        Q. Please describe all of Maxwell's



            THE WITNESS. Fifth.
     BY MR. CASSELL:
                                   .
            MR. PAGLIUCA: Object to form and
                                                                  18
                                                                  19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                          foundation.
                                                                              THE WITNESS: Fifth.
                                                                       BY MR. CASSELL:


                                                                                              -
                                                                          Q. It's true, sir, that             has
                                                                       knowledge that Maxwell was involved in the sexual
                                                                       abuse of underage girls?
24      Q. It would be a fair description to say that             24          MR. PAGLIUCA: Object to form and
25   you and Maxwell were grooming                  to be a sex   25      foundation.
                                                   Page 243                                                      Page 245
 1            J. Epstein - Confidential                            1            J. Epstein - Confidential
 2   slave for you, right?                                         2          THE WITNESS: Fifth.
 3          MR. PAGLIUCA: Object to form and                       3   BY MR. CASSELL:
 4      foundation.                                                4       Q. To your knowledge, what does Maxwell -- I'm
 5
 6
 7
 8
 9
10   -
            THE WITNESS: Fifth.
     BY MR. CASSELL:
        Q. Why were you and Maxwell interacting with

          MR. PAGLIUCA: Object to form and
       foundation.
                                                                   5
                                                                   6
                                                                   7
                                                                   8
                                                                   9
                                                                  10
                                                                       sorry.
                                                                              To your knowledge, what does
                                                                                                           -
                                                                       know about Maxwell's sexual abuse of underage girls?
                                                                              MR. PAGLIUCA: Object to form and
                                                                           foundation.
                                                                              THE WITNESS: Fifth.
11        THE WITNESS: Fifth.                                     11   BY MR. CASSELL:
12   BY MR. CASSELL:                                              12       Q. Sir, you are aware that in about January
13
14
15
16
17
18
     - Q. Both you and Maxwell have had sex with
                right?
          MR. PAGLIUCA: Object to form and
       foundation.
          THE WITNESS: Fifth.
     BY MR. CASSELL:
                                                                  13
                                                                  14
                                                                  15
                                                                  16
                                                                  17
                                                                  18
                                                                       of 2015, Maxwell told the media that Virginia's
                                                                       allegations about sexual abuse were obvious lies,
                                                                       right?
                                                                              MR. PAGLIUCA: Object to form and
                                                                           foundation.
                                                                              THE WITNESS: Fifth.
19
20
21
22
23
24
     - Q. You remain on friendly terms with
                right?
          MR. PAGLIUCA: Object to form and
       foundation.
          THE WITNESS: Fifth.
     BY MR. CASSELL:
                                                                  19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                       BY MR. CASSELL:
                                                                           Q. In fact, you are not aware of any
                                                                       significant thing that Virginia has said, which is an
                                                                       obvious lie, right?
                                                                              MR. PAGLIUCA: Object to form and
                                                                           foundation.
25     Q. If           were to appear at trial and                25          THE WITNESS: Fifth.




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 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   BY MR. CASSELL:
 3      Q. Please list any lies that, sitting here            3       Q. You know Virginia Roberts, right?
 4   today, you're aware of that Virginia has ever told.      4          MR. PAGLIUCA: Object to form and
 5      A. Fifth.                                             5       foundation.
 6      Q. You're unwilling to identify any lies that         6          THE WITNESS: Fifth.
 7   Virginia has ever told, right?                           7   BY MR. CASSELL:
 8      A. Fifth.                                             8       Q. Based on your interactions with
 9      Q. In fact, you are unable to list any                9   Virginia Roberts, what sort of psychological impact
10   significant lies that Virginia has ever told?           10   do you think it had when she was called a liar by
11          MR. PAGLIUCA: Object to form and                 11   Maxwell?
12      foundation.                                          12          MR. PAGLIUCA: Object to form and
13          THE WITNESS: Fifth.                              13       foundation.
14   BY MR. CASSELL:                                         14          THE WITNESS: Fifth.
15      Q. Without regard to any sexual abuse that you       15   BY MR. CASSELL:
16   may or may not have committed in the past, do you       16       Q. It would have a significant psychological
17   agree that it is psychologically harmful for an adult   17   harm on Virginia Roberts for Maxwell to call her a
18   male to have sex with a minor female?                   18   liar about true statements, right?
19          MR. PAGLIUCA: Object to form and                 19          MR. PAGLIUCA: Object to form and
20      foundation.                                          20       foundation.
21          THE WITNESS: Fifth.                              21          THE WITNESS: Fifth.
22   BY MR. CASSELL:                                         22   BY MR. CASSELL:
23      Q. What sort of psychological impact do you          23       Q. Please tell me everything you know about
24   think it would have for a 40-year-old man to have sex   24   Nadia Marcinkova.
25   with a 17-year-old girl?                                25       A. Fifth.
                                                Page 247                                                   Page 249
 1             J. Epstein - Confidential                      1           J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                  2      Q. Please tell me everything you know about
 3       foundation.                                          3   Sarah Kellen.
 4          THE WITNESS: Fifth.                               4      A. Fifth.
 5   BY MR. CASSELL:                                          5      Q. Both you and Maxwell have had sex with
 6       Q. What kind of psychological impact do you          6   Nadia Marcinkova, right?
 7   think it would have for a 40-year-old -- a man in his    7         MR. PAGLIUCA: Object to form and
 8   40s to have sex with a 16-year-old girl?                 8      foundation.
 9          MR. PAGLIUCA: Object to form and                  9         THE WITNESS: Fifth.
10       foundation.                                         10
11          THE WITNESS: Fifth.                              11   BY MR. CASSELL:
12   BY MR. CASSELL:                                         12      Q. Both you and Maxwell have had sex with
13       Q. You would agree that calling someone a liar      13   Sarah Kellen?
14   when they're telling the truth can cause                14         MR. PAGLIUCA: Object to form and
15   psychological harm, right?                              15      foundation.
16          MR. PAGLIUCA: Object to form and                 16         THE WITNESS: Fifth.
17       foundation.                                         17   BY MR. CASSELL:
18          THE WITNESS: Fifth.                              18      Q. Please describe the role that Sarah Kellen
19   BY MR. CASSELL:                                         19   played in your sex trafficking organization.
20       Q. What kind of impact would calling someone a      20         MR. PAGLIUCA: Object to form and
21   liar when they are actually telling the truth?          21      foundation.
22          MR. PAGLIUCA: Object to form and                 22         THE WITNESS: Fifth.
23       foundation.                                         23   BY MR. CASSELL:
24          THE WITNESS: Fifth.                              24      Q. What did Sarah Kellen do for you in 2005?
25                                                           25         MR. PAGLIUCA: Object to form and




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                                            Page 250                                                    Page 252
 1           J. Epstein - Confidential                    1            J. Epstein - Confidential
 2      foundation.                                       2         MR. PAGLIUCA: Object to form and
 3         THE WITNESS: Fifth.                            3      foundation.
 4   BY MR. CASSELL:                                      4         THE WITNESS: Fifth.
 5      Q. In the years 2000 and 2001, what did           5   BY MR. CASSELL:
 6   Sarah Kellen do for you?                             6      Q. Sarah Kellen and Nadia Marcinkova are aware
 7         MR. PAGLIUCA: Object to form and               7   of your sexual abuse of underage girls, right?
 8      foundation.                                       8         MR. PAGLIUCA: Object to form and
 9         THE WITNESS: Fifth.                            9      foundation.
10   BY MR. CASSELL:                                     10         THE WITNESS: Fifth.
11      Q. It's true, sir, that in 2000 and 2001         11   BY MR. CASSELL:
12   Sarah Kellen assisted you in recruiting girls for   12      Q. Have you ever discussed the lawful age of
13   sexual purposes, right?                             13   consent with Ghislaine Maxwell?
14         MR. PAGLIUCA: Object to form and              14         MR. PAGLIUCA: Object to form and
15      foundation.                                      15      foundation.
16         THE WITNESS: Fifth.                           16         THE WITNESS: Fifth.
17   BY MR. CASSELL:                                     17   BY MR. CASSELL:
18      Q. In 2000 and 2001, Nadia Marcinkova assisted   18      Q. What is your understanding of the age of
19   you in obtaining girls for sexual purposes, true?   19   consent in Florida?
20         MR. PAGLIUCA: Object to form and              20         MR. PAGLIUCA: Object to form and
21      foundation.                                      21      foundation.
22         THE WITNESS: Fifth.                           22         THE WITNESS: Fifth.
23   BY MR. CASSELL:                                     23   BY MR. CASSELL:
24      Q. Who did Nadia Marcinkova report to when she   24      Q. You've discussed the age of consent in
25   worked for you?                                     25   Florida with Maxwell, right?
                                            Page 251                                                    Page 253
 1           J. Epstein - Confidential                    1            J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form and               2         MR. PAGLIUCA: Object to form and
 3      foundation.                                       3      foundation.
 4         THE WITNESS: Fifth.                            4         THE WITNESS: Fifth.
 5   BY MR. CASSELL:                                      5   BY MR. CASSELL:
 6      Q. Nadia Marcinkova reported to                   6      Q. What are the circumstances surrounding your
 7   Ghislaine Maxwell when she worked for you, right?    7   discussions with Maxwell of the age of consent in
 8         MR. PAGLIUCA: Object to form and               8   Florida?
 9      foundation.                                       9         MR. PAGLIUCA: Object to form and
10         THE WITNESS: Fifth.                           10      foundation.
11   BY MR. CASSELL:                                     11         THE WITNESS: Fifth.
12      Q. Who did Sarah Kellen report to when she       12   BY MR. CASSELL:
13   worked for you?                                     13      Q. In fact, you and Maxwell were discussing
14         MR. PAGLIUCA: Object to form and              14   the age of consent in Florida to try to make it
15      foundation.                                      15   appear as though you were having sex with girls who
16         THE WITNESS: Fifth.                           16   are above the age of consent other than below the age
17   BY MR. CASSELL:                                     17   of consent?
18      Q. Sarah Kellen reported to Ghislaine Maxwell    18         MR. PAGLIUCA: Object to form and
19   when she worked for you, right?                     19      foundation.
20         MR. PAGLIUCA: Object to form and              20         THE WITNESS: Fifth.
21      foundation.                                      21   BY MR. CASSELL:
22         THE WITNESS: Fifth.                           22      Q. Have you ever threatened
23   BY MR. CASSELL:                                     23   Alfredo Rodriguez?
24      Q. Sarah Kellen and Nadia Marcinkova sexually    24         MR. PAGLIUCA: Object to form and
25   abused under age girls in your presence, right?     25      foundation.




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 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2          MR. PAGLIUCA: Object to form and
 3   BY MR. CASSELL:                                          3       foundation.
 4      Q. In fact, you arranged for Alfredo Rodriguez        4          THE WITNESS: Fifth.
 5   to be threatened by Maxwell, right?                      5   BY MR. CASSELL:
 6          MR. PAGLIUCA: Object to form and                  6       Q. Allegations Virginia made had never been
 7      foundation.                                           7   shown to be untrue, had they?
 8          THE WITNESS: Fifth.                               8          MR. PAGLIUCA: Object to form and
 9   BY MR. CASSELL:                                          9       foundation.
10      Q. In 2009, your attorneys attended a                10          THE WITNESS: Fifth.
11   deposition of Alfredo Rodriguez, right?                 11   BY MR. CASSELL:
12      A. Fifth.                                            12       Q. I'll represent to you that Ms. Maxwell
13      Q. At that time, it was in your interest to          13   released a statement that said, "Each time the story
14   limit the ways in which Rodriguez could expose the      14   is retold it changes with new salacious details about
15   sex abuse of both you and Maxwell, right?               15   public figures and world leaders." And then there's
16          MR. PAGLIUCA: Object to form and                 16   some additional language.
17      foundation.                                          17          You had, in fact, sexually trafficked
18          THE WITNESS: Fifth.                              18   Virginia to public figures?
19   BY MR. CASSELL:                                         19          MR. PAGLIUCA: Object to form and
20      Q. When Rodriguez was describing Maxwell's           20       foundation.
21   involvement with underage girls, your attorneys had     21          THE WITNESS: Fifth.
22   an interest in attacking that testimony, right?         22   BY MR. CASSELL:
23          MR. PAGLIUCA: Object to form and                 23       Q. In fact, you had trafficked Virginia to
24      foundation.                                          24   world leaders, right?
25          MR. WEINBERG: Attorney-client                    25          MR. PAGLIUCA: Object to form and
                                               Page 255                                                      Page 257
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      privilege.                                            2      foundation.
 3         THE WITNESS: Fifth.                                3         THE WITNESS: Fifth.
 4         MR. WEINBERG: If the information came              4   BY MR. CASSELL:
 5      from attorneys.                                       5      Q. And Maxwell had assisted you in trafficking
 6         MR. CASSELL: Could we take a short                 6   Virginia to public figures and world leaders?
 7      break at this time?                                   7         MR. PAGLIUCA: Object to form and
 8         VIDEO TECHNICIAN: Off the record at                8      foundation.
 9      11:35.                                                9         THE WITNESS: Fifth.
10         (A recess was taken.)                             10   BY MR. CASSELL:
11         VIDEO TECHNICIAN: Beginning of disc               11      Q. Please describe the public figures you and
12      three. On the record at 11:50.                       12   Maxwell and Virginia interacted with.
13   BY MR. CASSELL:                                         13         MR. PAGLIUCA: Object to form and
14      Q. Sir, I want to represent to you that on           14      foundation.
15   about January 2nd, 2015, Defendant Maxwell released a   15         THE WITNESS: Fifth.
16   statement that said, "The allegations made by           16   BY MR. CASSELL:
17   Virginia Roberts against Ghislaine Maxwell are          17      Q. Please describe the world leaders you and
18   untrue."                                                18   Virginia and Maxwell interacted with.
19         That was a false statement, right?                19         MR. PAGLIUCA: Object to form and
20         MR. PAGLIUCA: Object to form and                  20      foundation.
21      foundation.                                          21         THE WITNESS: Fifth.
22         THE WITNESS: Fifth.                               22   BY MR. CASSELL:
23   BY MR. CASSELL:                                         23      Q. I represent to you that around January 2nd,
24      Q. In fact, the allegations made by                  24   2015, Ms. Maxwell released this statement that
25   Virginia Roberts against Ghislaine Maxwell were true?   25   "Ms. Roberts' claims are obvious lies and should be




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 2   treated as such." Then there's some additional           2   earlier?
 3   language.                                                3          MR. PAGLIUCA: Object to form and
 4           That statement by Ms. Maxwell was, in fact,      4      foundation.
 5   itself an obvious lie, right?                            5          THE WITNESS: Fifth.
 6           MR. PAGLIUCA: Object to form and                 6   BY MR. CASSELL:
 7       foundation.                                          7      Q. So that would have been in about March or
 8           THE WITNESS: Fifth.                              8   April of 2001 that Prince Andrew visited you in your
 9   BY MR. CASSELL:                                          9   New York mansion?
10       Q. Miss Maxwell's reference to "obvious lies"       10          MR. PAGLIUCA: Object to form and
11   was inaccurate, right?                                  11      foundation.
12           MR. PAGLIUCA: Object to form and                12          THE WITNESS: Fifth.
13       foundation.                                         13   BY MR. CASSELL:
14           THE WITNESS: Fifth.                             14      Q. Has Prince Andrew ever visited you in your
15   BY MR. CASSELL:                                         15   New York mansion?
16       Q. In fact, given your detailed knowledge of        16          MR. PAGLIUCA: Object to form and
17   all the circumstances of the case, you know that that   17      foundation.
18   was an obvious lie by Maxwell, right?                   18          THE WITNESS: Fifth.
19           MR. PAGLIUCA: Object to form and                19   BY MR. CASSELL:
20       foundation.                                         20      Q. When Prince Andrew visited you in your New
21           THE WITNESS: Fifth.                             21   York Mansion, Maxwell was there, right?
22   BY MR. CASSELL:                                         22      A. Fifth.
23       Q. Is it true that Ms. Roberts' claims are          23      Q. Who was in your New York mansion when
24   obvious lies?                                           24   Maxwell -- I'm sorry, when Prince Andrew visited?
25           MR. PAGLIUCA: Object to form and                25          MR. PAGLIUCA: Object to form and
                                                Page 259                                                    Page 261
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      foundation.                                           2      foundation.
 3         THE WITNESS: Fifth.                                3          THE WITNESS: Fifth.
 4   BY MR. CASSELL:                                          4   BY MR. CASSELL:
 5      Q. In fact, it is not true that Ms. Roberts'          5      Q. Prince Andrew interacted with Virginia in
 6   claims are obvious lies?                                 6   your New York mansion, right?
 7         MR. PAGLIUCA: Object to form and                   7          MR. PAGLIUCA: Object to form and
 8      foundation.                                           8      foundation.
 9   BY MR. CASSELL:                                          9          THE WITNESS: Fifth.
10      Q. Answer?                                           10   BY MR. CASSELL:
11      A. You didn't ask me a question.                     11      Q. Maxwell was present when Prince Andrew
12      Q. In fact, it is not true that Ms. Roberts'         12   interacted with Virginia in your New York mansion,
13   claims are obvious lies, right?                         13   right?
14         MR. PAGLIUCA: Object to form and                  14          MR. PAGLIUCA: Object to form and
15      foundation.                                          15      foundation.
16         THE WITNESS: Fifth.                               16          THE WITNESS: Fifth.
17   BY MR. CASSELL:                                         17   BY MR. CASSELL:
18      Q. Prince Andrew visited your New York               18      Q. There was a puppet in the room when Maxwell
19   mansion, right?                                         19   and Virginia and Prince Andrew were all together in
20         MR. PAGLIUCA: Object to form and                  20   your New York mansion?
21      foundation.                                          21          MR. PAGLIUCA: Object to form and
22         THE WITNESS: Fifth.                               22      foundation.
23   BY MR. CASSELL:                                         23          THE WITNESS: Fifth.
24      Q. That visit occurred shortly after the             24   BY MR. CASSELL:
25   events depicted in the photograph we looked at          25      Q. A puppet was used to fondle the breasts of




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 1            J. Epstein - Confidential                   1            J. Epstein - Confidential
 2   girls under the age of 18, right?                    2   between Sarah Kellen and Ghislaine Maxwell.
 3          MR. PAGLIUCA: Object to form and              3         MR. PAGLIUCA: Object to form and
 4      foundation.                                       4      foundation.
 5          THE WITNESS: Fifth.                           5         THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                      6   BY MR. CASSELL:
 7      Q. Who fondled the breasts of underage girls      7      Q. In 2000 to 2001, Sarah Kellen was
 8   in your New York mansion with a puppet?              8   controlled by Ghislaine Maxwell, right?
 9          MR. PAGLIUCA: Object to form and              9         MR. PAGLIUCA: Object to form and
10      foundation.                                      10      foundation.
11          THE WITNESS: Fifth.                          11         THE WITNESS: Fifth.
12   BY MR. CASSELL:                                     12   BY MR. CASSELL:
13      Q. To your knowledge, Prince Andrew had sex      13      Q. Please describe all of the relationships
14   with Virginia several times, right?                 14   Ghislaine Maxwell has with your companies and
15          MR. PAGLIUCA: Object to form and             15   businesses.
16      foundation.                                      16         MR. PAGLIUCA: Object to form and
17          THE WITNESS: Fifth.                          17      foundation.
18   BY MR. CASSELL:                                     18         THE WITNESS: Fifth.
19      Q. Nadia Marcinkova was controlled by            19   BY MR. CASSELL:
20   Ghislaine Maxwell, right?                           20      Q. In fact, Maxwell has been a partner with
21          MR. PAGLIUCA: Object to form and             21   you in several of your business enterprises, right?
22      foundation.                                      22         MR. PAGLIUCA: Object to form and
23          THE WITNESS: Fifth.                          23      foundation.
24   BY MR. CASSELL:                                     24         THE WITNESS: Fifth.
25      Q. We talked about the timeframe 2000 to 2001.   25
                                            Page 263                                                     Page 265
 1           J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   Who controlled Nadia Marcinkova?                     2   BY MR. CASSELL:
 3         MR. PAGLIUCA: Object to form and               3       Q. You continue to have a very close working
 4      foundation.                                       4   relationship with Maxwell today, right?
 5         THE WITNESS: Fifth.                            5           MR. PAGLIUCA: Object to form and
 6   BY MR. CASSELL:                                      6       foundation.
 7      Q. In 2000 to 2001, Maxwell controlled            7           THE WITNESS: Fifth.
 8   Nadia Marcinkova, right?                             8   BY MR. CASSELL:
 9         MR. PAGLIUCA: Object to form and               9       Q. You and Maxwell have been coordinating
10      foundation.                                      10   together on this litigation, right?
11         THE WITNESS: Fifth.                           11           MR. PAGLIUCA: Object to form and
12   BY MR. CASSELL:                                     12       foundation.
13      Q. In fact, Nadia Marcinkova remains indebted    13           THE WITNESS: Fifth.
14   to Maxwell even today, right?                       14   BY MR. CASSELL:
15         MR. PAGLIUCA: Object to form and              15       Q. You hope that Maxwell prevails in this
16      foundation.                                      16   litigation, right?
17         THE WITNESS: Fifth.                           17           MR. PAGLIUCA: Object to form and
18   BY MR. CASSELL:                                     18       foundation.
19      Q. In fact, Sarah Kellen remains indebted to     19           THE WITNESS: Fifth.
20   Maxwell even today, right?                          20   BY MR. CASSELL:
21         MR. PAGLIUCA: Object to form and              21       Q. You and Ghislaine Maxwell regularly
22      foundation.                                      22   transported girls across state lines for sexual
23         THE WITNESS: Fifth.                           23   purposes, right?
24   BY MR. CASSELL:                                     24           MR. PAGLIUCA: Object to form and
25      Q. Describe -- describe the relationship         25       foundation.




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                                                Page 266                                                   Page 268
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2       foundation.
 3   BY MR. CASSELL:                                          3          THE WITNESS: Fifth.
 4      Q. Please describe all the situations in which        4   BY MR. CASSELL:
 5   you and Maxwell have been involved in the interstate     5       Q. In fact, you have threatened witnesses not
 6   transportation of girls under the age of 18.             6   to talk, right?
 7          MR. PAGLIUCA: Object to form and                  7          MR. PAGLIUCA: Object to form and
 8      foundation.                                           8       foundation.
 9          THE WITNESS: Fifth.                               9          THE WITNESS: Fifth.
10   BY MR. CASSELL:                                         10   BY MR. CASSELL:
11      Q. You have used cell phones and land line           11       Q. In fact, Ghislaine Maxwell has threatened
12   cell phone -- land line telephones to instruct          12   witnesses not to talk, right?
13   Virginia Roberts to have sex, right?                    13          MR. PAGLIUCA: Object to form and
14          MR. PAGLIUCA: Object to form and                 14       foundation.
15      foundation.                                          15          THE WITNESS: Fifth.
16          THE WITNESS: Fifth.                              16   BY MR. CASSELL:
17   BY MR. CASSELL:                                         17       Q. In about 2007, you arranged to have someone
18      Q. You've given instructions by telephone to         18   hunt down and find Virginia, right?
19   Virginia Roberts to have sex with people while she is   19          MR. PAGLIUCA: Object to form and
20   under the age of -- while she was under the age of      20       foundation.
21   18, right?                                              21          THE WITNESS: Fifth.
22          MR. PAGLIUCA: Object to form and                 22   BY MR. CASSELL:
23      foundation.                                          23       Q. How did you find Virginia in 2007?
24          THE WITNESS: Fifth.                              24          MR. PAGLIUCA: Object to form and
25                                                           25       foundation.
                                                Page 267                                                   Page 269
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2         THE WITNESS: Fifth.
 3       Q. You have instructed girls under the age of        3   BY MR. CASSELL:
 4   18 via telephone and cell phone to have sex with men,    4      Q. The reason you needed to find Virginia in
 5   right?                                                   5   2007 was because the FBI had opened an investigation
 6          MR. PAGLIUCA: Object to form and                  6   on you, right?
 7       foundation.                                          7         MR. PAGLIUCA: Object to form and
 8          THE WITNESS: Fifth.                               8      foundation.
 9   BY MR. CASSELL:                                          9         THE WITNESS: Fifth.
10       Q. You've instructed girls under the age of 18      10   BY MR. CASSELL:
11   by telephone to have sex with various of your           11      Q. When was the last time you spoke to
12   friends, right?                                         12   Ms. Giuffre?
13          MR. PAGLIUCA: Object to form and                 13         MR. PAGLIUCA: Object to form and
14       foundation.                                         14      foundation.
15          THE WITNESS: Fifth.                              15         THE WITNESS: Who?
16   BY MR. CASSELL:                                         16   BY MR. CASSELL:
17       Q. Have you ever threatened a witness not to        17      Q. Miss Virginia Roberts --
18   talk?                                                   18      A. Sorry. Sorry.
19          MR. PAGLIUCA: Object to form and                 19      Q. -- Giuffre. Yeah. Virginia, I should say.
20       foundation.                                         20   Yeah.
21          THE WITNESS: Fifth.                              21      A. Fifth.
22   BY MR. CASSELL:                                         22      Q. When was the last time you spoke to
23       Q. Has Ghislaine Maxwell ever threatened a          23   Virginia?
24   witness not to talk?                                    24      A. Fifth.
25          MR. PAGLIUCA: Object to form and                 25      Q. In fact, you and your attorney actually got




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   together on the phone with Virginia in about 2007,       2      A. Fifth.
 3   right?                                                   3          MR. PAGLIUCA: Object to form and
 4          MR. PAGLIUCA: Object to form and                  4      foundation.
 5      foundation.                                           5   BY MR. CASSELL:
 6          THE WITNESS: Fifth.                               6      Q. You suggested that those who talked to the
 7   BY MR. CASSELL:                                          7   FBI would be harmed, all those who did not, would be
 8      Q. Which of your attorneys was on the phone           8   helped, right?
 9   with Virginia in about 2007?                             9          MR. PAGLIUCA: Object to form and
10      A. Fifth.                                            10      foundation.
11      Q. Was it Mr. Goldberger?                            11          THE WITNESS: Fifth.
12          MR. WEINBERG: Attorney-client.                   12   BY MR. CASSELL:
13          MR. GOLDBERGER: And attorney-client.             13      Q. And those communications you had with
14      I apologize. I'm sorry.                              14   Virginia in 2007 influenced the settlement of
15   BY MR. CASSELL:                                         15   Virginia's civil case against you in 2009?
16      Q. This is -- I'm talking about a telephone          16          MR. PAGLIUCA: Object to form and
17   call where there was a third party, Virginia Roberts    17      foundation.
18   Giuffre, on the phone.                                  18          THE WITNESS: Fifth.
19          That was Mr. Goldberger on the phone?            19   BY MR. CASSELL:
20          MR. PAGLIUCA: Object to form and                 20      Q. The first time you met Virginia
21      foundation.                                          21   Ghislaine Maxwell came up to the room with you as
22          THE WITNESS: Fifth.                              22   well, right?
23          MR. GOLDBERGER: And attorney-client              23          MR. PAGLIUCA: Object to form and
24      privilege.                                           24      foundation.
25                                                           25          THE WITNESS: Fifth.
                                               Page 271                                                     Page 273
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   BY MR. CASSELL:
 3      Q. During the call, Mr. Epstein, you asked            3      Q. Please describe who was in the room, your
 4   Virginia if she was going to say anything to the FBI,    4   massage room, the first time you met
 5   right?                                                   5   Virginia Roberts.
 6          MR. PAGLIUCA: Object to form and                  6          MR. PAGLIUCA: Object to form and
 7      foundation.                                           7      foundation.
 8          THE WITNESS: Fifth.                               8          THE WITNESS: Fifth.
 9   BY MR. CASSELL:                                          9   BY MR. CASSELL:
10      Q. The clear implication of your question what       10      Q. Ghislaine Maxwell participated in the
11   to Virginia was that she should not say anything to     11   sexual abuse of Virginia the first time she came over
12   the FBI, right?                                         12   to your house, right?
13          MR. PAGLIUCA: Object to form and                 13          MR. PAGLIUCA: Object to form and
14      foundation.                                          14      foundation.
15          THE WITNESS: Fifth.                              15          THE WITNESS: Fifth.
16   BY MR. CASSELL:                                         16   BY MR. CASSELL:
17      Q. You told Virginia directly or indirectly          17      Q. What kind of instructions did Maxwell give
18   was the best thing for her and her family was to keep   18   Virginia when you first met Virginia?
19   quiet, right?                                           19          MR. PAGLIUCA: Object to form and
20          MR. PAGLIUCA: Object to form and                 20      foundation.
21      foundation.                                          21          THE WITNESS: Fifth.
22          THE WITNESS: Fifth.                              22   BY MR. CASSELL:
23   BY MR. CASSELL:                                         23      Q. In fact, Maxwell instructed Virginia how to
24      Q. What did you tell Virginia in 2007 when you       24   sexually please you the first time she met you,
25   were on the phone with an attorney?                     25   right?




                                                                                   69 (Pages 270 to 273)
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                                              Page 274                                                   Page 276
 1           J. Epstein - Confidential                     1             J. Epstein - Confidential
 2        MR. PAGLIUCA: Object to form and                 2       Q. In fact, the question I just asked you was
 3     foundation.                                         3   a leading question, as an example, correct?
 4        THE WITNESS: Fifth.                              4       A. Fifth.
 5        MR. CASSELL: Those are my questions at           5       Q. You would agree with me that Mr. Cassell's
 6     this point. I understand Mr. Pagliuca may           6   questions about Ms. Maxwell had no basis in fact,
 7     have some questions, and I'll have some             7   correct?
 8     follow-up based on that.                            8           MR. CASSELL: Objection to form and
 9        MR. GOLDBERGER: Okay. So why don't we            9       foundation.
10     take ten or 15. You guys can eat your              10           THE WITNESS: Fifth.
11     lunch, and we'll go into my office. And            11   BY MR. PAGLIUCA:
12     about ten, 15-minutes we'll come in.               12       Q. You would agree with me that the purported
13        THE WITNESS: It's 12 now. 12:15 come            13   factual basis underlying Mr. Cassell's questions did
14     back?                                              14   not occur, correct?
15        MR. CASSELL: That's fine.                       15           MR. CASSELL: Object to form and
16        VIDEO TECHNICIAN: Off the record at             16       foundation.
17     12:00 o'clock.                                     17           THE WITNESS: Fifth.
18        (A lunch recess was taken.)                     18   BY MR. PAGLIUCA:
19        AFTERNOON SESSION                               19       Q. And you would agree with me that had you
20                 - - -                                  20   been able to answer Mr. Cassell's questions, your
21        VIDEO TECHNICIAN: On the record at              21   answers would have supported Ms. Maxwell in this
22     12:21.                                             22   litigation and not supported the Plaintiff, correct?
23        MR. GOLDBERGER: Jeffrey, before you             23           MR. CASSELL: Object to form and
24     ask your question, did -- did we reach the         24       foundation, and calls for a legal
25     same agreement with you that we did with           25       conclusion.
                                              Page 275                                                   Page 277
 1             J. Epstein - Confidential                   1             J. Epstein - Confidential
 2      Mr. Cassell concerning the more -- the             2          THE WITNESS: Fifth.
 3      longer Fifth Amendment invocation?                 3   BY MR. PAGLIUCA:
 4          MR. PAGLIUCA: Yes. In the beginning            4       Q. In fact, had you been able to answer, you
 5      of the deposition I indicated that that was        5   would have denied any sexual impropriety with the
 6      perfectly acceptable with me.                      6   Plaintiff in this case, formerly Ms. Roberts, now
 7          MR. GOLDBERGER: Okay.                          7   Ms. Giuffre, correct?
 8          MR. PAGLIUCA: And I'm also happy,              8          MR. CASSELL: Object to form and
 9      Mr. Cassell, if you want to make form and          9       foundation.
10      foundation objections, I will understand          10          THE WITNESS: Fifth.
11      that that encompasses the totality of the         11   BY MR. PAGLIUCA:
12      objections.                                       12       Q. And you would have denied any sexual
13          MR. CASSELL: All right.                       13   impropriety with any other individuals in answer to
14               CROSS-EXAMINATION                        14   Mr. Cassell's questions had you been able to answer,
15   BY MR. PAGLIUCA:                                     15   correct?
16      Q. Good afternoon, Mr. Epstein. My name is        16          MR. CASSELL: Form and foundation.
17   Jeff Pagliuca.                                       17          THE WITNESS: Fifth.
18          We have never met before, correct?            18   BY MR. PAGLIUCA:
19      A. Correct.                                       19       Q. Mr. Cassell asked you some questions about
20      Q. Mr. Epstein, you were asked a number of        20   your financial status. I'm going to repeat a couple
21   leading questions by Mr. Cassell this morning and    21   of those briefly.
22   into this afternoon.                                 22          You would agree with me that you are a very
23          You understand what a leading question is,    23   wealthy man, correct, Mr. Epstein?
24   correct?                                             24       A. Fifth.
25      A. Fifth.                                         25          MR. CASSELL: Object to form and




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                                            Page 278                                                 Page 280
 1            J. Epstein - Confidential                   1            J. Epstein - Confidential
 2      foundation.                                       2         THE WITNESS: Fifth.
 3         THE WITNESS: Sorry.                            3   BY MR. PAGLIUCA:
 4   BY MR. PAGLIUCA:                                     4      Q. Any relationship you had, whether personal
 5      Q. You would agree with me that you do not        5   or business, ended with Ms. Maxwell more than
 6   depend on Ghislaine Maxwell for any financial        6   15 years ago, correct?
 7   support, correct?                                    7         MR. CASSELL: Object to form and
 8         MR. CASSELL: Object to form and                8      foundation.
 9      foundation.                                       9         THE WITNESS: Fifth.
10         THE WITNESS: Fifth.                           10   BY MR. PAGLIUCA:
11   BY MR. PAGLIUCA:                                    11      Q. Ms. Maxwell is not --
12      Q. You do not have any business relationship     12         MR. CASSELL: I'm sorry. Could you
13   with Ghislaine Maxwell, correct?                    13      mark that question for me as well? The last
14         MR. CASSELL: Object to form and               14      one.
15      foundation and vague.                            15   BY MR. PAGLIUCA:
16         THE WITNESS: Fifth.                           16      Q. Ms. Maxwell is not an employee of yours,
17   BY MR. PAGLIUCA:                                    17   correct?
18      Q. You do not have any social relationship       18         MR. CASSELL: Object to form and
19   with Ghislaine Maxwell, correct?                    19      foundation.
20         MR. CASSELL: Object to form and               20         THE WITNESS: Fifth.
21      foundation and vague.                            21   BY MR. PAGLIUCA:
22         THE WITNESS: Fifth.                           22      Q. Ms. Maxwell is not an agent of yours,
23   BY MR. PAGLIUCA:                                    23   correct?
24      Q. All right. You have not spoken to             24         MR. CASSELL: Object to form and
25   Ghislaine Maxwell in many years, correct?           25      foundation. Calls for a legal conclusion.
                                            Page 279                                                 Page 281
 1            J. Epstein - Confidential                   1            J. Epstein - Confidential
 2          MR. CASSELL: Object to form and               2         THE WITNESS: Fifth.
 3      foundation, and vague as to what the term         3   BY MR. PAGLIUCA:
 4      "spoken" means.                                   4      Q. Ms. -- Ms. Maxwell -- you are not an agent
 5          THE WITNESS: Fifth.                           5   of Ms. Maxwell's, correct?
 6   BY MR. PAGLIUCA:                                     6         MR. CASSELL: Object to form and
 7      Q. You've not had any verbal communication,       7      foundation. Calls for a legal conclusion.
 8   meaning oral, with Ms. Maxwell for many years,       8         THE WITNESS: Fifth.
 9   correct?                                             9   BY MR. PAGLIUCA:
10          MR. CASSELL: Object to form and              10      Q. Ms. Maxwell has never authorized you to act
11      foundation.                                      11   on her behalf, correct?
12          THE WITNESS: Fifth.                          12         MR. CASSELL: Object to form and
13   BY MR. PAGLIUCA:                                    13      foundation.
14      Q. You have not physically seen Ms. Maxwell in   14         THE WITNESS: Fifth.
15   many years, correct?                                15   BY MR. PAGLIUCA:
16      A. Fifth.                                        16      Q. Ms. Maxwell does not control any of your
17      Q. You have not --                               17   decisions in any way --
18          MR. CASSELL: I'm sorry. I missed the         18         MR. CASSELL: Object to form --
19      -- form and foundation objection.                19   BY MR. PAGLIUCA:
20   BY MR. PAGLIUCA:                                    20      Q. -- correct?
21      Q. You have not been in any location             21         MR. CASSELL: Sorry. Object to form
22   contemporaneously with Ms. Maxwell in many years,   22      and foundation.
23   correct?                                            23         THE WITNESS: Fifth.
24          MR. CASSELL: Object to form and              24   BY MR. PAGLIUCA:
25      foundation.                                      25      Q. Do you understand that Ms. Maxwell opposes




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 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2   you asserting any Fifth Amendment privilege in this     2   of that agreement are, Mr. Epstein.
 3   matter?                                                 3          MR. CASSELL: Object to form and
 4          MR. CASSELL: Objects to form -- object           4       foundation.
 5      and foundation.                                      5          THE WITNESS: Fifth.
 6          THE WITNESS: Fifth.                              6   BY MR. PAGLIUCA:
 7   BY MR. PAGLIUCA:                                        7       Q. Does the settlement agreement contain a
 8      Q. Do you understand that Ms. Maxwell believes       8   release of any claims that Ms. Giuffre had or would
 9   that your truthful testimony in this case would be      9   have against you?
10   helpful to her?                                        10          MR. CASSELL: Object to form and
11          MR. CASSELL: Object to form and                 11       foundation.
12      foundation. Calls for speculation.                  12          THE WITNESS: Fifth.
13          THE WITNESS: Fifth.                             13   BY MR. PAGLIUCA:
14   BY MR. PAGLIUCA:                                       14       Q. Did the settlement agreement provide for a
15      Q. You indicated earlier that you and I have        15   release by you of any claims against Giuffre?
16   never met.                                             16          MR. CASSELL: Form and foundation.
17          You and I have never spoken prior to today,     17          THE WITNESS: Fifth.
18   correct?                                               18   BY MR. PAGLIUCA:
19          MR. CASSELL: Object to form and                 19       Q. It's true, is it not, Mr. Epstein, you have
20      foundation.                                         20   no economic interest in this litigation?
21          THE WITNESS: Fifth.                             21          MR. CASSELL: Form and foundation.
22   BY MR. PAGLIUCA:                                       22       Calls for a legal conclusion.
23      Q. You have never spoken to any member of my        23          THE WITNESS: Fifth.
24   law firm prior to today, correct?                      24   BY MR. PAGLIUCA:
25          MR. CASSELL: Object to form and                 25       Q. And by "this litigation," I mean the
                                               Page 283                                                     Page 285
 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2      foundation.                                          2   litigation we are here on today, the Plaintiff being
 3         THE WITNESS: Fifth.                               3   Ms. Giuffre, the Defendant being Ms. Maxwell.
 4   BY MR. PAGLIUCA:                                        4           So, to be clear, you are not named as a
 5      Q. In 2009, you entered into a settlement            5   Defendant in that litigation, correct?
 6   agreement with Ms. Giuffre, formerly known as           6           MR. CASSELL: Form and foundation.
 7   Ms. Roberts, the Plaintiff in this case, correct?       7           THE WITNESS: Fifth.
 8         MR. CASSELL: Object to form and                   8   BY MR. PAGLIUCA:
 9      foundation.                                          9       Q. The outcome of this litigation, the Giuffre
10         THE WITNESS: Fifth.                              10   versus Maxwell litigation, will have no impact on you
11         MR. GOLDBERGER: And attorney-client              11   financially, correct?
12      privilege. And to the extent that there's           12           MR. CASSELL: Form and foundation.
13      an agreement that exists that's                     13           THE WITNESS: Fifth.
14      confidential, we will not waive the                 14   BY MR. PAGLIUCA:
15      confidentiality agreement.                          15       Q. And the outcome of -- of this litigation
16         MR. PAGLIUCA: And we can have -- you             16   will not affect you in any way, correct?
17      can have a standing objection to that on            17           MR. CASSELL: Form and foundation.
18      those grounds related to any question I ask         18           THE WITNESS: Fifth.
19      about the settlement agreement with                 19   BY MR. PAGLIUCA:
20      Ms. Giuffre, if that makes it easier.               20       Q. In 2007 you entered into what's been
21         MR. GOLDBERGER: Yeah. That makes it              21   referred to here today as a non-prosecution agreement
22      easier. Thank you.                                  22   with the United States Government; is that correct?
23   BY MR. PAGLIUCA:                                       23       A. Fifth.
24      Q. I've not seen the settlement agreement.          24       Q. And as part of that non-prosecution
25   But let me ask you if you can tell me what the terms   25   agreement, the United States of America agreed to not




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 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   institute criminal charges against alleged potential    2   a witness to testify in this case, correct?
 3   co-conspirators in that matter, including               3      A. Fifth.
 4   Sarah Kellen, Adriana Ross, Leslie Goth (phonetic),     4          MR. CASSELL: Object to form and
 5   or Nadia Marcinkova; is that correct?                   5      foundation. Calls for a legal conclusion.
 6          MR. CASSELL: Form and foundation.                6          MR. WEINBERG: The answer would be
 7       Calls for a legal conclusion.                       7      based on the attorney-client privilege
 8          MR. WEINBERG: To the extent your                 8      communication.
 9       knowledge is based on communications with           9          MR. GOLDBERGER: I think he said, the
10       attorneys, attorney-client privilege.              10      Fifth.
11          THE WITNESS: Fifth.                             11          THE COURT REPORTER: Okay.
12   BY MR. PAGLIUCA:                                       12          THE WITNESS: Fifth.
13       Q. You were provided, Mr. Epstein, with a copy     13   BY MR. PAGLIUCA:
14   of the non-prosecution agreement that you entered      14      Q. And setting aside any communications that
15   into with the United States Government in 2007,        15   you may have had with any lawyers representing you,
16   correct?                                               16   absent the efforts by Mr. Cassell and Edwards to have
17       A. Fifth.                                          17   your non-prosecution agreement voided, you would be
18          MR. WEINBERG: Attorney-client                   18   able to testify as a witness in this matter, correct?
19       privilege.                                         19          MR. CASSELL: Form and foundation.
20   BY MR. PAGLIUCA:                                       20      Calls for a legal conclusion.
21       Q. And you've read a non-prosecution agreement     21          THE WITNESS: Fifth.
22   that you entered into with the United States           22   BY MR. PAGLIUCA:
23   Government in 2007 before you signed it, correct?      23      Q. Absent the efforts by Mr. Cassell and
24       A. Fifth.                                          24   Mr. Edwards to void your non-prosecution agreement,
25       Q. Ms. Maxwell was not identified by name in       25   you would be willing to testify as a witness in this
                                               Page 287                                                    Page 289
 1             J. Epstein - Confidential                     1              J. Epstein - Confidential
 2   the non-prosecution agreement, correct?                 2   case, correct?
 3       A. Fifth.                                           3          MR. CASSELL: Form and foundation.
 4       Q. And Ms. Maxwell was not identified in the        4      Speculation.
 5   non-prosecution agreement because she was not a         5          THE WITNESS: Fifth.
 6   conspirator in any crime, correct?                      6   BY MR. PAGLIUCA:
 7          MR. CASSELL: Form and foundation.                7      Q. And absent the efforts by Mr. Cassell and
 8       Calls for a legal conclusion.                       8   Mr. Edwards to void your non-prosecution agreement,
 9          THE WITNESS: Fifth.                              9   your willing, truthful testimony in this case would
10   BY MR. PAGLIUCA:                                       10   be helpful to Ms. Maxwell, correct?
11       Q. You are aware, from sources other than your     11          MR. CASSELL: Form. Foundation. Calls
12   lawyers, that Mr. Edwards, who is one of the           12      for a legal conclusion. Speculation.
13   Plaintiff's lawyers in this case, and Mr. Cassell,     13          THE WITNESS: Fifth.
14   who has taken your deposition here today, are          14   BY MR. PAGLIUCA:
15   attempting to have your non-prosecution agreement      15      Q. You were asked some questions by
16   with the United States Government voided, correct?     16   Mr. Cassell about the lawsuit by Ms. Roberts against
17       A. Fifth.                                          17   you.
18          MR. CASSELL: Object to form and                 18          It's true, is it not, that the allegations
19       foundation.                                        19   contained in that complaint against you by Ms. --
20          MR. GOLDBERGER: And attorney-client             20   then Roberts or Giuffre were false, correct?
21       privilege.                                         21          MR. CASSELL: Form. Foundation.
22   BY MR. PAGLIUCA:                                       22          THE WITNESS: Fifth.
23       Q. Absent the attempts by Mr. Cassell and          23   BY MR. PAGLIUCA:
24   Edwards on behalf of their clients to void your        24      Q. And any allegations in that complaint by
25   non-prosecution agreement, you would be available as   25   Ms. Giuffre/Roberts against you relating to




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 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2   Ms. Maxwell were false, correct?                        2   understood that the statements made about Ms. Maxwell
 3          MR. CASSELL: Form. Foundation.                   3   were false, correct?
 4          THE WITNESS: Fifth.                              4          MR. CASSELL: Form. Foundation.
 5   BY MR. PAGLIUCA:                                        5          THE WITNESS: Fifth.
 6      Q. Can you tell me, Mr. Epstein, given that          6   BY MR. PAGLIUCA:
 7   the allegations against you in the complaint by         7       Q. You understood that those statements were
 8   Ms. Roberts/Giuffre were false, why did you settle      8   false because Ms. Maxwell did not recruit
 9   the lawsuit?                                            9   Virginia Roberts to have sex with you, correct?
10          MR. CASSELL: Form. Foundation.                  10          MR. CASSELL: Form. Foundation.
11          MR. GOLDBERGER: And attorney-client             11          THE WITNESS: Fifth.
12      privilege.                                          12   BY MR. PAGLIUCA:
13          MR. WEINBERG: Attorney-client                   13       Q. You understood that the statements were
14      privilege. Sorry, Jack.                             14   false because Ms. Maxwell did not assist anyone,
15          MR. GOLDBERGER: That's okay, Marty.             15   including yourself, in sexually trafficking
16          THE WITNESS: Fifth.                             16   Virginia Roberts to any person, correct?
17   BY MR. PAGLIUCA:                                       17          MR. CASSELL: Object to form and
18      Q. And without regard -- so I'm not asking you      18       foundation. And just so the record is
19   for any communication between you and any lawyer.      19       clear, if I just use the words "form,
20          Given the fact that the allegations given       20       foundation" --
21   by Miss Giuffre/Roberts against you were false,        21          MR. PAGLIUCA: That is fine with me.
22   without discussing any information communicated to     22          MR. CASSELL: Form. Foundation.
23   you by any lawyer, what were your personal reasons     23          THE WITNESS: Fifth.
24   for settling the lawsuit?                              24   BY MR. PAGLIUCA:
25          MR. CASSELL: Form. Foundation.                  25       Q. You understand that Virginia Roberts was
                                               Page 291                                                    Page 293
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                              2   not 15 when she claims to have met you, true?
 3          MR. WEINBERG: And his -- and his state           3         MR. CASSELL: Form. Foundation.
 4       of mind is inseparable from attorney-client         4         THE WITNESS: Fifth.
 5       communications.                                     5   BY MR. PAGLIUCA:
 6          MR. PAGLIUCA: Right. I'm not asking              6      Q. You understand that Virginia Roberts was
 7       for any attorney-client communications, so          7   not 16 at the time that she claims to have met you,
 8       we are clear.                                       8   correct?
 9   BY MR. PAGLIUCA:                                        9         MR. CASSELL: Form, foundation.
10       Q. I don't recall if I asked you or not, but I     10         THE WITNESS: Fifth.
11   will ask you now: What were the terms of the           11   BY MR. PAGLIUCA:
12   settlement agreement between yourself and              12      Q. You understand -- well, isn't it true that
13   Ms. Giuffre/Roberts?                                   13   Ms. Roberts represented to you, at the time that she
14       A. Fifth.                                          14   met you, that she was 18 years old?
15          MR. GOLDBERGER: And the standing                15         MR. CASSELL: Form. Foundation.
16       objection on confidentiality.                      16         THE WITNESS: Fifth.
17          MR. PAGLIUCA: Understood.                       17   BY MR. PAGLIUCA:
18   BY MR. PAGLIUCA:                                       18      Q. Isn't it true that Ms. Roberts represented
19       Q. Mr. Epstein, you read Ms. Roberts' --           19   to others in your presence that she was over the age
20   Ms. Virginia Roberts'/Giuffre's statements published   20   of 18?
21   in the media about Ghislaine Maxwell, correct?         21         MR. CASSELL: Form. Foundation.
22          MR. CASSELL: Form. Foundation.                  22         THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                             23   BY MR. PAGLIUCA:
24   BY MR. PAGLIUCA:                                       24      Q. Isn't it true that Ms. Roberts represented
25       Q. When you read those statements, you             25   to Ms. Maxwell that she was over the age of 18?




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                                               Page 294                                                    Page 296
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2          MR. CASSELL: Form. Foundation.                   2   BY MR. PAGLIUCA:
 3          THE WITNESS: Fifth.                              3      Q. At the time that Ms. Giuffre/Roberts met
 4   BY MR. PAGLIUCA:                                        4   you and told you that she was over the age of 18 and
 5       Q. Mr. Cassell asked you some questions about       5   a masseuse, she was living with someone that she
 6   a purported hospital visit involving you and            6   identified as her fiance, correct?
 7   Ms. Roberts/Giuffre in New York.                        7          MR. CASSELL: Form. Foundation.
 8          Do you recall that, if you know, that            8          THE WITNESS: Fifth.
 9   Ms. Roberts represented to the hospital folks that      9   BY MR. PAGLIUCA:
10   she was over the age of 18?                            10      Q. At the time that Ms. Giuffre met you --
11          MR. CASSELL: Form. Foundation.                  11   represented to you that she was a masseuse over the
12          THE WITNESS: Fifth.                             12   age of 18, driving her own car, and living with her
13   BY MR. PAGLIUCA:                                       13   fiance in an apartment, she had the ability to come
14       Q. Now, when you met Ms. Giuffre/Roberts, in       14   and go from your residence as she pleased, correct?
15   addition to telling you that she was over the age of   15          MR. CASSELL: Form. Foundation.
16   18, she represented to you that she worked as a        16          THE WITNESS: Fifth.
17   masseuse at Mar-a-Lago, correct?                       17   BY MR. PAGLIUCA:
18          MR. CASSELL: Form. Foundation.                  18      Q. You never forced Ms. Roberts ever to stay
19          THE WITNESS: Fifth.                             19   over your house at night, correct?
20   BY MR. PAGLIUCA:                                       20          MR. CASSELL: Form. Foundation.
21       Q. And you would have met her sometime in the      21      Vague.
22   late fall because Mar-a-Lago is closed, at least the   22          THE WITNESS: Fifth.
23   spa part of Mar-a-Lago is closed, during the summer,   23   BY MR. PAGLIUCA:
24   correct?                                               24      Q. Ms. Roberts was never forced to do anything
25          MR. CASSELL: Form. Foundation.                  25   by you, correct?
                                               Page 295                                                    Page 297
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                              2          MR. CASSELL: Form. Foundation.
 3   BY MR. PAGLIUCA:                                        3      Vague.
 4      Q. And in 2000, 2001, the spa would have been        4          THE WITNESS: Fifth.
 5   closed during the summer, correct?                      5   BY MR. PAGLIUCA:
 6          MR. CASSELL: Form. Foundation.                   6      Q. Ms. Roberts was not a "sex slave," correct?
 7          THE WITNESS: Fifth.                              7          MR. CASSELL: Form. Foundation.
 8   BY MR. PAGLIUCA:                                        8          THE WITNESS: Fifth.
 9      Q. It was your decision to hire Ms. Giuffre as       9   BY MR. PAGLIUCA:
10   a masseuse, understanding that she was over the age    10      Q. And you never sexually trafficked
11   of 18, correct?                                        11   Ms. Roberts to anyone, correct?
12          MR. CASSELL: Form, foundation.                  12          MR. CASSELL: Form. Foundation.
13          THE WITNESS: Fifth.                             13          THE WITNESS: Fifth.
14   BY MR. PAGLIUCA:                                       14   BY MR. PAGLIUCA:
15      Q. And she was not recruited by you or anyone       15      Q. At the time Ms. Roberts made statements to
16   else to have sex with you, correct?                    16   the media about you and Ms. Maxwell, you told
17          MR. CASSELL: Form. Foundation.                  17   Ms. Maxwell on January 25th, 2015, that "You have
18          THE WITNESS: Fifth.                             18   done nothing wrong, and I would urge you to start
19   BY MR. PAGLIUCA:                                       19   acting like it. Go outside, head high, not as an
20      Q. Now, at the time that Ms. Giuffre met you        20   escaping convict. Go to parties. Deal with it."
21   and represented that she was a masseuse and over the   21          Do you remem- -- recall making that written
22   age of 18, she was driving her own car, correct?       22   statement to Ms. Maxwell in an e-mail produced in
23          MR. CASSELL: Form, foundation.                  23   this case, GM01098, on January 25th, 2015?
24          THE WITNESS: Fifth.                             24          MR. CASSELL: Form. Foundation.
25                                                          25          THE WITNESS: Fifth.




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                                               Page 298                                                     Page 300
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. PAGLIUCA:                                         2   BY MR. PAGLIUCA:
 3      Q. And at the time that you made that e-mail          3       Q. You responded, "Okay, with me," because, in
 4
 5
     statement to Ms. Maxwell, you made it because it was
     true, correct?
                                                              4
                                                              5
                                                                      1111
                                                                  fact,        was your girlfriend from at least the
                                                                  end of 1999 through 2002, correct?
 6          MR. CASSELL: Form. Foundation.                    6         MR. CASSELL: Form. Foundation.
 7          THE WITNESS: Fifth.                               7         THE WITNESS: Fifth.
 8   BY MR. PAGLIUCA:                                         8   BY MR. PAGLIUCA:
 9      Q. When you said to Ms. Maxwell in your               9       Q. It is true that neither you nor Ms. Maxwell
10   written communication on January 25th, 2015, "You       10   trained Virginia Roberts to have sex with anyone,
11   have done nothing wrong," you were referring to         11   correct?
12   Ms. Giuffre/Roberts' false claims that somehow          12         MR. CASSELL: Form. Foundation.
13   Ms. Maxwell had participated in sexual misconduct       13         THE WITNESS: Fifth.
14   with Ms. Giuffre/Roberts, correct?                      14   BY MR. PAGLIUCA:
15          MR. CASSELL: Form. Foundation.                   15       Q. And it is true that you never pimped
16          THE WITNESS: Fifth.                              16   Virginia Roberts/Giuffre out to any other person,
17   BY MR. PAGLIUCA:                                        17   correct?
18      Q. When you said to Ms. Maxwell, "You have           18         MR. CASSELL: Form. Foundation.
19   done nothing wrong," you were telling her that you      19       Vague.
20   knew that she had not been involved in any illegal      20         THE WITNESS: Fifth.
21   activity associated with you, correct?                  21   BY MR. PAGLIUCA:
22          MR. CASSELL: Form. Foundation.                   22       Q. To your knowledge, Virginia Roberts/Giuffre
23          THE WITNESS: Fifth.                              23   did not have sex with Alan Dershowitz?
24   BY MR. PAGLIUCA:                                        24         MR. CASSELL: Form. Foundation.
25      Q. You urged Ms. Maxwell to start acting like        25   BY MR. PAGLIUCA:
                                               Page 299                                                     Page 301
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   she had done nothing wrong, because you knew that she    2       Q. Correct?
 3   had, in fact, done nothing wrong, correct?               3       A. Fifth.
 4          MR. CASSELL: Form. Foundation. Calls              4       Q. Any other world leaders, correct?
 5      for speculation.                                      5          MR. CASSELL: Form. Foundation.
 6          THE WITNESS: Fifth.                               6          THE WITNESS: Fifth.
 7   BY MR. PAGLIUCA:                                         7   BY MR. PAGLIUCA:
 8      Q. When you told Ms. Maxwell, "Go outside,            8       Q. Any other political figures in the
 9   head high, not as an escaping convict," you were         9   United States?
10   encouraging her to act like she had done nothing        10          MR. CASSELL: Form. Foundation.
11   wrong because, in fact, she had done nothing wrong,     11          THE WITNESS: Fifth.
12   correct?                                                12   BY MR. PAGLIUCA:
13          MR. CASSELL: Form. Foundation.                   13       Q. Any other entertainers?
14      Vague.                                               14       A. Fifth.
15          THE WITNESS: Fifth.                              15          MR. CASSELL: Form. Foundation.
16   BY MR. PAGLIUCA:                                        16          THE WITNESS: Sorry.
17      Q. You were responding to an e-mail sent to          17   BY MR. PAGLIUCA:
18
19
20
21
22
23
     think she was from end '99 to 2002."
                                         -
     you by Ms. Maxwell on January 24th, 2015, in which
     she indicated, "I would appreciate it if      would
     come out and say that she was your girlfriend. I

            Do you recall receiving that communication
     from Ms. Maxwell and responding to it?
                                                             18
                                                             19
                                                             20
                                                             21
                                                             22
                                                             23
                                                                      Q. In particular, David Copperfield?
                                                                         MR. CASSELL: Form. Foundation.
                                                                         THE WITNESS: Fifth.
                                                                  BY MR. PAGLIUCA:
                                                                      Q. You understood that Ms. Roberts/Giuffre
                                                                  left the United States in, roughly, 2002 to go to
24          MR. CASSELL: Form. Foundation.                   24   Thailand, correct?
25          THE WITNESS: Fifth.                              25       A. Fifth.




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                                                Page 302                                                    Page 304
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2      Q. And the last time that you spoke or saw her        2   BY MR. PAGLIUCA:
 3   was prior to her leaving for Thailand, correct?          3       Q. The police reports generally indicated that
 4          MR. CASSELL: Form. Foundation.                    4   allegations that you had sexual contact with females
 5          THE WITNESS: Fifth.                               5   under the age of 18 in the Palm Beach area, correct?
 6   BY MR. PAGLIUCA:                                         6       A. Fifth.
 7      Q. You understood that Ms. Roberts/Giuffre            7       Q. Virginia Roberts/Giuffre was not one of the
 8   went to Thailand because she had a warrant out for       8   alleged victims discussed or contacted in connection
 9   her arrest for theft from the Roadhouse Grill,           9   with that investigation, correct?
10   correct?                                                10          MR. CASSELL: Form. Foundation.
11          MR. CASSELL: Form. Foundation. Calls             11          THE WITNESS: Fifth.
12      for a legal conclusion.                              12   BY MR. PAGLIUCA:
13          THE WITNESS: Fifth.                              13       Q. And to your knowledge,
14   BY MR. PAGLIUCA:                                        14   Virginia Roberts/Giuffre was never contacted by the
15      Q. You were asked some questions by                  15   Palm Beach Police Department?
16   Mr. Cassell regarding the -- I can't recall what he     16          MR. CASSELL: Form. Foundation.
17   referred to it as. I think it was the Palm Beach        17       Vague.
18   investigation.                                          18          THE WITNESS: Fifth.
19          Are you aware that in approximately March        19   BY MR. PAGLIUCA:
20   of 2005 -- I'm just going to wait for that noise to     20       Q. None of the alleged victims in the Palm
21   die down here, whatever that is.                        21   Beach investigation identified Ghislaine Maxwell as a
22          You're aware that in approximately March         22   part of any alleged sexual contact scheme, correct?
23   of 2005, the Palm Beach Police Department began an      23          MR. CASSELL: Form. Foundation.
24   investigation concerning you based on a report from a   24          THE WITNESS: Fifth.
25   woman named Erica Gonzalez?                             25
                                                Page 303                                                    Page 305
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2         MR. CASSELL: Form. Foundation.                     2   BY MR. PAGLIUCA:
 3         MR. GOLDBERGER: And attorney-client                3       Q. You're aware that no one connected with
 4      privilege.                                            4   that investigation accused Ms. Maxwell of any
 5         THE WITNESS: Fifth.                                5   wrongdoing?
 6   BY MR. PAGLIUCA:                                         6          MR. CASSELL: Form. Foundation.
 7      Q. I'm not asking you for any information             7          THE WITNESS: Fifth.
 8   based on attorney-client privilege, Mr. Epstein, for     8   BY MR. PAGLIUCA:
 9   any of these questions.                                  9       Q. None of the alleged victims in the Palm
10         I'm assuming that you were provided and           10   Beach investigation claimed that they traveled with
11   read police reports related to the Palm Beach           11   you in any airplane, correct?
12   investigation. Based on your reading of those           12       A. Fifth.
13   reports and not based on any conversations with any     13       Q. None of the alleged victims in the Palm
14   lawyers that you may have had at the time, you are      14   Beach investigation claimed that they traveled with
15   aware that in approximately March of 2005, the Palm     15   you outside of the State of Florida, correct?
16   Beach Police Department began an investigation          16          MR. CASSELL: Form. Foundation.
17   concerning you based on a report from a woman named     17          THE WITNESS: Fifth.
18   Erica Gonzalez?                                         18   BY MR. PAGLIUCA:
19      A. Fifth.                                            19       Q. None of the alleged victims in the Palm
20      Q. You were provided with a copy of the police       20   Beach investigation claimed that you have been
21   reports related to that investigation, correct?         21   introduced to them by Ghislaine Maxwell, correct?
22      A. Fifth.                                            22          MR. CASSELL: Form. Foundation.
23         MR. GOLDBERGER: And attorney-client               23          THE WITNESS: Fifth.
24      privilege.                                           24   BY MR. PAGLIUCA:
25                                                           25       Q. In fact, the majority of the alleged




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                                               Page 306                                                     Page 308
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   victims in the Palm Beach investigation claimed to      2   you overnight in any residence?
 3   have been recruited by someone named Haley Robson,      3          MR. CASSELL: Form. Foundation.
 4   correct?                                                4          THE WITNESS: Fifth.
 5           MR. CASSELL: Form. Foundation.                  5   BY MR. PAGLIUCA:
 6           THE WITNESS: Fifth.                             6      Q. You're aware that none of those alleged
 7   BY MR. PAGLIUCA:                                        7   victims claimed to have ever met or talked to
 8       Q. You're aware, Mr. Epstein, that these            8   Ms. Maxwell?
 9   police reports are available as a public record by      9          MR. CASSELL: Form. Foundation.
10   request to the Palm Beach Police Department?           10          THE WITNESS: Fifth.
11       A. Fifth.                                          11   BY MR. PAGLIUCA:
12       Q. And you're aware, Mr. Epstein, that             12      Q. And you're aware that none of those alleged
13   unredacted versions of these police reports can be     13   victims ever claimed to have been paid by
14   obtained from the State's Attorney's Office hereby a   14   Ms. Maxwell?
15   letter request, correct?                               15          MR. CASSELL: Form. Foundation.
16           MR. CASSELL: Form -- form.                     16          THE WITNESS: Fifth.
17       Foundation.                                        17   BY MR. PAGLIUCA:
18           THE WITNESS: Fifth.                            18      Q. It is true, Mr. Epstein, that you, at least
19   BY MR. PAGLIUCA:                                       19   during timeframe that we are talking about here, so I
20       Q. Mr. Cassell asked you some questions            20   will say from, let's say, 1999 through 2005, enjoyed
21   earlier about some police reports related to           21   getting a massage; is that correct?
22   Ms. Roberts/Giuffre related to her claims that she     22      A. Fifth.
23   had been sexually assaulted here in Florida by men     23      Q. And you had many masseuses that you hired
24   other than you. Do you recall those questions?         24   to come to your house to give you a massage, correct?
25       A. Yes.                                            25          MR. CASSELL: Object to form.
                                               Page 307                                                     Page 309
 1             J. Epstein - Confidential                     1             J. Epstein - Confidential
 2      Q. Okay. Are you aware that those police             2          THE WITNESS: Fifth.
 3   reports are also available by simply requesting them    3   BY MR. PAGLIUCA:
 4   from the Palm Beach Police Department?                  4       Q. Many of those masseuses were contacted as
 5          MR. CASSELL: Form. Foundation. Calls             5   part of the Palm Beach Police Department
 6      for a legal conclusion.                              6   investigation; do you recall that?
 7          THE WITNESS: Fifth.                              7       A. Fifth.
 8          MR. CASSELL: Can we hold on one                  8       Q. And many of those masseuses that were
 9      second?                                              9   contacted indicated that all of their massages were
10          MR. PAGLIUCA: Sure. Having a problem            10   professional and paid for by you; do you recall that?
11      there?                                              11          MR. CASSELL: Form. Foundation.
12          MR. CASSELL: Take 30 seconds to see if          12          THE WITNESS: Fifth.
13      we can get these going.                             13   BY MR. PAGLIUCA:
14          All right. You're on, Jeff.                     14       Q. Now, you -- after Ms. Roberts left the
15          MR. PAGLIUCA: Okay.                             15   country as a result of the warrant out for her arrest
16   BY MR. PAGLIUCA:                                       16   for theft, you later learned that she was bringing
17      Q. With regard to the Palm Beach Police             17   civil claims against you, purporting that you had
18   Department investigation, you're aware that none of    18   sexually assaulted her, correct?
19   the alleged victims in that matter claimed to have     19          MR. CASSELL: Form. Foundation.
20   lived with you?                                        20          THE WITNESS: Fifth.
21          MR. CASSELL: Form. Foundation.                  21   BY MR. PAGLIUCA:
22          THE WITNESS: Fifth.                             22       Q. And those claims were raised up by her
23   BY MR. PAGLIUCA:                                       23   after a lot of publicity had occurred related to the
24      Q. You're aware that none of the alleged            24   Palm Beach investigation about you with the
25   victims in that matter claimed to have stayed with     25   allegations of sexual misconduct, correct?




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2          MR. CASSELL: Form. Foundation.                    2         MR. CASSELL: Form. Foundation. Lack
 3          THE WITNESS: Fifth.                               3      of personal knowledge.
 4   BY MR. PAGLIUCA:                                         4         THE WITNESS: Fifth.
 5       Q. There were widespread media reports               5   BY MR. PAGLIUCA:
 6   detailing the allegations about you in the press here    6      Q. And you knew personally that Mr. Rothstein
 7   in the South Florida area at the time, correct?          7   worked with Mr. Edwards because you sued both
 8          MR. CASSELL: Form. Foundation.                    8   Mr. Rothstein and Mr. Edwards in case captioned
 9          THE WITNESS: Fifth.                               9   Jeffrey Epstein, Plaintiff, versus Scott Rothstein,
10   BY MR. PAGLIUCA:                                        10   individually, Bradley J. Edwards, individually, and
11       Q. Would you agree with me, Mr. Epstein, that       11   L.M., individually in 2009, correct?
12   the police -- the leaking of the police reports and     12         MR. CASSELL: Form. Foundation. Lack
13   the leaking of the information to the press, the        13      of personal knowledge.
14   reporting of the allegations by the press made you an   14         THE WITNESS: Fifth.
15   easy target for anyone who wanted to make a claim of    15   BY MR. PAGLIUCA:
16   sexual misconduct against you?                          16      Q. That would be in 2008. So let me amend
17          MR. CASSELL: Form. Foundation.                   17   that. The question would be in 2008.
18          THE WITNESS: Fifth.                              18         MR. CASSELL: Form. Foundation. Lack
19   BY MR. PAGLIUCA:                                        19      of personal knowledge.
20       Q. And, indeed, there were many people who          20   BY MR. PAGLIUCA:
21   began falsely claiming that you had engaged in some     21      Q. Your lawyer at the time was somebody named
22   form of sexual misconduct with them?                    22   Robert D. Critton, correct?
23          MR. CASSELL: Form. Foundation.                   23         MR. CASSELL: Form, foundation. Lack
24          THE WITNESS: Fifth.                              24      of proper pronunciation. It's Critton, I
25                                                           25      think.
                                                Page 311                                                    Page 313
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   BY MR. PAGLIUCA:                                         2   BY MR. PAGLIUCA:
 3      Q. You were also an easy target for                   3      Q. Critton. Okay. C-R-I-T-T-O-N.
 4   unscrupulous lawyers to make those claims and promote    4      A. Fifth.
 5   those claims against you, correct?                       5      Q. You say, Critton. I say, Critton. I don't
 6         MR. CASSELL: Form. Foundation.                     6   know how to --
 7      Vague.                                                7          MR. CASSELL: Jack might know.
 8         THE WITNESS: Fifth.                                8          MR. GOLDBERGER: I hate to weigh in on
 9   BY MR. PAGLIUCA:                                         9      it, but Mr. Cassell's -- Professor Cassell
10      Q. For example, there was a lawyer, now              10      is correct.
11   disbarred and in prison, named Mr. Rothstein, who was   11   BY MR. PAGLIUCA:
12   promoting lawsuits against you as part of a Ponzi       12      Q. In that lawsuit you claimed that
13   scheme here, correct?                                   13   Mr. Rothstein and Mr. Edwards manufactured claims
14         MR. CASSELL: Form. Foundation.                    14   against you, correct?
15         THE WITNESS: Fifth.                               15          MR. CASSELL: Form. Foundation.
16   BY MR. PAGLIUCA:                                        16          THE WITNESS: Fifth.
17      Q. And Mr. Rothstein was trying to convince          17   BY MR. PAGLIUCA:
18   people to buy shares in litigation against you and      18      Q. In that lawsuit, you alleged that
19   the outcome of litigation against you, correct?         19   Mr. Rothstein and Mr. Edwards were guilty of criminal
20         MR. CASSELL: Form. Foundation.                    20   conduct, including running a Ponzi scheme, securities
21         THE WITNESS: Fifth.                               21   fraud, perjury, and other crimes, correct?
22   BY MR. PAGLIUCA:                                        22          MR. CASSELL: Form. Foundation.
23      Q. Mr. Rothstein worked with an individual           23          THE WITNESS: Fifth.
24   named Bradley Edwards prior to Mr. Rothstein being      24   BY MR. PAGLIUCA:
25   prosecuted and imprisoned, correct?                     25      Q. You indicated -- well, isn't it true that




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                                                Page 314                                                      Page 316
 1             J. Epstein - Confidential                    1              J. Epstein - Confidential
 2   Mr. Rothstein and Mr. Edwards were able to have women 2      from possible prosecution from others, correct?
 3   change their stories about you and make false          3            MR. CASSELL: Form. Foundation.
 4   allegations against you for money?                     4            THE WITNESS: Fifth.
 5          MR. CASSELL: Form. Foundation.                  5            MR. GOLDBERGER: And attorney-client.
 6          THE WITNESS: Fifth.                             6            MR. WEINBERG: Attorney-client
 7   BY MR. PAGLIUCA:                                       7        privilege.
 8       Q. In this case, you are aware that                8            MR. GOLDBERGER: Yeah. We got it.
 9   Mr. Edwards represents Ms. Giuffre/Roberts?            9        Thanks.
10       A. Fifth.                                         10            MR. WEINBERG: Sorry, Jack.
11       Q. And you are aware that Mr. Edwards and a       11            MR. GOLDBERGER: That's all right.
12   lawyer named Jack Scarola contacted Ms. Giuffre prior 12     BY MR. PAGLIUCA:
13   to the filing of any -- of this lawsuit to discuss    13        Q. It is true, Mr. Epstein, you have no
14   with her allegations against you and Ms. Maxwell,     14     loyalty to Ms. Maxwell, as you sit here today,
15   correct?                                              15     correct?
16       A. Fifth.                                         16            MR. CASSELL: Form. Foundation.
17       Q. Is it -- it is true that Mr. Edwards           17            THE WITNESS: Fifth.
18   provided Ms. Giuffre/Roberts with substantial         18            MR. PAGLIUCA: I think I am done. So
19   information from both the Palm Beach investigation    19        if you'll give me a minute, I'll go over my
20   about you and other information that they had         20        notes. We can take a five-minute break.
21   obtained so that they could promote their allegations 21            VIDEO TECHNICIAN: Off the record at
22   against you in this litigation, correct?              22        1:03.
23          MR. CASSELL: Form. Foundation. Calls           23            (A recess was taken.)
24       for speculation. Lack of personal                 24            VIDEO TECHNICIAN: On the record at
25       knowledge.                                        25        1:18.
                                                Page 315                                                      Page 317
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2   BY MR. PAGLIUCA:
 3   BY MR. PAGLIUCA:                                         3      Q. I just have a few more questions,
 4
 5
 6
 7
         Q. It is true, Mr. Epstein, that you did not
     sexually traffic Ms. Roberts/Giuffre, correct?
            MR. CASSELL: Form. Foundation.
            THE WITNESS: Fifth.
                                                              4
                                                              5
                                                              6
                                                              7
                                                                         This
                                                                             --
                                                                  Mr. Epstein.
                                                                                      person that you've identified
                                                                  as being your girlfriend, this was, roughly, from the
                                                                  end of 1999 that          was your girlfriend, correct?
 8
 9
10
11
12
13
     BY MR. PAGLIUCA:
         Q. And it's true, Mr. Epstein, that
     Ms. Maxwell did nothing to assist you in sexually
     trafficking Ms. Giuffre/Roberts, correct?
            MR. CASSELL: Form. Foundation.
            THE WITNESS: Fifth.
                                                              8
                                                              9
                                                             10
                                                             11
                                                             12
                                                             13
                                                                     A. Fifth.
                                                                     Q. What's
                                                                     A. Fifth.
                                                                              -            last name?

                                                                     Q. And is it true that you had not --
                                                                         MR. CASSELL: I'm sorry. Can we go --
                                                                     the question before the "last name," I
14   BY MR. PAGLIUCA:                                        14      should have objected to form and foundation
15
16
17
18
19
20
         Q. The reason you are asserting a Fifth
     Amendment privilege here today has nothing do with
     Ghislaine Maxwell, correct?
            MR. CASSELL: Form. Foundation. Calls
         for speculation.
            THE WITNESS: Fifth.
                                                             15
                                                             16
                                                             17
                                                             18
                                                             19
                                                             20
                                                                     on that one.
                                                                         MR. PAGLIUCA: What was
                                                                     name?
                                                                         MR. CASSELL: The one that      --
                                                                     in fact, your girlfriend. I'm sorry. I
                                                                     apologize. I should have -- form and
                                                                                                                  last

                                                                                                                 was,


21          MR. GOLDBERGER: And attorney-client              21      foundation on that one.
22       privilege.                                          22          MR. PAGLIUCA: I'll give it to you.
23   BY MR. PAGLIUCA:                                        23          MR. CASSELL: Thanks.
24       Q. The reason you are asserting the Fifth           24          MR. PAGLIUCA: In face, here, I'll ask
25   Amendment privilege here today is to protect yourself   25      it again so you can object.




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 1            J. Epstein - Confidential                      1             J. Epstein - Confidential
 2          MR. CASSELL: Thank you.                          2   correct?
 3
 4
 5
 6
 7
 8
     BY MR. PAGLIUCA:

                         -
        Q. It is true that       was your girlfriend
     from approximately the end of 1999, correct?
            MR. CASSELL: Form and foundation.
        Thank you.
            THE WITNESS: Fifth.
                                                             3
                                                             4
                                                             5
                                                             6
                                                             7
                                                             8
                                                                         MR. CASSELL: Form. Foundation.
                                                                         THE WITNESS: Fifth.
                                                                 BY MR. PAGLIUCA:
                                                                     Q. And after 1999, moving forward, Ms. Maxwell
                                                                 spent less and less time, so increasingly less time
                                                                 visiting your house in Palm Beach, correct?
 9   BY MR. PAGLIUCA:                                        9           MR. CASSELL: Form. Foundation.
10      Q. Ms. Maxwell had not been your girlfriend         10           THE WITNESS: Fifth.
11   for some time prior to 1999, correct?                  11   BY MR. PAGLIUCA:
12          MR. CASSELL: Form. Foundation.                  12       Q. You were the person responsible for hiring
13          THE WITNESS: Fifth.                             13   or firing any of your domestic employees from 1998
14   BY MR. PAGLIUCA:                                       14   moving forward in time, correct?
15      Q. In fact, beginning prior to 1999, you spent      15           MR. CASSELL: Form. Foundation.
16   less and less time with Ms. Maxwell, correct?          16           THE WITNESS: Fifth.
17          MR. CASSELL: Form. Foundation. And              17   BY MR. PAGLIUCA:
18      -- and chronology.                                  18       Q. From 1998 moving forward in time, you made
19          Are you saying -- are you going                 19   all of the decisions with regard to the hiring and
20      backwards in time?                                  20   firing of any employee, correct?
21          MR. PAGLIUCA: Yes, I am.                        21           MR. CASSELL: Form. Foundation.
22          MR. CASSELL: Okay. Vague.                       22           THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                             23   BY MR. PAGLIUCA:
24   BY MR. PAGLIUCA:                                       24       Q. From 1998 moving forward, you made all the
25      Q. After 1999, when           was your              25   decisions with regard to the job functions of any of
                                               Page 319                                                    Page 321
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   girlfriend, Ms. Maxwell spent less and less time in     2   your domestic employees, correct?
 3   your presence, correct?                                 3          MR. CASSELL: Form. Foundation.
 4          MR. CASSELL: Form. Foundation.                   4          THE WITNESS: Fifth.
 5          THE WITNESS: Fifth.                              5   BY MR. PAGLIUCA:
 6
 7
 8
 9
10
11
     BY MR. PAGLIUCA:
        Q. After 1999, when

     your residences, correct?-        was your
     girlfriend, Ms. Maxwell spent less time at any of

            MR. CASSELL: Form. Foundation.
            THE WITNESS: Fifth.
                                                             6
                                                             7
                                                             8
                                                             9
                                                            10
                                                            11
                                                                    Q. Is it true that you had a falling out with
                                                                 Virginia Roberts/Giuffre because she was increasingly
                                                                 using drugs and abusing drugs from 19 -- 2000 through
                                                                 2002?
                                                                        MR. CASSELL: Form. Foundation.
                                                                        THE WITNESS: Fifth.
12   BY MR. PAGLIUCA:                                       12   BY MR. PAGLIUCA:
13      Q. After 1999, Ms. Maxwell increasingly             13      Q. And you had a falling out with Ms. Giuffre
14   decreased her visits to the -- your Palm Beach         14   as a result of what you observed to be erratic
15   residence, correct?                                    15   behavior, including criminal activity?
16          MR. CASSELL: Form. Foundation.                  16          MR. CASSELL: Form. Foundation. Lack
17          THE WITNESS: Fifth.                             17      of personal knowledge.
18   BY MR. PAGLIUCA:                                       18          THE WITNESS: Fifth.
19      Q. After 1999, Ms. Maxwell decreased the            19   BY MR. PAGLIUCA:
20   frequency of her travels with you, correct?            20      Q. Do you ever recall meeting anyone named
21          MR. CASSELL: Form. Foundation.                  21   Renaldo Rizzo?
22          THE WITNESS: Fifth.                             22          MR. CASSELL: Form. Foundation.
23   BY MR. PAGLIUCA:                                       23          THE WITNESS: Fifth.
24      Q. And over time, from 1999 moving forward,         24   BY MR. PAGLIUCA:
25   Miss Maxwell spent less and less time with you,        25      Q. Ms. Rizzo -- Mr. Rizzo has claimed that he




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                                               Page 322                                                   Page 324
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   was at a birthday party at your Palm Beach residence    2          MS. MCCAWLEY: That's fine.
 3   outside by your pool in which the only other            3          MR. CASSELL: -- and she'll backstop me
 4   attendees were children.                                4      in case I miss a trick along the way, so...
 5          Is that a true statement or not?                 5              REDIRECT EXAMINATION
 6          MR. CASSELL: Foundation. Misstates               6   BY MR. CASSELL:
 7       the record.                                         7      Q. We have the advantage by a very skilled
 8          THE WITNESS: Fifth.                              8   court reporter who's given us a -- essentially a
 9   BY MR. PAGLIUCA:                                        9   real-time transcript here.
10       Q. It is, in fact, not true that you had any       10          But I noticed that on this real-time
11   birthday party with minor children in attendance at    11   transcript, at page 245, line 12, the question was
12   your pool in Palm Beach, correct?                      12   asked to you by Mr. Pagliuca, "Any relationship you
13          MR. CASSELL: Foundation.                        13   had, whether personal or business, ended with
14          THE WITNESS: Fifth.                             14   Ms. Maxwell more than 15 years ago, correct?"
15   BY MR. PAGLIUCA:                                       15          Do you recall being asked that question?
16       Q. Mr. Rizzo has also made some claims that        16      A. Fifth.
17   you had a number of younger-aged females in a          17          MR. GOLDBERGER: Well, I think you can
18   limousine and you went to the Dubin residence in --    18      answer that -- you recall being asked this
19   outside of New York City. Is Mr. Rizzo's statement     19      question just --
20   about that false?                                      20          MR. CASSELL: That's all I'm asking.
21       A. Fifth.                                          21      I'm not trying to trip him up here.
22       Q. And it is true that Mr. Rizzo has made up       22   BY MR. CASSELL:
23   that story about you and the Dubins in an attempt to   23      Q. Let me just restate that again.
24   get money, correct?                                    24          Do you recall being asked the following
25          MR. CASSELL: Form. Foundation.                  25   question: "Any relationship you had, whether
                                               Page 323                                                   Page 325
 1              J. Epstein - Confidential                    1            J. Epstein - Confidential
 2           THE WITNESS: Fifth.                             2   personal or business, ended with Ms. Maxwell more
 3   BY MR. PAGLIUCA:                                        3   than 15 years ago, correct?"
 4       Q. Mr. Cassell asked you some questions about       4      A. What's the question? I'm sorry. Do I
 5   some -- someone from Sweden who Mr. Rizzo claimed       5   remember the question?
 6   that you somehow lured into the United States for       6      Q. Any relationship you had --
 7   purposes of sexual trafficking.                         7      A. No. Are you asking me do I remember --
 8           That story by Mr. Rizzo is also false,          8      Q. Do you remember being asked that particular
 9   correct?                                                9   question?
10           MR. CASSELL: Form. Foundation.                 10      A. Sitting here at the moment, I don't.
11           THE WITNESS: Fifth.                            11      Q. Okay. I want to represent to you that you
12   BY MR. PAGLIUCA:                                       12   were asked the question: "Any relationship you had,
13       Q. Do you believe that Eva Dubin, a medical        13   whether personal or business, ended with Ms. Maxwell
14   doctor, would participate in some scheme to sexually   14   more than 15 years ago, correct?"
15   traffic anyone?                                        15      A. I took the Fifth to that question, if
16           MR. CASSELL: Form. Foundation. Calls           16   you're re-asking the question.
17       for speculation. Lack of personal                  17          MR. GOLDBERGER: No. I think he's just
18       knowledge.                                         18      representing that that question was asked.
19           THE WITNESS: Fifth.                            19      Don't -- and we can establish for purposes
20           MR. PAGLIUCA: That's all the questions         20      of the record that question was asked.
21       I have.                                            21          THE WITNESS: Okay.
22           MR. CASSELL: I may want to consult             22          MR. GOLDBERGER: Okay.
23       with Ms. McCawley at some point, but maybe         23   BY MR. CASSELL:
24       it will make sense for me to try and kind of       24      Q. In fact, you had a number of continuing
25       see --                                             25   personal interactions with Ms. Maxwell within the




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                                               Page 326                                                    Page 328
 1            J. Epstein - Confidential                     1              J. Epstein - Confidential
 2   last 15 years?                                         2    I'm sorry, Mr. Pagliuca whether there was any basis
 3          MR. PAGLIUCA: Object to form and                3    in fact for some of the questions I was asking you.
 4       foundation.                                        4           Would it be fair to say that one of the
 5          THE WITNESS: Fifth.                             5    bases in fact for asking you questions about
 6   BY MR. CASSELL:                                        6    Virginia's interactions with Prince Andrew would be a
 7       Q. I want to talk to you about some of the         7    photograph depicting Ms. Roberts and Prince Andrew?
 8   personal and other relationships you had with          8           MR. PAGLIUCA: Object to form and
 9   Ms. Maxwell.                                           9        foundation.
10          For example, sir, isn't it true that on        10           THE WITNESS: Fifth.
11   December 11th, 2000, you, Ms. Maxwell, Ms. Taylor,    11    BY MR. CASSELL:
12   and Virginia Roberts flew from the West Palm Beach    12        Q. You were asked some questions about a
13   Airport to the Teterboro, New Jersey Airport?         13    lawsuit that was styled Edwards versus -- I'm sorry,
14          MR. PAGLIUCA: Object to form and               14    Epstein versus Rothstein, et al. When I ask you a
15       foundation.                                       15    question about the piece of that case, that would be
16          THE WITNESS: Fifth.                            16    described as your claim against Brad Edwards.
17   BY MR. CASSELL:                                       17           Do you understand the setup for the
18       Q. And isn't it true that on December 14th,       18    question?
19   2000, you, and Ms. Maxwell and Miss Roberts flew from 19        A. Yes.
20   the Teterboro to the U.S. Virgin Islands on your      20        Q. You voluntarily dismissed your legal claims
21   private jet?                                          21    against Brad Edwards, right?
22          MR. PAGLIUCA: Object to form and               22           MR. PAGLIUCA: Object to form and
23       foundation.                                       23        foundation.
24          THE WITNESS: Fifth.                            24           THE WITNESS: Fifth.
25                                                         25           MR. GOLDBERGER: And attorney-client
                                               Page 327                                                    Page 329
 1            J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2      privilege.
 3       Q. Isn't it true, sir, that on January 26th,        3   BY MR. CASSELL:
 4   2001, you, Ms. Maxwell, Ms. Taylor, and Ms. Roberts     4      Q. To your knowledge, there is no lawsuit
 5   flew from Teterboro to West Palm Beach?                 5   pending today by you against Mr. Edwards, right?
 6          MR. PAGLIUCA: Object to form and                 6         MR. PAGLIUCA: Object to form and
 7       foundation.                                         7      foundation.
 8          THE WITNESS: Fifth.                              8         THE WITNESS: Fifth.
 9   BY MR. CASSELL:                                         9         MR. GOLDBERGER: And attorney-client.
10       Q. Isn't it true that on March 9th, 2001, you,     10   BY MR. CASSELL:
11   Ms. Maxwell, Ms. Taylor, and Virginia flew from        11      Q. When you traveled to England with Virginia
12   Tangier, Morocco, to London, England on your private   12   and Ms. Maxwell, Ms. Maxwell held Virginia's
13   jet?                                                   13   passport, right?
14          MR. PAGLIUCA: Object to form and                14         MR. PAGLIUCA: Object to form and
15       foundation.                                        15      foundation. It has been asked and answered
16          THE WITNESS: Fifth.                             16      as well. I didn't go into this, and so I'm
17   BY MR. CASSELL:                                        17      not sure why we're going over it again.
18       Q. And that was the trip where you,                18         THE WITNESS: Fifth.
19   Ms. Maxwell, and Ms. Roberts met Prince Andrew, the    19   BY MR. CASSELL:
20   Duke of York, right?                                   20      Q. You had a relationship with Ms. Maxwell
21          MR. PAGLIUCA: Object to form and                21   when you traveled to -- with her to England, right?
22       foundation.                                        22         MR. PAGLIUCA: Object to form and
23          THE WITNESS: Fifth.                             23      foundation.
24   BY MR. CASSELL:                                        24         THE WITNESS: Fifth.
25       Q. Previously you were asked by Ms. Pag- --        25




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                                                Page 330                                                     Page 332
 1             J. Epstein - Confidential                      1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2      foundation.
 3      Q. Mr. Pagliuca was suggesting there was no           3          THE WITNESS: Fifth.
 4   basis in fact for some of the questions that I asked.    4   BY MR. CASSELL:
 5          One of the bases in fact would have been          5      Q. What is your view of men who are decades
 6   Ms. Maxwell's possession of a passport reflecting        6   older having sex with 17-year-old girls?
 7   Virginia's age to be 17 at the time she flew into        7          MR. PAGLIUCA: Object to form and
 8   England with you?                                        8      foundation.
 9          MR. PAGLIUCA: Object to form and                  9          THE WITNESS: Fifth.
10      foundation.                                          10   BY MR. CASSELL:
11          THE WITNESS: Can you ask the question?           11      Q. You believe that a man can hold his head
12   BY MR. CASSELL:                                         12   high after having sex with a 16-year-old girl even if
13      Q. Isn't that true?                                  13   he's decades older than that girl, true?
14          MR. PAGLIUCA: Same objection.                    14          MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                              15      foundation and foundation.
16   BY MR. CASSELL:                                         16          THE WITNESS: Fifth.
17      Q. You were asked questions about an e-mail in       17   BY MR. CASSELL:
18   which you used the phrase "Hold your head high."        18      Q. You were asked various questions by
19          Do you recall just being asked -- just           19   Mr. Pagliuca --
20   being asked those questions?                            20          MR. CASSELL: Am I pronouncing that --
21      A. Yes.                                              21          MR. PAGLIUCA: No.
22      Q. I want to talk about the phrase -- now, I         22          MR. CASSELL: I'm sorry.
23   want to go into the substantive issues.                 23          MR. PAGLIUCA: The "G" is silent.
24          With regard to the phrase "Hold your head        24      Think lasagna.
25   high," the reason you used that phrase is, you didn't   25          MR. CASSELL: Okay.
                                                Page 331                                                     Page 333
 1             J. Epstein - Confidential                      1              J. Epstein - Confidential
 2   think there was anything wrong with having sex with      2          MR. PAGLIUCA: Pal. He's your pal.
 3   underage girls, do you?                                  3   BY MR. CASSELL:
 4          MR. PAGLIUCA: Object to form and                  4       Q. You were asked some questions by
 5      foundation.                                           5   Mr. Pagliuca -- got it, okay -- by Mr. Pagliuca about
 6          THE WITNESS: Fifth.                               6   whether this litigation would affect you.
 7   BY MR. CASSELL:                                          7          You just recall being asked those
 8      Q. In fact, you have used words along the             8   questions?
 9   lines of having sex with a minor girl is like            9       A. Yes.
10   stealing a bagel, true?                                 10       Q. With regard to those questions, it's true,
11          MR. PAGLIUCA: Object to form and                 11   sir, that this litigation will affect your
12      foundation.                                          12   reputation, right?
13          THE WITNESS: Fifth.                              13          MR. PAGLIUCA: Object to form and
14   BY MR. CASSELL:                                         14       foundation.
15      Q. And that, in fact, is your view today about       15          THE WITNESS: Fifth.
16   the status of having an adult man, decades older than   16   BY MR. CASSELL:
17   an underage girl, having sex with that underage girl,   17       Q. Please describe all the ways in which you
18   right?                                                  18   foresee this litigation affecting your reputation.
19          MR. PAGLIUCA: Object to form and                 19          MR. PAGLIUCA: Object to the form and
20      foundation.                                          20       foundation.
21          THE WITNESS: Fifth.                              21          THE WITNESS: Fifth.
22   BY MR. CASSELL:                                         22   BY MR. CASSELL:
23      Q. What is your view of men who are decades          23       Q. This litigation will affect the reputation
24   older having sex with 16-year-old girls?                24   of associates of yours, won't it?
25          MR. PAGLIUCA: Object to form and                 25          MR. PAGLIUCA: Object to form and




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 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2      foundation.                                         2   Ms. Giuffre against you, right?
 3          THE WITNESS: Fifth.                             3         MR. PAGLIUCA: Object to form and
 4   BY MR. CASSELL:                                        4      foundation.
 5      Q. This litigation has the potential to             5         THE WITNESS: Fifth.
 6   affect the reputation of Bill Clinton, right?          6   BY MR. CASSELL:
 7          MR. PAGLIUCA: Object to form and                7      Q. You understand that if you turned over all
 8      foundation.                                         8   the documents that we have requested in this case,
 9          THE WITNESS: Fifth.                             9   that would provide a basis for joining you into this
10   BY MR. CASSELL:                                       10   case as a co-Defendant of Ms. Maxwell, right?
11      Q. This litigation has the potential to affect     11         MR. PAGLIUCA: Object to form and
12   the reputation of Prince Andrew, right?               12      foundation.
13          MR. PAGLIUCA: Object to form and               13         THE WITNESS: Fifth.
14      foundation.                                        14   BY MR. CASSELL:
15          THE WITNESS: Fifth.                            15      Q. What do all the documents that we have
16   BY MR. CASSELL:                                       16   requested of you show with regard to your involvement
17      Q. This litigation has the potential to affect     17   in Ms. Maxwell's statements against Virginia?
18   the reputation of Alan Dershowitz, right?             18         MR. PAGLIUCA: Object to form and
19          MR. PAGLIUCA: Object to form and               19      foundation.
20      foundation.                                        20         THE WITNESS: Fifth.
21          THE WITNESS: Fifth.                            21   BY MR. CASSELL:
22                                                         22      Q. All the documents that we've requested from
23   BY MR. CASSELL:                                       23   you would show that you have coordinated closely with
24      Q. You could have been a Defendant in this         24   Ms. Maxwell to attack and defame Virginia, right?
25   action, right?                                        25         MR. PAGLIUCA: Object to form and
                                                Page 335                                                  Page 337
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2           MR. PAGLIUCA: Object to form and               2       foundation.
 3      foundation.                                         3          THE WITNESS: Fifth.
 4           THE WITNESS: Fifth.                            4   BY MR. CASSELL:
 5   BY MR. CASSELL:                                        5       Q. Ms. Maxwell continues to provide emotional
 6      Q. In fact, as a pragmatic matter, you are          6   support for you, right?
 7   essentially a Defendant in this action, right?         7          MR. PAGLIUCA: Object to form and
 8           MR. PAGLIUCA: Object to form and               8       foundation.
 9      foundation.                                         9          THE WITNESS: Fifth.
10           THE WITNESS: Fifth.                           10   BY MR. CASSELL:
11   BY MR. CASSELL:                                       11       Q. Because of the sexual abuse you've
12      Q. You realize that many of the allegations in     12   committed against girls, you lack very many friends
13   this litigation involve your interactions with        13   at this point in time, true?
14   Maxwell, working together against Virginia?           14          MR. PAGLIUCA: Object to form and
15           MR. PAGLIUCA: Object to form and              15       foundation.
16      foundation.                                        16          THE WITNESS: Fifth.
17           THE WITNESS: Fifth.                           17   BY MR. CASSELL:
18   BY MR. CASSELL:                                       18       Q. Name anyone who's -- well, strike that.
19      Q. You understand that if you turned over all      19          Maxwell has been in a business relationship
20   the e-mails that we requested of you, that would      20   with you recently, right?
21   provide a basis for you -- us -- let me rephrase      21          MR. PAGLIUCA: Object to form and
22   that.                                                 22       foundation.
23           You understand that if you turned over all    23          THE WITNESS: Fifth.
24   the documents we've requested in the subpoena, that   24   BY MR. CASSELL:
25   that would provide basis for a defamation action by   25       Q. You and Maxwell need to continue to be in




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   touch with each other because of interactions that       2   non-prosecution agreement until it was concluded,
 3   you've had of a business nature, right?                  3   right?
 4         MR. PAGLIUCA: Object to form and                   4          MR. PAGLIUCA: Object to form and
 5      foundation.                                           5      foundation.
 6         THE WITNESS: Fifth.                                6          THE WITNESS: Fifth.
 7   BY MR. CASSELL:                                          7   BY MR. CASSELL:
 8      Q. Please describe the ways in which you and          8      Q. The non-prosecution agreement binds the
 9   Maxwell's affairs are intertwined currently.             9   U.S. Attorney's Office for the Southern District of
10         MR. PAGLIUCA: Object to form and                  10   Florida, correct?
11      foundation.                                          11          MR. PAGLIUCA: Object to form and
12         THE WITNESS: Fifth.                               12      foundation.
13   BY MR. CASSELL:                                         13   BY MR. CASSELL:
14      Q. Please describe the way yours and Maxwell's       14      Q. I'm sorry. Let me rephrase that.
15   business affairs are intertwined currently.             15          The non-prosecution agreement binds only
16         MR. PAGLIUCA: Object to form and                  16   the U.S. Attorney's Office for the Southern District
17      foundation.                                          17   of Florida, correct?
18         THE WITNESS: Fifth.                               18          MR. PAGLIUCA: Object to form and
19   BY MR. CASSELL:                                         19      foundation.
20      Q. You were asked -- and this is kind of a           20          THE WITNESS: Fifth.
21   setup question again.                                   21          MR. GOLDBERGER: And attorney-client
22         You were asked some questions about a             22      privilege.
23   lawsuit filed by Jane Doe 1 and Jane Doe 2 against      23   BY MR. CASSELL:
24   the United States seeking to enforce rights under the   24      Q. Your non-prosecution agreement does not
25   Crime Victim Rights Act. Do you recall those general    25   cover sex offenses in -- you have committed in the
                                               Page 339                                                     Page 341
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   questions?                                               2   State of New York, does it?
 3      A. Yes.                                               3          MR. PAGLIUCA: Object to form and
 4      Q. I want you to assume for a moment that that        4       foundation.
 5   lawsuit is dismissed tomorrow.                           5          THE WITNESS: Fifth.
 6         If the lawsuit were to be dismissed                6          MR. GOLDBERGER: Attorney-client.
 7   tomorrow and I were to ask you all of the same           7   BY MR. CASSELL:
 8   questions the day after tomorrow, you would give the     8       Q. The non-prosecution agreement does not
 9   same answers, wouldn't you?                              9   cover sex crimes committed in, for example, the U.S.
10         MR. PAGLIUCA: Object to form and                  10   Virgin Islands or New Mexico, does it?
11      foundation.                                          11          MR. PAGLIUCA: Object to form and
12         MR. GOLDBERGER: Why don't you do that             12       foundation.
13      and we'll find out.                                  13          THE WITNESS: Fifth.
14         THE WITNESS: Fifth.                               14          MR. GOLDBERGER: Attorney-client.
15   BY MR. CASSELL:                                         15   BY MR. CASSELL:
16      Q. That case isn't going to be thrown out,           16       Q. You would still be unavailable to testify
17   though, because it's meritorious, right?                17   in the sense that you would have invoked your Fifth
18         MR. PAGLIUCA: Object to form and                  18   Amendment even without that lawsuit, right?
19      foundation.                                          19          MR. PAGLIUCA: Object to form and
20         THE WITNESS: Fifth.                               20       foundation.
21         MR. GOLDBERGER: And attorney-client               21          THE WITNESS: Fifth.
22      privilege.                                           22          MR. GOLDBERGER: Attorney-client.
23   BY MR. CASSELL:                                         23   BY MR. CASSELL:
24      Q. In fact, you conspired with the U.S.              24       Q. Which prosecution -- I'm sorry.
25   Attorney's Office to conceal the existence of your      25          Which jurisdictions are you fearful might




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 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   prosecute you for sex offenses?                          2      foundation.
 3          MR. PAGLIUCA: Object to form and                  3          THE WITNESS: Fifth.
 4      foundation.                                           4   BY MR. CASSELL:
 5          THE WITNESS: Fifth.                               5      Q. Between 1999 and 2002, you had threesomes,
 6          MR. GOLDBERGER: Attorney-client.                  6   right?
 7   BY MR. CASSELL:                                          7          MR. PAGLIUCA: Object to form and
 8      Q. You are fearful of organizations -- I'm            8      foundation.
 9   sorry.                                                   9          THE WITNESS: Fifth.
10          You are fearful of prosecuting entities          10   BY MR. CASSELL:
11   outside the Southern District of Florida prosecuting    11      Q. And when you had threesomes, one of the
12   you for sex offenses, correct?                          12   participants in the threesome was your girlfriend,
13          MR. PAGLIUCA: Object to form and                 13   true?
14      foundation.                                          14          MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                              15      foundation.
16          MR. GOLDBERGER: Attorney-client.                 16          THE WITNESS: Fifth.
17   BY MR. CASSELL:                                         17   BY MR. CASSELL:
18      Q. You are fearful of law enforcement                18      Q. The threesomes you had almost invariably
19   organizations outside the United States prosecuting     19   involved Ghislaine Maxwell, right?
20   you for foreign sex offenses, correct?                  20          MR. PAGLIUCA: Object to form and
21          MR. PAGLIUCA: Object to form and                 21      foundation.
22      foundation.                                          22          THE WITNESS: Fifth.
23          THE WITNESS: Fifth.                              23   BY MR. CASSELL:
24          MR. GOLDBERGER: Attorney-client.                 24      Q. And when I say they almost invariably
25                                                           25   involved Ghislaine Maxwell, sometimes you were in
                                                Page 343                                                    Page 345
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   threesomes with other young girls that were not your
 3      Q. Part of the basis for you asserting your           3   girlfriend or not --
 4   Fifth Amendment privilege today was that you are         4          MR. PAGLIUCA: Object to form and
 5   fearful of incriminating yourself in foreign criminal    5       foundation.
 6   prosecutions, correct?                                   6          THE WITNESS: Fifth.
 7          MR. PAGLIUCA: Object to form and                  7   BY MR. CASSELL:
 8      foundation.                                           8       Q. When I look at the flights that
 9          THE WITNESS: Fifth.                               9   Virginia Roberts was on between March 8th, 2001, and
10          MR. GOLDBERGER: Attorney-client.                 10   March -- no, let's see. What do I have? No. I'm
11   BY MR. CASSELL:                                         11   sorry. Strike that.
12      Q. In fact, you lack any basis for asserting         12          If I look at the flights that
13   the Fifth Amendment privilege with respect to foreign   13   Virginia Roberts is on, according to Dave Roger's
14   criminal prosecutions, right?                           14   flight logs, between December 11th, 2000, and
15
16
17
18
19
20
            MR. PAGLIUCA: Object to form and
        foundation.
            THE WITNESS: Fifth.
            MR. GOLDBERGER: Attorney-client.
     BY MR. CASSELL:
        Q. Please tell me everything you know about
                                                             15
                                                             16
                                                             17
                                                             18
                                                             19
                                                             20
                                                                                        -
                                                                  August 21st, 2002, on initial review, I do not see a
                                                                  single entry reflecting a

                                                                  the passengers on those flights?
                                                                                                     on those flights.
                                                                         Is that a correct understanding of those --

                                                                         MR. PAGLIUCA: Object to form and
                                                                      foundation. Speculation.
21
22      A. Fifth.
                   1111
     your girlfriend        .                                21
                                                             22
                                                                         THE WITNESS: Fifth.
                                                                  BY MR. CASSELL:
23      Q. In fact, during the period 1999 to 2002,          23                             1111
                                                                      Q. Is there some reason            is not found
24
25
     Maxwell was your girlfriend, not1111
            MR. PAGLIUCA: Object to form and
                                               ?             24
                                                             25
                                                                  frequently or even at all in the flight logs during
                                                                  this period of time?




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                                                Page 346                                                   Page 348
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2          MR. PAGLIUCA: Object to form and                  2         Do you see that question? I'm just asking
 3       foundation.                                          3   you whether you see that question.
 4          THE WITNESS: Fifth.                               4      A. Yes, sir.
 5
 6
 7
 8
 9
10
     BY MR. CASSELL:

                                       -
         Q. Isn't it true that the reason

     girlfriend during that period of time?
            MR. PAGLIUCA: Object to form and
         foundation.
                                                 is not
     found on these flight logs is, she was not your
                                                              5
                                                              6
                                                              7
                                                              8
                                                              9
                                                             10
                                                                     Q. After the inevitable form and foundation
                                                                  question, Mr. Pagliuca, we see an answer, "I did."
                                                                        Do you see that there?
                                                                     A. Yes.
                                                                     Q. And if we continue on down, we see, "Was
                                                                  there more than one person with whom you engaged in
11          THE WITNESS: Fifth.                              11   sexual activities other than Mr. Epstein at
12   BY MR. CASSELL:                                         12   Mr. Epstein's home?" The answer is, "Yes."
13       Q. And isn't the reason that Ghislaine Maxwell      13         Do you see that there as well?
14   is found, I believe, invariably or certainly almost     14      A. Yes.
15   invariably on these flights -- I guess I should say     15      Q. And you see the questions here: "I don't
16   almost invariably on these flights, is that she was     16   actually have a name." That's testimony by
17   your girlfriend at the time?                            17   Ms. Maxwell, right?
18          MR. PAGLIUCA: Object to form and                 18         MR. PAGLIUCA: Object to form and
19       foundation.                                         19      foundation.
20          THE WITNESS: Fifth.                              20         THE WITNESS: Yes.
21   BY MR. CASSELL:                                         21   BY MR. CASSELL:
22       Q. In early 2000, you were having threesomes        22      Q. This is -- so Ms. Maxwell indicates that
23   with Ms. Maxwell, right?                                23   she knew the name of the person at that time.
24          MR. PAGLIUCA: Object to form and                 24         You see that on lines 8 and 9 on page 55?
25       foundation.                                         25         MR. PAGLIUCA: Object to form and
                                                Page 347                                                   Page 349
 1            J. Epstein - Confidential                       1             J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2       foundation.
 3   BY MR. CASSELL:                                          3          THE WITNESS: I'm sorry. Can you
 4      Q. I believe we already marked as an                  4       repeat the question?
 5   exhibit --                                               5   BY MR. CASSELL:
 6          MS. MCCAWLEY: July.                               6       Q. Yeah. Lines 8 and 9 there's a question:
 7          MR. CASSELL: Oh, this is the July. Maybe          7   "Did you know the name at that time?" And then line
 8      we should mark this as an exhibit. Let me mark        8   9, "At that time I did."
 9      this as a new exhibit. I think this is JE14 --        9       A. I see.
10          MS. MCCAWLEY: I think this is going to           10       Q. Do you see that -- that question there?
11      be 11.                                               11       A. Yes.
12          MR. CASSELL: Okay. Strike that. This             12       Q. This is a long way of saying that
13      will become JE11, which I represent is a             13   Ms. Maxwell is indicating that sometime in the late
14      transcript of Ms. Maxwell taken on                   14   '90s and early 2000s she was having threesomes with
15      July 22nd, 2016. You can take a look. I'm            15   you, herself, and another person?
16      sorry I don't have an extra one.                     16       A. Is that what it says? I'm sorry.
17          (Plaintiff's Exhibit JE11, Transcript of         17          MS. MCCAWLEY: Line 9.
18   Ms. Maxwell, taken on July 22, 2016 was marked for      18   BY MR. CASSELL:
19   identification.)                                        19       Q. Line 9 through 10.
20   BY MR. CASSELL:                                         20          Maybe I should ask it, if Ms. Maxwell
21      Q. I'm looking at page 55. If we look at             21   testified that she had threesomes, who would the
22   page 55 -- I'm sorry. If we start at page 54, we        22   threesomes have been with?
23   see, "Did you engage in sexual activities with anyone   23          MR. PAGLIUCA: Object to form and
24   other than Mr. Epstein at Mr. Epstein's home in Palm    24       foundation.
25   Beach?"                                                 25          THE WITNESS: Fifth.




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                                               Page 350                                                    Page 352
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2      Q. Haley Robson reported to Ghislaine Maxwell,
 3      Q. She had threesomes with you and another            3   right?
 4   women, correct?                                          4          MR. PAGLIUCA: Object to form and
 5          MR. PAGLIUCA: Object to form and                  5      foundation.
 6      foundation.                                           6          THE WITNESS: Fifth.
 7          THE WITNESS: Fifth.                               7   BY MR. CASSELL:
 8   BY MR. CASSELL:                                          8      Q. Ghislaine Maxwell controlled Haley Robson,
 9
10
        Q. And the other woman was not
     she?
                                          1111    , was       9
                                                             10
                                                                  right?
                                                                         MR. PAGLIUCA: Object to form and
11          MR. PAGLIUCA: Object to form and                 11      foundation.
12      foundation.                                          12          THE WITNESS: Fifth.
13          THE WITNESS: Fifth.                              13   BY MR. CASSELL:
14   BY MR. CASSELL:                                         14      Q. Ghislaine Maxwell used Haley Robson to help
15      Q. Who was the other woman in the threesomes         15   bring girls to you for sex, right?
16   that you had in this period of time with Ms. Maxwell?   16          MR. PAGLIUCA: Object to form and
17          MR. PAGLIUCA: Object to form and                 17      foundation.
18      foundation.                                          18          THE WITNESS: Fifth.
19          THE WITNESS: Fifth.                              19   BY MR. CASSELL:
20   BY MR. CASSELL:                                         20      Q. What was Haley Robson's role in your
21      Q. The only reason Ms. Maxwell consented to          21   household affairs?
22   have threesomes with you was that she was your          22          MR. PAGLIUCA: Object to form and
23   girlfriend at the time, right?                          23      foundation.
24          MR. PAGLIUCA: Object to form and                 24          THE WITNESS: Fifth.
25      foundation.                                          25
                                               Page 351                                                    Page 353
 1             J. Epstein - Confidential                      1             J. Epstein - Confidential
 2           THE WITNESS: Fifth.                              2   BY MR. CASSELL:
 3   BY MR. CASSELL:                                          3      Q. Mr. Pagliuca asked you some questions about
 4       Q. She was, in fact, your girlfriend from the        4   whether you are an easy target for lawsuits. Do you
 5   late -- I'm sorry, from around 1996 to around 2005,      5   recall those questions?
 6   right?                                                   6      A. Yes.
 7           MR. PAGLIUCA: Object to form and                 7      Q. One of the reasons you were an easy target
 8       foundation.                                          8   for lawsuits, sir, was that you sexually abused
 9           THE WITNESS: Fifth.                              9   dozens and dozens of underage girls, right?
10   BY MR. CASSELL:                                         10          MR. PAGLIUCA: Object to form and
11       Q. In fact, she actually continued to be your       11      foundation.
12   girlfriend into -- into 2006, 2007?                     12          THE WITNESS: Fifth.
13           MR. PAGLIUCA: Object to form and                13   BY MR. CASSELL:
14       foundation.                                         14      Q. One of the reasons you were an easy target
15           THE WITNESS: Fifth.                             15   for Virginia Roberts for sexual assault is because
16   BY MR. CASSELL:                                         16   you had, in fact, committed sexual assault against
17       Q. When did you stop considering Ms. Maxwell        17   Virginia Roberts?
18   to be your girlfriend?                                  18          MR. PAGLIUCA: Object to form and
19           MR. PAGLIUCA: Object to form and                19      foundation.
20       foundation.                                         20          THE WITNESS: Fifth.
21           THE WITNESS: Fifth.                             21   BY MR. CASSELL:
22   BY MR. CASSELL:                                         22      Q. You settled dozens of lawsuits filed
23       Q. Mr. Pagliuca asked you some questions about      23   against you by underage girls in 2008 and 2009,
24   Haley Robson. Do you recall those questions?            24   didn't you?
25       A. Yes.                                             25          MR. PAGLIUCA: Object to form and




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                                                 Page 354                                                    Page 356
 1            J. Epstein - Confidential                        1             J. Epstein - Confidential
 2      foundation.                                            2       privilege.
 3         THE WITNESS: Fifth.                                 3   BY MR. CASSELL:
 4   BY MR. CASSELL:                                           4       Q. As you sit here today, you continue to
 5      Q. The reason you settled those lawsuits is            5   maintain loyalty to Ghislaine Maxwell, today, right?
 6   that you had sexually abused the girls who filed          6          MR. PAGLIUCA: Object to form and
 7   lawsuits you against you, right?                          7       foundation.
 8         MR. PAGLIUCA: Object to form and                    8          THE WITNESS: Fifth.
 9      foundation.                                            9   BY MR. CASSELL:
10         THE WITNESS: Fifth.                                10       Q. You were asserting the Fifth Amendment
11   BY MR. CASSELL:                                          11   privilege today not only to protect yourself but also
12      Q. Every one of the girls who filed a lawsuit         12   to protect Ms. Maxwell, right?
13   against you had been sexually abused by you, right?      13          MR. PAGLIUCA: Object to form and
14         MR. PAGLIUCA: Object to form and                   14       foundation.
15      foundation.                                           15          THE WITNESS: Fifth.
16         THE WITNESS: Fifth.                                16   BY MR. CASSELL:
17   BY MR. CASSELL:                                          17       Q. If you had answered all my questions today,
18      Q. Is there a single girl who has filed a             18   it would have become clear that you were involved
19   lawsuit against you that lacked merit?                   19   with Ms. Maxwell in sex trafficking of underage girls
20         MR. PAGLIUCA: Object to form and                   20   over a multiyear period, right?
21      foundation.                                           21          MR. PAGLIUCA: Object to form and
22         THE WITNESS: Fifth.                                22       foundation.
23   BY MR. CASSELL:                                          23          THE WITNESS: Fifth.
24      Q. When Virginia Roberts, then known as               24   BY MR. CASSELL:
25   Jane Doe 102, filed a lawsuit against you, everything    25       Q. If you had answered all my questions today,
                                                 Page 355                                                    Page 357
 1            J. Epstein - Confidential                        1             J. Epstein - Confidential
 2   in her lawsuit -- I'm sorry, everything in her            2   it would have become clear that Ms. Roberts has been
 3   complaint against you was true, right?                    3   telling the truth about Ms. Maxwell, right?
 4          MR. PAGLIUCA: Object to form and                   4          MR. PAGLIUCA: Object to form and
 5      foundation.                                            5       foundation.
 6          THE WITNESS: Fifth.                                6          THE WITNESS: Fifth.
 7   BY MR. CASSELL:                                           7   BY MR. CASSELL:
 8      Q. If I were to give you an unconditional              8       Q. Mr. Pagliuca asked about whether you had
 9   waiver of the confidentiality form for the lawsuit        9   terminated relationships with Ms. Maxwell more than
10   that Virginia filed against you -- for the settlement    10   15 years ago.
11   that Virginia had of the lawsuit she filed against       11          You would agree with me, sir, that the time
12   you, you would refuse to sign that today, right?         12   period 2005 -- time period of 2005 would be inside
13          MR. PAGLIUCA: Object to form and                  13   the last 15 years, mathematically?
14      foundation.                                           14          MR. PAGLIUCA: Object to form and
15          THE WITNESS: Fifth.                               15       foundation.
16          MR. GOLDBERGER: And attorney-client               16          THE WITNESS: Fifth.
17      privilege.                                            17   BY MR. CASSELL:
18   BY MR. CASSELL:                                          18       Q. You would agree that 2005 is less than
19      Q. Would you sign an unconditional waiver of          19   15 years ago, as we sit here today, right?
20   confidentiality with regard to the settlement of that    20       A. Yes.
21   lawsuit?                                                 21          MR. PAGLIUCA: Object to form and
22          MR. PAGLIUCA: Object to form and                  22       foundation.
23      foundation.                                           23   BY MR. CASSELL:
24          THE WITNESS: Fifth.                               24       Q. In 2005, Maxwell had access to certain of
25          MR. GOLDBERGER: Attorney-client                   25   your bank accounts, right?




                                                                                    90 (Pages 354 to 357)
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                                               Page 358                                                    Page 360
 1           J. Epstein - Confidential                       1             J. Epstein - Confidential
 2         MR. PAGLIUCA: Object to form.                     2      foundation.
 3      Foundation.                                          3          I have a question. I've not seen any
 4         You already asked these questions, by             4      such bank records. So do you have them and
 5      the way.                                             5      have they been produced?
 6         THE WITNESS: Fifth.                               6          MR. CASSELL: We'll deal with that
 7   BY MR. CASSELL:                                         7      concern later.
 8      Q. In 2005, Maxwell had control on certain of        8          THE WITNESS: Fifth.
 9   your bank accounts, true?                               9   BY MR. CASSELL:
10         MR. PAGLIUCA: Object to form and                 10      Q. Was Eva Dubin ever your girlfriend?
11      foundation. Again, you already asked these          11      A. Fifth.
12      questions.                                          12      Q. Please tell me everything you know about
13         THE WITNESS: Fifth.                              13   Eva Dubin.
14   BY MR. CASSELL:                                        14      A. Fifth.
15      Q. Previously I never had an opportunity to         15      Q. Have you ever had sex with Eva Dubin?
16   ask about who was the signatory on your accounts in    16      A. Fifth.
17   2005. So I'd like to go over the signatories on your   17      Q. You, in fact, have had sex with Eva Dubin,
18   accounts in 2005.                                      18   right?
19         Were there any bank accounts in which            19      A. Fifth.
20   Maxwell was a signator in 2005, any of your bank       20      Q. You paid for Eva Dubin to attend medical
21   accounts?                                              21   school, right?
22         MR. PAGLIUCA: Object to form and                 22      A. Fifth.
23      foundation.                                         23      Q. One of the reasons you paid for Eva Dubin
24         THE WITNESS: Fifth.                              24   to attend medical school was to keep her quiet about
25                                                          25   her knowledge of your sexual abuse of minors,
                                               Page 359                                                    Page 361
 1             J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                         2   correct?
 3       Q. Please describe for me all the signators on      3         MR. PAGLIUCA: Object to form and
 4   your bank accounts in 2005.                             4      foundation.
 5       A. Fifth.                                           5         THE WITNESS: Fifth.
 6       Q. I want to talk about the bank accounts that      6   BY MR. CASSELL:
 7   were used to take care of the day-to-day management     7      Q. Why did you pay to send Eva Dubin to
 8   of your Palm Beach mansion in 2005. Which bank was      8   medical school?
 9   that account with?                                      9         MR. PAGLIUCA: Object to form and
10       A. Fifth.                                          10      foundation.
11       Q. Who was a signatory on that particular          11         THE WITNESS: Fifth.
12   account?                                               12   BY MR. CASSELL:
13       A. Fifth.                                          13      Q. Eva Dubin continues to be loyal to you
14       Q. If there are bank records that are produced     14   today, true?
15   in this case showing Ms. Maxwell as a signator on      15         MR. PAGLIUCA: Object to form and
16   that account, would those bank records be accurate?    16      foundation.
17          MR. PAGLIUCA: Object to form and                17         THE WITNESS: Fifth.
18       foundation.                                        18         MR. CASSELL: I'm getting close to the
19          THE WITNESS: Fifth.                             19      end. I think this might be a good time for
20   BY MR. CASSELL:                                        20      me to confer with counsel for a few minutes.
21       Q. It's fair to say that Ms. Maxwell was a         21         VIDEO TECHNICIAN: Off the record at
22   signator on the bank account that was involved most    22      1:56.
23   heavily in the day-to-day operations of your West      23         (A recess was taken.)
24   Palm Beach mansion, true?                              24         VIDEO TECHNICIAN: On the record at
25          MR. PAGLIUCA: Object to form and                25      2:01.




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                                              Page 362                                                     Page 364
 1             J. Epstein - Confidential                    1             J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2   hospital that Virginia Roberts was?
 3      Q. I want to ask you some questions about a         3          MR. PAGLIUCA: Object to form and
 4   visit to a New York hospital.                          4      foundation.
 5          MR. CASSELL: Oh, great. Thank you.              5          THE WITNESS: Fifth.
 6   BY MR. CASSELL:                                        6   BY MR. CASSELL:
 7      Q. You and Ms. Maxwell took Virginia to a           7      Q. I'm going to ask you some questions about
 8   New York hospital when she was under the age of 18,    8   David Copperfield. You know David Copperfield,
 9   correct?                                               9   right?
10          MR. PAGLIUCA: Object to form and               10      A. Fifth.
11      foundation.                                        11      Q. David Copperfield has been in your
12          THE WITNESS: Fifth.                            12   presence -- has been in your presence -- strike that.
13   BY MR. CASSELL:                                       13          David Copperfield and you have been
14      Q. And at the time, Ms. Roberts was in great       14   together in the presence of minor girls under the age
15   pain, true?                                           15   of 18, right?
16          MR. PAGLIUCA: Object to form and               16          MR. PAGLIUCA: Object to form and
17      foundation.                                        17      foundation.
18          THE WITNESS: Fifth.                            18          THE WITNESS: Fifth.
19   BY MR. CASSELL:                                       19   BY MR. CASSELL:
20      Q. Because of the pain Ms. Roberts was in, you     20      Q. Have you ever provided girls under the age
21   and Ms. Maxwell handled the admission with the        21   of 18 to David Copperfield for sexual purposes?
22   hospital, correct?                                    22          MR. PAGLIUCA: Object to form and
23          MR. PAGLIUCA: Object to the form and           23      foundation.
24      foundation.                                        24          THE WITNESS: Fifth.
25          THE WITNESS: Fifth.                            25
                                              Page 363                                                     Page 365
 1            J. Epstein - Confidential                     1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                        2   BY MR. CASSELL:
 3      Q. And because you knew it would create             3      Q. Based on everything I know in this case, it
 4   complications if Ms. Maxwell was a minor under the     4   would seem logical that you provided girls under the
 5   age of 18, you and Ms. Maxwell represented that        5   age of 18 to David Copperfield for sexual purposes.
 6   Virginia was 18, true?                                 6         Am I missing something if I reach that
 7         MR. PAGLIUCA: Object to form and                 7   conclusion?
 8      foundation.                                         8         MR. PAGLIUCA: Object to form and
 9         THE WITNESS: State your -- you want to           9      foundation.
10      repeat your question?                              10         THE WITNESS: Fifth.
11         MR. CASSELL: Sure.                              11   BY MR. CASSELL:
12         THE WITNESS: I think you said                   12      Q. With regard to the Palm Beach Police
13      Miss Maxwell was under the age of 18.              13   Department investigation, the Palm Beach Police
14         MR. CASSELL: Let me strike the last             14   Department identified many persons under the control
15      question and re-ask it. Thank you.                 15   of Ms. Maxwell, who had paid girls for underage sex?
16   BY MR. CASSELL:                                       16         MR. PAGLIUCA: Object to form and
17      Q. Because you knew it would create                17      foundation.
18   complications if Ms. Roberts was a minor under the    18   BY MR. CASSELL:
19   age of 18, you and Ms. Maxwell represented that       19      Q. True?
20   Miss Roberts was 18 years old, true?                  20      A. There's no question.
21      A. Fifth.                                          21      Q. True?
22         MR. PAGLIUCA: Object to form and                22         MR. PAGLIUCA: Same objection.
23      foundation.                                        23         THE WITNESS: Fifth.
24   BY MR. CASSELL:                                       24   BY MR. CASSELL:
25      Q. How old did you tell the New York City          25      Q. With regard to the girls that the Palm




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 1            J. Epstein - Confidential                       1              J. Epstein - Confidential
 2   Beach Police Department investigated, how were the       2          MR. PAGLIUCA: Object to form and
 3   payments made to those girls?                            3       foundation.
 4         MR. PAGLIUCA: Object to form and                   4          THE WITNESS: Fifth.
 5      foundation.                                           5   BY MR. CASSELL:
 6         THE WITNESS: Fifth.                                6       Q. Is there anyone over the last 20 years that
 7   BY MR. CASSELL:                                          7   you've had more sexual activity with than
 8      Q. Miss Maxwell was aware of all the payments         8   Ms. Maxwell?
 9   that were going to the girls in the Palm Beach Police    9          MR. PAGLIUCA: Object to form and
10   investigation, right?                                   10       foundation.
11         MR. PAGLIUCA: Object to form and                  11          THE WITNESS: Fifth.
12      foundation.                                          12   BY MR. CASSELL:
13         THE WITNESS: Fifth.                               13       Q. Ms. Maxwell is the longest -- let me see.
14   BY MR. CASSELL:                                         14   Strike that.
15      Q. In fact, Miss Maxwell had control of              15          You haven't had an intimate relationship
16   payments that were made to the girls in the Palm        16   with anyone for a longer period of time than
17   Beach Police Department investigation?                  17   Ms. Maxwell over the last two decades, have you?
18         MR. PAGLIUCA: Object to form and                  18          MR. PAGLIUCA: Object to form and
19      foundation.                                          19       foundation.
20         THE WITNESS: Fifth.                               20          THE WITNESS: Fifth.
21   BY MR. CASSELL:                                         21   BY MR. CASSELL:
22      Q. Ms. Maxwell is one of your closest friends,       22       Q. Through legal counsel and other means, you
23   true?                                                   23   have been coordinating with Ms. Maxwell with regard
24         MR. PAGLIUCA: Object to form and                  24   to this litigation, right?
25      foundation.                                          25          MR. PAGLIUCA: Object to form and
                                                Page 367                                                   Page 369
 1            J. Epstein - Confidential                       1              J. Epstein - Confidential
 2          THE WITNESS: Fifth.                               2       foundation.
 3   BY MR. CASSELL:                                          3           THE WITNESS: Fifth.
 4       Q. How close is your relationship with               4           MR. GOLDBERGER: Attorney-client
 5   Ms. Maxwell?                                             5       privilege.
 6          MR. PAGLIUCA: Object to form and                  6   BY MR. CASSELL:
 7       foundation.                                          7       Q. You purchased a town home in New York for
 8          THE WITNESS: Fifth.                               8   Miss Maxwell for millions of dollars, true?
 9   BY MR. CASSELL:                                          9           MR. PAGLIUCA: Object to form and
10       Q. Can you name anyone who's a closer friend        10       foundation.
11   than yours over the last ten years than Miss Maxwell?   11           You've already asked this question.
12          MR. PAGLIUCA: Object to the form and             12       It's already been answered.
13       foundation.                                         13           THE WITNESS: Fifth.
14          THE WITNESS: Fifth.                              14   BY MR. CASSELL:
15   BY MR. CASSELL:                                         15       Q. How are you coordinating with Ms. Maxwell
16       Q. You can't name anyone who's been a closer        16   on this litigation?
17   friend of yours over the last ten years than            17           MR. PAGLIUCA: Object to form and
18   Ms. Maxwell, right?                                     18       foundation.
19          MR. PAGLIUCA: Object to form and                 19           THE WITNESS: Fifth.
20       foundation.                                         20   BY MR. CASSELL:
21          THE WITNESS: Fifth.                              21       Q. You're hoping Ms. Maxwell prevails in this
22   BY MR. CASSELL:                                         22   litigation, true?
23       Q. The person that you have had the most            23           MR. PAGLIUCA: Object to form and
24   sexual activity with over the last 20 years is          24       foundation.
25   Ms. Maxwell, true?                                      25           THE WITNESS: Fifth.




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                                               Page 370                                                  Page 372
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2   BY MR. CASSELL:                                          2   Alan Dershowitz with regard to this litigation,
 3      Q. What is your arrangement with Ms. Maxwell          3   right?
 4   with regard to paying any settle -- any judgment that    4          MR. PAGLIUCA: Object to form and
 5   might be reached against her in this case?               5      foundation.
 6         MR. PAGLIUCA: Object to form and                   6          THE WITNESS: Fifth.
 7      foundation.                                           7          MR. GOLDBERGER: And attorney-client
 8         THE WITNESS: Fifth.                                8      privilege.
 9   BY MR. CASSELL:                                          9   BY MR. CASSELL:
10      Q. Ms. Maxwell has had discussions with you          10      Q. You are in a joint defense arrangement with
11   about whether you would pay a judgment in this action   11   Alan Dershowitz at this time?
12   against her, right?                                     12          MR. PAGLIUCA: Object to form and
13         MR. PAGLIUCA: Object to form and                  13      foundation.
14      foundation.                                          14          THE WITNESS: Fifth.
15         THE WITNESS: Fifth.                               15          MR. GOLDBERGER: Attorney-client
16   BY MR. CASSELL:                                         16      privilege -- I'm sorry. Attorney-client
17      Q. Your interests in Ms. Maxwell are                 17      privilege, and to the extent there is a
18   compatible in this case, true?                          18      confidentiality agreement in place or -- or
19         MR. PAGLIUCA: Object to form and                  19      a joint defense agreement, I would object on
20      foundation.                                          20      that basis.
21         THE WITNESS: Fifth.                               21   BY MR. CASSELL:
22   BY MR. CASSELL:                                         22      Q. You have a common interest agreement with
23      Q. Both you and Ms. Maxwell are hoping that          23   Alan Dershowitz, right?
24   the case would be dismissed, true?                      24          MR. PAGLIUCA: Object to form and
25         MR. PAGLIUCA: Object to form and                  25      foundation.
                                               Page 371                                                  Page 373
 1            J. Epstein - Confidential                       1            J. Epstein - Confidential
 2      foundation.                                           2         THE WITNESS: Fifth.
 3          THE WITNESS: Fifth.                               3         MR. GOLDBERGER: Attorney-client
 4   BY MR. CASSELL:                                          4      privilege.
 5      Q. Previously you sent e-mails to Ms. Maxwell         5   BY MR. CASSELL:
 6   indicating your desire to have the publicity in this     6      Q. You have a common interest with
 7   case die down, right?                                    7   Alan Dershowitz in this litigation, right?
 8          MR. PAGLIUCA: Object to form and                  8         MR. PAGLIUCA: Object to form and
 9      foundation.                                           9      foundation.
10          THE WITNESS: Fifth.                              10         THE WITNESS: Fifth.
11   BY MR. CASSELL:                                         11   BY MR. CASSELL:
12      Q. If the case were to settle, that would help       12      Q. You have a common interest with
13   the publicity in this case die down, right?             13   Ghislaine Maxwell in this litigation, right?
14          MR. PAGLIUCA: Object to form and                 14         MR. PAGLIUCA: Asked and answered, this
15      foundation.                                          15      question. I'm going to object to form and
16          THE WITNESS: Fifth.                              16      foundation.
17   BY MR. CASSELL:                                         17         THE WITNESS: Fifth.
18      Q. If this case were to resolve, that would be       18         MR. CASSELL: I have no further
19   useful for your purposes and Maxwell's purposes,        19      questions.
20   right?                                                  20         MR. PAGLIUCA: I have no additional
21          MR. PAGLIUCA: Object to form and                 21      questions.
22      foundation.                                          22         MR. GOLDBERGER: Excellent.
23          THE WITNESS: Fifth.                              23         MR. CASSELL: Thank you.
24   BY MR. CASSELL:                                         24         VIDEO TECHNICIAN: The time is 2:08.
25      Q. You have also been coordinating with              25      This concludes the deposition.




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 1            J. Epstein - Confidential                        1             REPORTER'S CERTIFICATE
 2         MR. PAGLIUCA: I do want a transcript.               2
 3         THE COURT REPORTER: Do you have a                       STATE OF FLORIDA
 4      standing order?                                        3   COUNTY OF PALM BEACH
 5         MR. PAGLIUCA: Yeah. They should have                4
 6      whatever we want. I think it's E-Tran.                 5        I, DARLINE MARIE WEST, RPR, certify that I was
 7         THE COURT REPORTER: A rough                         6   authorized to and did stenographically report the
 8      transcript?                                            7   foregoing deposition; and that the transcript is a
 9         MR. PAGLIUCA: I don't need a rough, I               8   true record thereof.
                                                               9
10      don't think.
                                                              10       I further certify that I am not a relative,
11         (Signature was not waived. The                     11   employee, attorney, or counsel of any of the parties,
12      deposition concluded at 2:08 p.m.)                    12   nor am I a relative or employee of any of the
13                                                            13   parties' attorney or counsel connected with the
14                                                            14   action, nor am I financially interested in the
15                                                            15   action.
16                                                            16
17                                                            17       Dated this 13th day of September 2016.
18                                                            18
19                                                            19
20                                                            20
21                                                            21                  ________________________
22                                                            22                  DARLINE MARIE WEST, RPR
23                                                            23
24                                                            24
25                                                            25
                                                   Page 375                                                          Page 377
 1             CERTIFICATE OF OATH                             1            CERTIFICATE
 2                                                             2
 3   STATE OF FLORIDA                                              STATE OF FLORIDA
 4   COUNTY OF PALM BEACH                                      3   COUNTY OF PALM BEACH
                                                               4
 5
                                                               5         I, JEFFREY EPSTEIN, hereby certify that I
 6                                                             6   have read the foregoing transcript of my deposition
 7       I, the undersigned authority, certify that            7   and that the statements contained therein, together
 8   JEFFREY EPSTEIN personally appeared before me and was     8   with any additions or corrections made on the
 9   duly sworn on September 9, 2016.                          9   attached Errata Sheet, are true and correct.
10                                                            10
11       WITNESS my hand and official seal this 13th day      11
12   of September 2016.                                       12     Dated this _____ day of _____________, 2016.
13                                                            13
                                                              14
14
                                                              15
15                _______________________                     16             ____________________________
16                DARLINE MARIE WEST                                            JEFFREY EPSTEIN
                  Notary Public                               17
17                                                            18
18                                                            19         The foregoing certificate was subscribed to
19   My Commission Expires:                                        before me this _____ day of __________________, 2016,
     October 26, 2017                                         20   by the witness who has produced a
20   #FF 060662                                                    _____________________ as identification and who did
21
                                                              21   not take an additional oath.
                                                              22
22                                                            23
23                                                            24   _____________________________
24                                                                 Notary Public
25                                                            25   my commission expires:




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